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                   Exhibit 4
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           Attachment 1
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                                                                                                         Higgs_0001
                                               Bureau of Prisons
                                                Health Services
                                    Clinical Encounter - Administrative Note
Inmate Name:        HIGGS, DUSTIN JOHN                                                     Reg #:      31133-037
Date of Birth:      03/10/1972                        Sex:      M    Race:BLACK            Facility:   THP
Note Date:          12/30/2020 08:00                  Provider: Beal, Carly RN             Unit:       X01


Admin Note - General Administrative Note encounter performed at Special Housing Unit.
Administrative Notes:
      ADMINISTRATIVE NOTE 1                 Provider: Beal, Carly RN
          Patient reports "I have a hard time catching my breath, I'm SOB at times. I feel like I have labored breathing
          sometimes"

             Reported patients c/o to NP


Copay Required:No                           Cosign Required: Yes
Telephone/Verbal Order: Yes                By: Frank, Casey FNP
Telephone or Verbal order read back and verified.


Completed by Beal, Carly RN on 12/30/2020 17:04
Requested to be cosigned by Frank, Casey FNP.
Cosign documentation will be displayed on the following page.




Generated 12/30/2020 17:04 by Beal, Carly RN          Bureau of Prisons - THP                               Page 1 of 1
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                                                                                                         Higgs_0002
                                               Bureau of Prisons
                                                Health Services
                                    Clinical Encounter - Administrative Note
Inmate Name:        HIGGS, DUSTIN JOHN                                                     Reg #:      31133-037
Date of Birth:      03/10/1972                          Sex:      M    Race:BLACK          Facility:   THP
Note Date:          12/30/2020 16:59                    Provider: Beal, Carly RN           Unit:       X01


Admin Note - General Administrative Note encounter performed at Special Housing Unit.
Administrative Notes:
      ADMINISTRATIVE NOTE 1                 Provider: Beal, Carly RN
          Patient reports "I have a hard time catching my breath, I'm SOB at times. I feel like I have labored breathing
          sometimes"

             Reported patients c/o to NP
                        Se

Copay Required:No                              Cosign Required: No
Telephone/Verbal Order: No
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Completed by Beal, Carly RN on 12/30/2020 17:02
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Generated 12/30/2020 17:02 by Beal, Carly RN             Bureau of Prisons - THP                            Page 1 of 1
                 Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 11 of 164
                                                                                                         Higgs_0003
                                               Bureau of Prisons
                                                Health Services
                                    Clinical Encounter - Administrative Note
Inmate Name:        HIGGS, DUSTIN JOHN                                                     Reg #:      31133-037
Date of Birth:      03/10/1972                          Sex:      M    Race:BLACK          Facility:   THP
Note Date:          12/30/2020 16:59                    Provider: Beal, Carly RN           Unit:       X01


Admin Note - General Administrative Note encounter performed at Special Housing Unit.
Administrative Notes:
      ADMINISTRATIVE NOTE 1                 Provider: Beal, Carly RN
          Patient reports "I have a hard time catching my breath, I'm SOB at times. I feel like I have labored breathing
          sometimes"

             Reported patients c/o to NP
                        Se

Copay Required:No                              Cosign Required: No
Telephone/Verbal Order: No
                                      e
Completed by Beal, Carly RN on 12/30/2020 17:02
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Generated 12/30/2020 17:02 by Beal, Carly RN             Bureau of Prisons - THP                            Page 1 of 1
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                                          Bureau of Prisons                        Higgs_0004
                                           Health Services
                                           See Amendment
Inmate Name:    HIGGS, DUSTIN JOHN                                    Reg #:      31133-037
Date of Birth:  03/10/1972                   Sex:          M          Race:       BLACK
Encounter Date: 12/30/2020 08:00                                      Facility:   THP

Amendment made to this note by Beal, Carly RN on 12/30/2020 17:04.




                                            Bureau of Prisons - THP
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                                                       Bureau of Prisons                                          Higgs_0005
                                                        Health Services
                                                       Clinical Encounter
Inmate Name: HIGGS, DUSTIN JOHN                                                                     Reg #: 31133-037
Date of Birth: 03/10/1972                                   Sex:      M    Race: BLACK              Facility: THP
Encounter Date: 12/30/2020 09:40                            Provider: Frank, Casey FNP              Unit:     X01


Mid Level Provider - Evaluation encounter performed at Special Housing Unit.
SUBJECTIVE:
    COMPLAINT 1                  Provider: Frank, Casey FNP
        Chief Complaint: GENERAL
        Subjective:   Per RN, inmate reported having intermittent difficulty catching his breath without new onset.
                      Inmate was brought to SCU medical by custody staff.
                      He stated, "I thought we already did this the other day Ms. Frank?" Inmate counseled visit this
                      morning is a f/u from sx's reported today to RN.
                      He stated, "I just wanted it documented that I was short of breath sometimes. Nothin's new.
                      I'm fine."
                      Denies new symptoms. Denies worsening symptoms. Denied any shortness of breath or
                      dyspnea upon exertion at time of exam. Reports complete resolution of stuffy nose and H/A.
                      See 12/27/20 APP documentation with inmate being medically cleared from isolation status at
                      that time.
                      He had a positive Abbott COVID-19 test 12/16/20 with confirmatory positive Quest test
                      12/21/20.
                      Denies fever, chills, night sweats, myalgia's, N/V/D, cough, or associated sx's.

                        PLAN:
                        Stable VS with unremarkable exam.
                        Asymptomatic at time of exam with report of wanting his sx of intermittent SOB documented.
                        Routine Cxry pending with clear breath sounds upon auscultation.
        Pain:           No

OBJECTIVE:
Temperature:
    Date              Time            Fahrenheit      Celsius Location                  Provider
    12/30/2020        09:40 THX             97.5         36.4                           Frank, Casey FNP

Pulse:
     Date          Time              Rate Per Minute          Location                  Rhythm     Provider
     12/30/2020 09:40 THX                            66                                            Frank, Casey FNP
Respirations:
     Date                 Time               Rate Per Minute Provider
     12/30/2020           09:40 THX                           18 Frank, Casey FNP
Blood Pressure:
     Date       Time              Value          Location        Position              Cuff Size   Provider
     12/30/2020 09:40 THX         119/67                                                           Frank, Casey FNP
SaO2:
     Date             Time            Value(%) Air                           Provider
     12/30/2020       09:40 THX             98 Room Air                      Frank, Casey FNP

 ROS Comments
    General: Negative fever, chills, night sweats, weight loss, appetite change, or fatigue.
    Integumentary: Negative rash, wound, or skin breakdown.

Generated 12/30/2020 11:13 by Frank, Casey FNP               Bureau of Prisons - THP                                   Page 1 of 3
                  Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 14 of 164
Inmate Name: HIGGS, DUSTIN JOHN                                                                           Higgs_0006
                                                                                            Reg #: 31133-037
Date of Birth: 03/10/1972                           Sex:      M    Race: BLACK              Facility: THP
Encounter Date: 12/30/2020 09:40                    Provider: Frank, Casey FNP              Unit:     X01

   HEENT: Denies visual changes, watery eyes, runny nose, allergies, sinus pressure, or neck pain.
   Cardiovascular: Negative CP, Angina, Cough, Edema, Intermittent Claudication, Orthopnea, PND, Syncope, or
   palpitations.
   Pulmonary: Denied SOB or DOE upon exam. Reports intermittent feelings of, "difficulty catching my breath." Denies
   sudden onset of symptoms that are reported to be improving. Negative Cough, Dyspnea, or hemoptysis.
   GI: Negative abdominal pain, colic, bloating, N/V/D, constipation, bowel dysfunction, incontinence of stool, rectal
   bleeding/pain, heartburn, or bowel habits changes.
   GU: Negative Nocturia, Hematuria, Hesitancy, bladder dysfunction, Incontinence, Urgency, Urinary Frequency, Urinary
   Retention, or Dysuria.
   Musculoskeletal: Negative back pain, muscle aches, extremity discomfort, or saddle anesthesia.
   Neurological: CN 2-12 grossly intact. Negative dizziness, H/A, or weakness.
   Endocrine: Negative polydipsia, polyphagia, or polyuria.
   Psychiatric: Negative Mood Impaired, SI/HI, or anhedonia.
   Lymphatics: Negative generalized lymphadenopathy.
 Exam Comments
    General: Affect Pleasant and cooperative. In NAD.
    Skin: WNL. Dry and intact.
    Head: Symmetry of motor function, Atraumatic/Normocephalic.
    Nose: Patent nares without rhinitis or drainage.
    Pharynx: Negative erythema, exudate, posterior lymph hyperplasia, or swelling. Patent airway.
    Neck: WNL, supple, symmetric, trachea midline. Musculoskeletal WNL, full ROM.
    Pulmonary: Thorax: Inspection WNL with normal thoracic expansion, normal diaphragmatic excursion, Clear to
    auscultation without crackles, rhonchi, wheezing, or pleural rub.
    Cardiovascular: Observation WNL. Normal Rate, Regular Rhythm without tachycardia, bradycardia, irregular rhythm, or
    cardiopulmonary distress. Auscultation: Regular Rate and Rhythm (RRR), Normal S1 and S2 with mid faint systolic click
    best auscultated at apex (chronic finding per BEMR record review). Otherwise, without M/R/G, S3, S4. Vascular: WNL.
    Peripheral Vascular: Negative edema.
    Abdomen: Inspection: WNL. Auscultation: Normal active bowel sounds. Negative arterial bruits. Palpation: WNL. Soft,
    non-tender without guarding, rigidity or evidence of acute abdomen.
    Musculoskeletal: WNL. Full normal generalized active/passive ROM. Non-tender C-spine.
    Normal Bony Landmarks, Symmetric. Neurovascular Intact. Ambulating without difficulty.
    Neurologic: Cranial Nerves (CN) intact grossly.
    Psych: Negative flat affect. Conversing without difficulty.
    Lymphatic's: Negative generalized or localized lymphadenopathy.
ASSESSMENT:

Asthma, unspecified, 493.90 - Current - 09/27/17 B asthma PEFR 500+. Negative cough or wheeze.
Encounter for observation for other suspected diseases and conditions ruled out, Z0389 - Current

PLAN:
Discontinued Radiology Request Orders:
    Details                                    Frequency         End Date             Due Date               Priority
    General Radiology-Chest-2 Views            One Time                               01/21/2021             Routine
        Specific reason(s) for request (Complaints and findings):
           HTN
New Radiology Request Orders:
   Details                                    Frequency         End Date              Due Date               Priority
   General Radiology-Chest-2 Views            One Time                                12/31/2020             Routine
       Specific reason(s) for request (Complaints and findings):
              Reports intermittent feelings of difficulty catching breath. COVID-19 recovered recently. Negative cough.
              VS and exam stable.
Generated 12/30/2020 11:13 by Frank, Casey FNP        Bureau of Prisons - THP                                    Page 2 of 3
                  Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 15 of 164
Inmate Name: HIGGS, DUSTIN JOHN                                                                         Higgs_0007
                                                                                          Reg #: 31133-037
Date of Birth: 03/10/1972                            Sex:      M    Race: BLACK           Facility: THP
Encounter Date: 12/30/2020 09:40                     Provider: Frank, Casey FNP           Unit:     X01

Disposition:
    Follow-up at Sick Call as Needed
    Follow-up at Chronic Care Clinic as Needed

Patient Education Topics:
    Date Initiated Format                         Handout/Topic                          Provider                 Outcome
    12/30/2020     Counseling                     Plan of Care                           Frank, Casey             Verbalizes
                                                                                                                  Understanding
         Reviewed intermittent symptoms that are reportedly improving, plan of care including routine chest xry, and
         callback criteria.

Copay Required:No                           Cosign Required: No
Telephone/Verbal Order: No
Completed by Frank, Casey FNP on 12/30/2020 11:13




Generated 12/30/2020 11:13 by Frank, Casey FNP         Bureau of Prisons - THP                                Page 3 of 3
                  Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 16 of 164
                                                       Bureau of Prisons                                          Higgs_0008
                                                        Health Services
                                                       Clinical Encounter
Inmate Name: HIGGS, DUSTIN JOHN                                                                     Reg #: 31133-037
Date of Birth: 03/10/1972                                   Sex:      M    Race: BLACK              Facility: THP
Encounter Date: 12/27/2020 07:50                            Provider: Frank, Casey FNP              Unit:     X01


Mid Level Provider - Evaluation encounter performed at Special Housing Unit.
SUBJECTIVE:
    COMPLAINT 1                  Provider: Frank, Casey FNP
        Chief Complaint: INFECTIOUS DISEASE
        Subjective:   f/u positive Abbott COVID-19 test 12/16/20 with confirmatory positive Quest test 12/21/20.
                      Reports having a mildly "stuffy," nose and nearly resolved H/A with improving sx's and no H/A
                      at time of exam.
                      Denies fever, chills, night sweats, myalgia's, N/V/D, cough, SOB, DOE, or associated sx's.

                        PLAN:
                        Medically cleared from isolation status if appropriate from custody IDC standpoint.
        Pain:           No

OBJECTIVE:
Temperature:
    Date              Time            Fahrenheit      Celsius Location                  Provider
    12/27/2020        07:51 THX             97.3         36.3                           Frank, Casey FNP

Pulse:
     Date          Time              Rate Per Minute          Location                  Rhythm     Provider
     12/27/2020 07:51 THX                            78                                            Frank, Casey FNP
Respirations:
     Date                 Time               Rate Per Minute Provider
     12/27/2020           07:51 THX                           18 Frank, Casey FNP
Blood Pressure:
     Date       Time              Value          Location        Position              Cuff Size   Provider
     12/27/2020 07:51 THX         140/80                                                           Frank, Casey FNP
SaO2:
     Date             Time            Value(%) Air                           Provider
     12/27/2020       07:51 THX            100 Room Air                      Frank, Casey FNP

 ROS Comments
    General: Negative fever, chills, night sweats, weight loss, appetite change, or fatigue.
    Integumentary: Negative rash, wound, or skin breakdown.
    HEENT: Denies visual changes, watery eyes, runny nose, allergies, sinus pressure, or neck pain. Reports mild "stuff
    nose."
    Cardiovascular: Negative CP, SOB, DOE, Angina, Cough, Edema, Orthopnea, PND, Syncope, or palpitations.
    Pulmonary: Negative Cough, SOB, DOE, Dyspnea, or hemoptysis.
    GI: Negative abdominal pain, colic, bloating, N/V/D, or constipation..
    GU: Negative Nocturia, Hematuria, Hesitancy, bladder dysfunction, Incontinence, Urgency, Urinary Frequency, Urinary
    Retention, or Dysuria.
    Musculoskeletal: Negative back pain, muscle aches, or extremity discomfort.
    Neurological: CN 2-12 grossly intact. Negative dizziness, H/A, or weakness.
    Psychiatric: Negative impaired mood.

Generated 12/27/2020 08:54 by Frank, Casey FNP               Bureau of Prisons - THP                                   Page 1 of 2
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Inmate Name: HIGGS, DUSTIN JOHN                                                                        Higgs_0009
                                                                                         Reg #: 31133-037
Date of Birth: 03/10/1972                            Sex:      M    Race: BLACK          Facility: THP
Encounter Date: 12/27/2020 07:50                     Provider: Frank, Casey FNP          Unit:     X01

   Lymphatics: Negative generalized lymphadenopathy.
   ROS reviewed and otherwise unremarkable.
 Exam Comments
    Wearing mask due to COVID-19 pandemic and evaluated with officers and Lieutenant.
    General: Affect Pleasant and cooperative.
    Skin: WNL. Dry and intact.
    Head: Symmetry of motor function, Atraumatic/Normocephalic.
    Pharynx: Negative erythema, exudate, posterior lymph hyperplasia, or swelling. Patent airway.
    Neck: WNL, supple, symmetric, trachea midline. Musculoskeletal WNL, full ROM without tenderness, swelling, or
    muscle spasms.
    Pulmonary: Thorax: Inspection WNL with normal thoracic expansion, normal diaphragmatic excursion, Clear to
    auscultation without crackles, rhonchi, wheezing, or pleural rub.
    Cardiovascular: Observation WNL. Normal Rate, Regular Rhythm without tachycardia, bradycardia, irregular rhythm, or
    cardiopulmonary distress. Auscultation: Regular Rate and Rhythm (RRR), Normal S1 and S2 with mid faint systolic click
    best auscultated at apex (chronic finding per BEMR record review). Otherwise, without M/R/G, S3, S4. Vascular: WNL.
    Peripheral Vascular: General WNL.
    Abdomen: Inspection: WNL. Auscultation: Normal active bowel sounds. Negative arterial bruits. Palpation: WNL. Soft,
    non-tender without guarding, rigidity, overt mass or organomegaly, or evidence of acute abdomen.
    Musculoskeletal: WNL. Full normal generalized active/passive ROM. Ambulating without difficulty.
    Neurologic: Cranial Nerves (CN) 2-12 grossly intact.
    Psych: Negative flat affect. Conversing without difficulty.
    Lymphatic's: Negative generalized or localized lymphadenopathy.
ASSESSMENT:

Confirmed case COVID-19, U07.1 - Resolved

PLAN:

Disposition:
    Follow-up at Sick Call as Needed
    Follow-up at Chronic Care Clinic as Needed

Patient Education Topics:
    Date Initiated Format                         Handout/Topic                         Provider               Outcome
    12/27/2020     Counseling                     Plan of Care                          Frank, Casey           Verbalizes
                                                                                                               Understanding
         Plan of care including clearance from isolation status. Callback criteria.

Copay Required:No                           Cosign Required: No
Telephone/Verbal Order: No
Completed by Frank, Casey FNP on 12/27/2020 08:54




Generated 12/27/2020 08:54 by Frank, Casey FNP         Bureau of Prisons - THP                               Page 2 of 2
                   Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 18 of 164
                                                       Bureau of Prisons                                   Higgs_0010
                                                        Health Services
                                                       Clinical Encounter
Inmate Name: HIGGS, DUSTIN JOHN                                                            Reg #: 31133-037
Date of Birth: 03/10/1972                                Sex:      M   Race: BLACK         Facility: THP
Encounter Date: 12/20/2020 09:50                         Provider: McGuire, Cody NREMT-P   Unit:     X01


EMT/Para - Sick Call encounter performed at Special Housing Unit.
SUBJECTIVE:
    COMPLAINT 1                Provider: McGuire, Cody NREMT-P
       Chief Complaint: Headache
       Subjective:   "I have a headache and stuffy nose"
       Pain:         Yes
       Pain Assessment
         Date:                    12/20/2020 09:50
         Location:                Head
         Quality of Pain:            Aching
         Pain Scale:                 3
         Intervention:               OTC meds
         Trauma Date/Year:
         Injury:
         Mechanism:
         Onset:                      1-2 Days
         Duration:                   1-2 Days
         Exacerbating Factors:       none
         Relieving Factors:          none
         Reason Not Done:
         Comments:

OBJECTIVE:

 Exam Comments
    headache, stuffy nose, no others reported.
ASSESSMENT:
        Other
        Pt seen at cell door this morning reporting headache and stuffy nose. Pt is covid positive and is requesting OTC meds
        for symptom control. Will consult provider regarding meds. Pt has hx of NSAID allergy and will not be written for
        ibuprofen. Pt reports to nurse that he has access to Tylenol and is encouraged to make use of Tylenol for symptom
        control.
PLAN:

Disposition:
    Follow-up at Sick Call as Needed

Patient Education Topics:
    Date Initiated Format                             Handout/Topic                        Provider              Outcome
    12/20/2020     Counseling                         Access to Care                       McGuire, Cody         Verbalizes
                                                                                                                 Understanding

Generated 12/20/2020 10:00 by McGuire, Cody NREMT-P        Bureau of Prisons - THP                              Page 1 of 2
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Inmate Name: HIGGS, DUSTIN JOHN                                                                         Higgs_0011
                                                                                          Reg #: 31133-037
Date of Birth: 03/10/1972                               Sex:      M   Race: BLACK         Facility: THP
Encounter Date: 12/20/2020 09:50                        Provider: McGuire, Cody NREMT-P   Unit:     X01

    Date Initiated Format                             Handout/Topic                       Provider             Outcome

Copay Required:No                         Cosign Required: Yes
Telephone/Verbal Order: Yes              By: Frank, Casey FNP
Telephone or Verbal order read back and verified.


Completed by McGuire, Cody NREMT-P on 12/20/2020 10:00
Requested to be cosigned by Frank, Casey FNP.
Cosign documentation will be displayed on the following page.
Requested to be reviewed by Wilson, William E. MD/CD.
Review documentation will be displayed on the following page.




Generated 12/20/2020 10:00 by McGuire, Cody NREMT-P       Bureau of Prisons - THP                            Page 2 of 2
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                                          Bureau of Prisons                                    Higgs_0012
                                           Health Services
                                           Cosign/Review
Inmate Name:    HIGGS, DUSTIN JOHN                                                Reg #:      31133-037
Date of Birth:  03/10/1972                   Sex:          M                      Race:       BLACK
Encounter Date: 12/20/2020 09:50             Provider:     McGuire, Cody NREMT-   Facility:   THP

Reviewed by Wilson, William E. MD/CD on 12/22/2020 15:53.




                                             Bureau of Prisons - THA
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                                                                                                    Higgs_0013
                                             Bureau of Prisons
                                              Health Services
                                  Clinical Encounter - Administrative Note
Inmate Name:       HIGGS, DUSTIN JOHN                                                 Reg #:      31133-037
Date of Birth:     03/10/1972                        Sex:      M    Race:BLACK        Facility:   THP
Note Date:         12/18/2020 17:12                  Provider: Smiledge, Shauna HSA   Unit:       X01


Admin Note - Chart Review encounter performed at Health Services.
Administrative Notes:
      ADMINISTRATIVE NOTE 1                Provider: Smiledge, Shauna HSA
          A review of inmate Higgs chart shows he was tested on 12/16/2020 via Abbott machine. The result was listed
          as symptomatic however the inmate had not reported symptoms. He was tested as surveillance. His test
          should have been charted as positive, asymptomatic.


Copay Required:No                           Cosign Required: No
Telephone/Verbal Order: No
Completed by Smiledge, Shauna HSA on 12/18/2020 17:18




Generated 12/18/2020 17:18 by Smiledge, Shauna HSA    Bureau of Prisons - THP                          Page 1 of 1
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                                                                                                            Higgs_0014
                                               Bureau of Prisons
                                                Health Services
                                    Clinical Encounter - Administrative Note
Inmate Name:        HIGGS, DUSTIN JOHN                                                         Reg #:      31133-037
Date of Birth:      03/10/1972                            Sex:      M     Race:BLACK           Facility:   THP
Note Date:          12/16/2020 14:41                      Provider: Bixler, Tracy RN           Unit:       X01


Admin Note - Orders encounter performed at Health Services.
Administrative Notes:
      ADMINISTRATIVE NOTE 1                          Provider: Bixler, Tracy RN
          Surveillance Covid testing

New Laboratory Requests:
   Details                                             Frequency                     Due Date              Priority
   Lab Tests-C-COVID-19 Novel Coronavirus              One Time                      12/16/2020 00:00      Today
       Lab personnel verbally notified of a priority order of Today or Stat

Copay Required:No                                Cosign Required: Yes
Telephone/Verbal Order: No
Completed by Bixler, Tracy RN on 12/16/2020 14:41
Requested to be cosigned by Wilson, William E. MD/CD.
Cosign documentation will be displayed on the following page.




Generated 12/16/2020 14:41 by Bixler, Tracy RN             Bureau of Prisons - THA                              Page 1 of 1
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                                          Bureau of Prisons                                Higgs_0015
                                           Health Services
                                           Cosign/Review
Inmate Name:    HIGGS, DUSTIN JOHN                                            Reg #:      31133-037
Date of Birth:  03/10/1972                   Sex:          M                  Race:       BLACK
Encounter Date: 12/16/2020 14:41             Provider:     Bixler, Tracy RN   Facility:   THP

Cosigned by Trueblood, Elizabeth MD on 12/17/2020 14:27.




                                             Bureau of Prisons - THA
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                                                     Bureau of Prisons                                      Higgs_0016
                                                      Health Services
                                                     Clinical Encounter
Inmate Name: HIGGS, DUSTIN JOHN                                                             Reg #: 31133-037
Date of Birth: 03/10/1972                              Sex:      M    Race: BLACK           Facility: THP
Encounter Date: 12/12/2020 13:20                       Provider: Beal, Carly RN             Unit:     X01


Nursing - Sick Call Note encounter performed at Special Housing Unit.
SUBJECTIVE:
    COMPLAINT 1                   Provider: Beal, Carly RN
       Chief Complaint: Medication Refill
       Subjective:   renew medication request
       Pain:         Not Applicable

OBJECTIVE:

ASSESSMENT:
        No Significant Findings/No Apparent Distress
        Inmate presents to Health Services to request medication renewal. Inmate voices no complaints and states he is
        tolerating medications. Renewal request discussed with provider, and provider has evaluated inmate's current
        medication regimen. To provide continuity of care until patient's next regularly scheduled appointment, this writer was
        given a verbal order to renew medication orders with no changes for a duration of 180. Inmate is instructed to return to
        sick call if any problems develop prior to his next appointment.
PLAN:
Renew Medication Orders:
Rx#         Medication                                                                        Order Date
490629-THX Mometasone Furoate Inhal 220 MCG/Inh [                                             12/12/2020 13:20
            60 doses]
                  Prescriber Order:  Inhale 2 puffs by mouth each day - rinse mouth after use x 365 day(s)
                        Indication: Asthma, unspecified, Bronchitis, acute

Disposition:
    Follow-up at Sick Call as Needed

Patient Education Topics:
    Date Initiated Format                           Handout/Topic                          Provider               Outcome
    12/12/2020     Counseling                       Access to Care                         Beal, Carly            Verbalizes
                                                                                                                  Understanding

Copay Required:No                           Cosign Required: Yes
Telephone/Verbal Order: Yes                By: Wilson, William E. MD/CD
Telephone or Verbal order read back and verified.


Completed by Beal, Carly RN on 12/12/2020 13:31
Requested to be cosigned by Wilson, William E. MD/CD.
Cosign documentation will be displayed on the following page.




Generated 12/12/2020 13:31 by Beal, Carly RN             Bureau of Prisons - THP                                 Page 1 of 1
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                                          Bureau of Prisons                              Higgs_0017
                                           Health Services
                                           Cosign/Review
Inmate Name:    HIGGS, DUSTIN JOHN                                          Reg #:      31133-037
Date of Birth:  03/10/1972                   Sex:          M                Race:       BLACK
Encounter Date: 12/12/2020 13:20             Provider:     Beal, Carly RN   Facility:   THP

Cosigned by Trueblood, Elizabeth MD on 12/14/2020 08:40.




                                             Bureau of Prisons - THA
                 Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 26 of 164
                                                       Bureau of Prisons                                    Higgs_0018
                                                        Health Services
                                                       Clinical Encounter
Inmate Name: HIGGS, DUSTIN JOHN                                                             Reg #: 31133-037
Date of Birth: 03/10/1972                                Sex:      M   Race: BLACK          Facility: THP
Encounter Date: 12/08/2020 11:19                         Provider: McGuire, Cody NREMT-P    Unit:     X01


EMT/Para - Sick Call encounter performed at Special Housing Unit.
SUBJECTIVE:
    COMPLAINT 1                Provider: McGuire, Cody NREMT-P
       Chief Complaint: No Complaint(s)
       Subjective:   med renew
       Pain:         No

OBJECTIVE:

 Exam Comments
    none
ASSESSMENT:
        No Significant Findings/No Apparent Distress
        Inmate presents to Health Services to request medication renewal. Inmate voices no complaints and states he is
        tolerating medications. Renewal request discussed with provider, and provider has evaluated inmate's current
        medication regimen. To provide continuity of care until patient's next regularly scheduled appointment, this writer was
        given a verbal order to renew medication orders with no changes for a duration of 30 days. Inmate is instructed to return
        to sick call if any problems develop prior to his next appointment.
PLAN:
Renew Medication Orders:
Rx#         Medication                                                                                Order Date
521914-THX Fluconazole 100 MG Tab                                                                     12/08/2020 11:19
                  Prescriber Order:            Take one and one-half (1 and 1/2) tablets (150 MG) by mouth once weekly x
                                               30 day(s) Pill Line Only
                      Indication: Dermatophytosis [tinea, ringworm]

Disposition:
    Follow-up at Sick Call as Needed

Patient Education Topics:
    Date Initiated Format                             Handout/Topic                         Provider               Outcome
    12/08/2020     Counseling                         Access to Care                        McGuire, Cody          Verbalizes
                                                                                                                   Understanding

Copay Required:No                         Cosign Required: Yes
Telephone/Verbal Order: Yes              By: Frank, Casey FNP
Telephone or Verbal order read back and verified.


Completed by McGuire, Cody NREMT-P on 12/08/2020 11:21
Requested to be cosigned by Frank, Casey FNP.
Cosign documentation will be displayed on the following page.


Generated 12/08/2020 11:21 by McGuire, Cody NREMT-P        Bureau of Prisons - THP                               Page 1 of 1
            Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 27 of 164
                                         Bureau of Prisons                                     Higgs_0019
                                          Health Services
                                          Cosign/Review
Inmate Name:    HIGGS, DUSTIN JOHN                                                Reg #:      31133-037
Date of Birth:  03/10/1972                   Sex:          M                      Race:       BLACK
Encounter Date: 12/08/2020 11:19             Provider:     McGuire, Cody NREMT-   Facility:   THP

Cosigned by Frank, Casey FNP on 12/08/2020 14:51.




                                             Bureau of Prisons - THP
                 Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 28 of 164
                                                                                                                   Higgs_0020
                                               Bureau of Prisons
                                                Health Services
                                    Clinical Encounter - Administrative Note
Inmate Name:        HIGGS, DUSTIN JOHN                                                               Reg #:      31133-037
Date of Birth:      03/10/1972                               Sex:      M     Race:BLACK              Facility:   THP
Note Date:          11/05/2020 09:25                         Provider: Bixler, Tracy RN              Unit:       X02


Admin Note - Consultation encounter performed at Health Services.
Administrative Notes:
      ADMINISTRATIVE NOTE 1                Provider: Bixler, Tracy RN
          Patient allergies reviewed and needed updates applied during this visit. See Chart: Allergies for most recent
          patient allergy list.

              SEEN IN HOUSE FOR CONSULTATION: Cardiology

              PHYSICIAN: Dr. Mercho

              FOLLOW UP CONSULT:                 YES

              REASON FOR CONSULTATION: Follow up for mitral valve prolapse

              PERTINENT PATIENT COMMENTS (THE READER IS ALSO REFERRED TO THE SPECIALIST'S NOTE IN
              DOCUMENT MANAGER): Denies any chest pain, palpitations or shortness of breath. Reports that he just has
              the heart murmur. Doesn't bother him.

              ASSESSMENT (THE READER IS ALSO REFERRED TO THE SPECIALIST'S NOTE IN DOCUMENT
              MANAGER): Chart reviewed and patient examined. Echo from last year still shows the mitral valve prolapse.
              Moderate. No intervention at this time. If symptoms increase, notify medical. Only way to fix it or help it is
              surgery ( replace or repair).

              PLAN:

                 MEDICINE CHANGES IF ANY: no change

                 SPECIAL TESTING ( LABS, RADIOLOGICAL STUDIES, REFERRALS ETC) : Echo in April 2021


                 NEXT FOLLOW UP WITH THIS SPECIALIST: after echo

              PATIENT VOICED UNDERSTANDING AND AGREEMENT WITH TREATMENT PLAN. THE READER IS
              ALSO REFERRED TO THE SPECIALIST'S NOTE IN DOCUMENT MANAGER FOR COMPLETE
              DOCUMENTATION OF THE CONSULTATION.

Temperature:
     Date              Time            Fahrenheit      Celsius Location                 Provider
     11/05/2020        09:25 THX             97.5         36.4                          Bixler, Tracy RN

Pulse:
     Date          Time               Rate Per Minute           Location                Rhythm      Provider
     11/05/2020 09:25 THX                              81                                           Bixler, Tracy RN
Blood Pressure:
     Date       Time               Value          Location         Position            Cuff Size   Provider
     11/05/2020 09:25 THX          108/75                                                          Bixler, Tracy RN
SaO2:

Generated 11/05/2020 12:47 by Bixler, Tracy RN               Bureau of Prisons - THA                                   Page 1 of 2
                 Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 29 of 164
                                                                                                                Higgs_0021
Inmate Name:        HIGGS, DUSTIN JOHN                                                          Reg #:         31133-037
Date of Birth:      03/10/1972                            Sex:      M     Race:BLACK            Facility:      THP
Note Date:          11/05/2020 09:25                      Provider: Bixler, Tracy RN            Unit:          X02

     Date              Time             Value(%) Air                         Provider
     11/05/2020        09:25 THX             100                             Bixler, Tracy RN

New Consultation Requests:
  Consultation/Procedure                          Target Date Scheduled Target Date Priority                Translator   Language
  Radiology                                       04/30/2021 04/30/2021             Routine                 No
        Subtype:
             Echo - Onsite
          Reason for Request:
             Dr. mercho recommends scheduling an echocardiogram in April. Hx of mitral valve prolapse
  Cardiology                         05/31/2021 05/31/2021                   Routine            No
        Subtype:
             Onsite Cardiology Clinic
          Reason for Request:
               Dr. Mercho recommends follow up after the echo is complete. Repeat echo ordered for April 2021.

Copay Required:No                                Cosign Required: Yes
Telephone/Verbal Order: No
Completed by Bixler, Tracy RN on 11/05/2020 12:47
Requested to be cosigned by Wilson, William E. MD/CD.
Cosign documentation will be displayed on the following page.




Generated 11/05/2020 12:47 by Bixler, Tracy RN             Bureau of Prisons - THA                                 Page 2 of 2
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                                          Bureau of Prisons                                Higgs_0022
                                           Health Services
                                           Cosign/Review
Inmate Name:    HIGGS, DUSTIN JOHN                                            Reg #:      31133-037
Date of Birth:  03/10/1972                   Sex:          M                  Race:       BLACK
Encounter Date: 11/05/2020 09:25             Provider:     Bixler, Tracy RN   Facility:   THP

Cosigned by Wilson, William E. MD/CD on 11/05/2020 15:14.




                                             Bureau of Prisons - THA
                  Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 31 of 164
                                                   Bureau of Prisons                                           Higgs_0023
                                                    Health Services
                                                   Clinical Encounter
Inmate Name: HIGGS, DUSTIN JOHN                                                               Reg #: 31133-037
Date of Birth: 03/10/1972                            Sex:      M    Race: BLACK               Facility: THP
Encounter Date: 10/28/2020 07:10                     Provider: Frank, Casey FNP               Unit:     X02


Mid Level Provider - Sick Call Note encounter performed at Special Housing Unit.
SUBJECTIVE:
    COMPLAINT 1                  Provider: Frank, Casey FNP
       Chief Complaint: Skin Problem
       Subjective:   Sick call request with c.o. continued rash.
                     Reviewed PMH/health problems and labs in BEMR; see for details. See 9/11/20 physician
                     CCC visit. At that time, had c.o. rash on torso, upper arms, and L anterior hip present for
                     months. Reported occasional itching. Inmate was reportedly concerned about skin cancer
                     after watching a television show about rashes. Exam at that time documented as having
                     macules scattered across the anterior/posterior thorax, dark brown in color and somewhat
                     scaly in places. Similar lesions noted on upper arms laterally over deltoids.
                     He was diagnosed with suspected tinea versicolor (fungal) and was prescribed selenium
                     sulfide lotion 2.5%.
                     Inmate reports improvement, though not resolved rash with use of selenium sulfide and
                     subsequent recurrence within the last several months. Reports occasional itching that is not
                     worse at night or severe.
                     Commissary receipt reviewed: Purchased hydrocortisone 8/17/20 and cocoa butter lotion
                     8/2020 and 9/2020. No purchases of anti-fungal cream or other body products noted.

                        PLAN:
                        Dx: Suspected Tinea Versicolor.
                        Rx selenium sulfide (unable to get from commissary; housed in SHU) and oral fluconazole
                        100mg PO Qweek X 4 weeks.
       Pain:            No

OBJECTIVE:

 ROS Comments
   c.o. continued, chronic "dark" rash that is intermittently itchy. Denies severe pruritis, nocturnal pruritis, open wounds,
   linear pattern to rash, or associated sx's.
   ROS reviewed and otherwise unremarkable.
 Exam Comments
    Wearing mask and evaluated at cell door with officer due to COVID-19 Pandemic. Inmate was offered visit in medical
    should he not be agreeable to discussing at his door. He reported being agreeable to visit at door.
    General: Affect Pleasant and cooperative.
    Skin: Location: anterior/posterior thorax and b/l upper arms laterally over deltoids. Dark brown, hyperpigmented,
    scattered non-raised macules with slightly scaly in several places. Negative drainage, drainage, linear pattern,
    erythema, or s/sx's infection. No rash to hands or feet. Negative scratching or skin noted during exam.
    Head: Symmetry of motor function, Atraumatic/Normocephalic.
    Neck: WNL, supple, symmetric, trachea midline.
    Pulmonary: Thorax: Inspection WNL with normal thoracic expansion, normal diaphragmatic excursion, Clear to
    auscultation without crackles, rhonchi, wheezing, or pleural rub.
    Cardiovascular: Observation WNL. Normal Rate, Regular Rhythm without tachycardia, bradycardia, irregular rhythm, or
    cardiopulmonary distress. Auscultation: Regular Rate and Rhythm (RRR), Normal S1 and S2 without M/R/G, S3, S4.
    Abdomen: Inspection: WNL.
    MSK: Ambulating without difficulty.
    Neurologic: Cranial Nerves (CN) 2-12 grossly intact.
    Psych: Negative flat affect. Conversing without difficulty.
    Lymphatic's: Negative generalized or localized lymphadenopathy.
Generated 10/28/2020 11:49 by Frank, Casey FNP         Bureau of Prisons - THP                                      Page 1 of 2
                  Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 32 of 164
Inmate Name: HIGGS, DUSTIN JOHN                                                                               Higgs_0024
                                                                                                Reg #: 31133-037
Date of Birth: 03/10/1972                               Sex:      M    Race: BLACK              Facility: THP
Encounter Date: 10/28/2020 07:10                        Provider: Frank, Casey FNP              Unit:     X02

ASSESSMENT:

Dermatophytosis [tinea, ringworm], B359 - Current - Suspect tinea versicolor

PLAN:
New Medication Orders:
Rx#          Medication                                                                                  Order Date
             Fluconazole Tablet                                                                          10/28/2020 07:10
                  Prescriber Order:              150mg Orally Weekly x 30 day(s) Pill Line Only -- Recurrent tinea versicolor.
                       Indication: Dermatophytosis [tinea, ringworm]
Renew Medication Orders:
Rx#         Medication                                                                           Order Date
518454-THX Selenium Sulfide Lotion 2.5%, 120ML                                                   10/28/2020 07:10
                  Prescriber Order:   Apply to the affected areas of your body, (not on face or genitals) each day
                                      for 7 days. Work up a lather using a small amount of water. RINSE AFTER
                                      10 minutes. May use weekly thereafter x 7 day(s)
                  Indication: Dermatophytosis [tinea, ringworm]

Disposition:
    Follow-up at Sick Call as Needed
    Follow-up at Chronic Care Clinic as Needed

Patient Education Topics:
    Date Initiated Format                            Handout/Topic                             Provider              Outcome
    10/28/2020     Counseling                        Plan of Care                              Frank, Casey          Verbalizes
                                                                                                                     Understanding
         Reviewed diagnosis of tinea versicolor (fungal infection), plan of care, medication including selenium sulfide
         shampoo and weekly X 4 weeks fluconazole. Reviewed risks vs. benefits associated with medications including
         risk of liver failure with fluconazole. Inmate agreeable to proceeding with oral medication and shampoo.
         Reviewed hand/body hygiene, especially given COVID-19 Pandemic. To place sick call 4-6 weeks after
         completion of last fluconazole dose should symptoms continue.

Copay Required:Yes                          Cosign Required: No
Telephone/Verbal Order: No
Completed by Frank, Casey FNP on 10/28/2020 11:49




Generated 10/28/2020 11:49 by Frank, Casey FNP             Bureau of Prisons - THP                                   Page 2 of 2
                   Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 33 of 164
                                                         Bureau of Prisons                                         Higgs_0025
                                                          Health Services
                                                         Clinical Encounter
Inmate Name: HIGGS, DUSTIN JOHN                                                                    Reg #: 31133-037
Date of Birth: 03/10/1972                                 Sex:      M     Race: BLACK              Facility: THP
Encounter Date: 10/08/2020 10:38                          Provider: Miller, Kasha RN               Unit:     X02


Nursing - Sick Call Note encounter performed at Housing Unit.
SUBJECTIVE:
    COMPLAINT 1                   Provider: Miller, Kasha RN
       Chief Complaint: Other Problem
       Subjective:   "I'm requesting to see the doctor. I still have the same rash as I did when I saw the doctor".
       Pain:         Not Applicable

OBJECTIVE:

Exam:
    General
       Appearance
            Yes: Alert and Oriented x 3

ASSESSMENT:
        Other
        Inmate submits medical sick call sign-up form at cell door during morning pill line. Speaking and ambulating without
        difficulty. Respirations even and unlabored. Inmate reports having a continuous rash on his upper arms, chest and
        stomach. Inmate saw the provider regarding this issue 1 month ago, but states it has not went away even with the
        medication that was prescribed. Will be placed on scheduler to see provider. No change in allergy status.
PLAN:

Schedule:
    Activity                                                 Date Scheduled           Scheduled Provider
    Sick Call/Triage                                         10/21/2020 00:00 MLP 01
        10/8- ongoing rash
Disposition:
    To be Evaluated by Provider

Patient Education Topics:
    Date Initiated Format                              Handout/Topic                               Provider              Outcome
    10/08/2020     Counseling                          Access to Care                              Miller, Kasha         Verbalizes
                                                                                                                         Understanding

Copay Required:No                                Cosign Required: No
Telephone/Verbal Order: No
Completed by Miller, Kasha RN on 10/08/2020 10:44




Generated 10/08/2020 10:44 by Miller, Kasha RN              Bureau of Prisons - THP                                     Page 1 of 1
                  Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 34 of 164
                                                         Bureau of Prisons                                 Higgs_0026
                                                          Health Services
                                                         Clinical Encounter
Inmate Name: HIGGS, DUSTIN JOHN                                                                Reg #: 31133-037
Date of Birth: 03/10/1972                                 Sex:      M    Race: BLACK           Facility: THP
Encounter Date: 09/11/2020 14:13                          Provider: Wilson, William E. MD/CD   Unit:     X02


Chronic Care - Chronic Care Clinic encounter performed at Other.
SUBJECTIVE:
    COMPLAINT 1                  Provider: Wilson, William E. MD/CD
       Chief Complaint: PULMONARY/RESPIRATORY
       Subjective:   CCC PERFORMED AS LISTED BELOW
                     HYPERTENSION/ HYPERLIPDEMIA/ VASCULAR CHRONIC CARE CLINIC REVIEW OF
                     SYSTEMS :

                        PRIOR CARDIAC DISEASE DIAGNOSIS : YES HISTORY MVP

                        HYPERTENSION REVIEW OF SYSTEMS ARE NEGATIVE
                        FAMILY HISTORY :

                        HYPERTENSION- YES
                        PREMATURE CARDIOVASCULAR DISEASE OR DEATH YES
                        RENAL DISEASE-NO
                        DIABETES- YES


                        TAKES ASPIRIN DAILY- YES.


                        DIETARY HISTORY
                        SODIUM- DENIES EXCESSIVE SODIUM
                        ALCOHOL- DENIES
                        SATURATED FATS- DENIES EXCESSIVE SATURATED FATS BUT HE COMPLAINS
                        ABOUT THE DIET OFFERED. WE DID DISCUSS CARDIAC/DIABETIC DIET OR WITH
                        REFERRED TO AS A HEART HEALTHY DIET BUT HE DECLINED THAT
                        EXERCISES YES

                        THE PULMONARY CHRONIC CARE CLINIC REVIEW OF SYSTEMS ARE NEGATIVE. HE
                        IS COMPLIANT. NO PAST HOSPITALIZATION FOR PULMONARY EXACERBATION.

                        SYMPTOMS OF ASTHMA :
                        >2 DAYS/WEEK
                        NIGHTTIME AWAKENINGS DUE TO ASTHMA:
                          <2 TIMES PER MONTH
                        SABA USE FOR SYMPTOM CONTROL:
                        >2 DAYS/WEEK BUT NOT DAILY AND NOT MORE THAN ONE TIME ON ANY DAY
                        INTERFERENCE WITH NORMAL ACTIVITY DUE TO ASTHMA PER PATIENT:
                        MINOR LIMITATION
                        PAST EXACERBATIONS REQUIRING ORAL SYSTEMIC STEROIDS FOR ASTHMA:
                          NONE




                        CXR-OCTOBER 2018

                        FLU IMMUNIZATION-DECLINED 2019

Generated 09/11/2020 14:24 by Wilson, William E. MD/CD      Bureau of Prisons - THA                               Page 1 of 6
                  Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 35 of 164
Inmate Name: HIGGS, DUSTIN JOHN                                                                                       Higgs_0027
                                                                                                        Reg #: 31133-037
Date of Birth: 03/10/1972                                     Sex:      M    Race: BLACK                Facility: THP
Encounter Date: 09/11/2020 14:13                              Provider: Wilson, William E. MD/CD        Unit:     X02

                        PNEUMONIA IMMUNIZATION-PPV 23 APRIL 2017

                        HE COMPLAINS ABOUT A RASH ON HIS TORSO AND UPPER ARMS AND LEFT
                        ANTERIOR HIP PRESENT FOR MONTHS HE STATES. IT OCCASIONALLY ITCHES. HE
                        IS CONCERNED ABOUT SKIN CANCER AFTER HE WATCHED A TELEVISION SHOW
                        ABOUT RASHES.

                        LABS ARE NOTED. SEE THE DOCUMENT MANAGER CREATININE 1.1, LFTS NORMAL,
                        TOTAL CHOLESTEROL 143, TRIGLYCERIDES 52, HDL 66, LDL 67. A1C 5.5

                        ROS OTHERWISE NEGATIVE.
       Pain:            No
Seen for clinic(s): Hypertension, Pulmonary/Respiratory

OBJECTIVE:
Temperature:
    Date              Time            Fahrenheit         Celsius Location                  Provider
    09/11/2020        14:14 THX             98.2            36.8                           Wilson, William E. MD/CD

Pulse:
     Date          Time               Rate Per Minute           Location                   Rhythm      Provider
     09/11/2020 14:14 THX                                65                                            Wilson, William E. MD/CD
Respirations:
     Date                  Time               Rate Per Minute Provider
     09/11/2020            14:14 THX                             14 Wilson, William E. MD/CD
Blood Pressure:
     Date       Time               Value        Location            Position              Cuff Size    Provider
     09/11/2020 14:14 THX          126/76                                                              Wilson, William E. MD/CD
Wright Peak Flow:
     Date       Time                  Attempt 1 Attempt 2 Attempt 3 Effort                       Bronchodilator Provider
     09/11/2020 14:14 THX                  570       550       530 Fair                          Without        Wilson, William E.
Weight:
     Date             Time                 Lbs        Kg Waist Circum. Provider
     09/11/2020       14:14 THX           165.0      74.8              Wilson, William E. MD/CD

Exam:
   General
      Appearance
           Yes: Appears Well

 Exam Comments
    GENERAL APPEARANCE: APPEARS WELL
    SKIN: WITHIN NORMAL LIMITS IN GENERAL-HOWEVER THERE APPEARED TO BE IRREGULAR SHAPED
    MACULES SCATTERED ACROSS THE ANTERIOR AND POSTERIOR THORAX DARK BROWN IN COLOR AND
    SOMEWHAT SCALY IN PLACES. SIMILAR LESIONS ARE NOTED ON THE UPPER ARMS LATERALLY OVER THE
    DELTOIDS. THEY DO NOT HAVE THE APPEARANCE OF SKIN CANCER.

    LYMPH NODES: NO ADENOPATHY

    HEAD: NO BRUISING, NO MASSES, NO SIGNS OF TRAUMA. NORMOCEPHALIC
Generated 09/11/2020 14:24 by Wilson, William E. MD/CD          Bureau of Prisons - THA                                     Page 2 of 6
                  Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 36 of 164
Inmate Name: HIGGS, DUSTIN JOHN                                                                             Higgs_0028
                                                                                              Reg #: 31133-037
Date of Birth: 03/10/1972                                Sex:      M    Race: BLACK           Facility: THP
Encounter Date: 09/11/2020 14:13                         Provider: Wilson, William E. MD/CD   Unit:     X02

    EYES: EXTRA OCULAR MOVEMENTS INTACT. PUPILS APPEAR EQUAL.

    EARS: ACUITY APPEARS NORMAL

    NECK: NO THYROMEGALY, NO LYMPHADENOPATHY, NO MASSES. TRACHEA MIDLINE.


    CHEST: EQUAL EXPANSION, CLEAR TO AUSCULTATION BILATERALLY. NO RHONCHI, NO CRACKLES,
    NORMAL BREATH SOUNDS

    HEART:

            REGULAR RATE AND RHYTHM

            NORMAL FIRST AND SECOND HEART SOUNDS (S1, S2)

            NO GALLOPS (NO S3, S4)

    MID TO LATE SYSTOLIC MURMUR

    VASC- CAROTID PULSE PLUS 2 BILATERALLY

    NO RENAL BRUITS




           RADIAL PULSE PLUS 2

    ABDOMEN: BENIGN EXAM. WITHIN NORMAL LIMITS. SOFT AND NONTENDER WITH NO REBOUND. NO
    MASSES


    EXTREMITIES: NO CLUBBING OR EDEMA , WARM , WELL PERFUSED

    NEUROLOGICAL: MENTAL STATUS AND AFFECT NORMAL; NORMAL GAIT

    CRANIAL NERVE EXAMINATION: II-XII INTACT GROSSLY
ASSESSMENT:

Asthma, unspecified, 493.90 - Current
Cardiac murmurs, 785.2 - Current
Hypertension, Unspecified essential, 401.9 - Current
Dermatophytosis [tinea, ringworm], B359 - Current

PLAN:
New Medication Orders:
Rx#          Medication                                                                        Order Date
             Selenium Sulfide Lotion 2.5%                                                      09/11/2020 14:13
                  Prescriber Order:     SEE BELOW Topically - daily x 7 day(s) -- Apply to the affected areas of
                                        your body, except your face and genitals Work up a lather using a small
                                        amount of water.
                                          RINSE AFTER 10 minutes.
Generated 09/11/2020 14:24 by Wilson, William E. MD/CD     Bureau of Prisons - THA                               Page 3 of 6
                  Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 37 of 164
Inmate Name: HIGGS, DUSTIN JOHN                                                                                  Higgs_0029
                                                                                                   Reg #: 31133-037
Date of Birth: 03/10/1972                                 Sex:      M    Race: BLACK               Facility: THP
Encounter Date: 09/11/2020 14:13                          Provider: Wilson, William E. MD/CD       Unit:     X02

New Medication Orders:
Rx#          Medication                                                                                     Order Date
                                                   MAY USE WEEKLY THEREAFTER AS NEEDED
                        Indication: Dermatophytosis [tinea, ringworm]
Renew Medication Orders:
Rx#         Medication                                                                       Order Date
490630-THX Verapamil HCl 80 MG Tab                                                           09/11/2020 14:13
                  Prescriber Order: Take one-half (1/2) tablet (40 MG) by mouth three times daily x 365 day(s)
                        Indication: Migraine, unspecified
490625-THX       Albuterol Inhaler HFA (8.5 GM) 90 MCG/ACT                                        09/11/2020 14:13
                       Prescriber Order:     Inhale 2 puffs by mouth four times daily AS NEEDED PRN x 365 day(s)
                        Indication: Asthma, unspecified
490626-THX       Aspirin 81 MG EC Tab                                                                       09/11/2020 14:13
                       Prescriber Order:          Take one tablet by mouth daily x 365 day(s)
                        Indication: Hypertension, Unspecified essential
490627-THX       HydroCHLOROthiazide 12.5 MG Cap                                                            09/11/2020 14:13
                      Prescriber Order:  Take one capsule by mouth every day x 365 day(s)
                        Indication: Hypertension, Unspecified essential
490628-THX       Lisinopril 5 MG Tab                                                                        09/11/2020 14:13
                       Prescriber Order:          Take one tablet (5 MG) by mouth each day x 365 day(s)
                        Indication: Hypertension, Unspecified essential
New Laboratory Requests:
   Details                                            Frequency                          Due Date             Priority
   Lab Tests - Short List-General-CBC                 One Time                           08/11/2021 00:00     Routine
   Lab Tests - Short List-General-Lipid Profile
   Lab Tests - Short List-General-Microalbumin,
   urine random
   Lab Tests - Short List-General-TSH
   Lab Tests - Short List-General-Comprehensive
   Metabolic Profile (CMP)
   Chronic Care Clinics-Hypertension-CBC              One Time                           02/11/2021 00:00     Routine
   Chronic Care Clinics-Hypertension-
   Comprehensive Metabolic Profile (CMP)
   Chronic Care Clinics-Hypertension-Urinalysis
   w/Reflex to Microscopic
New Radiology Request Orders:
   Details                                      Frequency       End Date                      Due Date            Priority
   General Radiology-Chest-2 Views              One Time                                      01/21/2021          Routine
       Specific reason(s) for request (Complaints and findings):
               HTN
New Non-Medication Orders:
Order                   Frequency                        Duration          Details                          Ordered By
EKG                     One Time                                           DUE BY 2/15/2021                 Wilson, William E.
                                                                                                            MD/CD
                       Order Date:               09/11/2020
Schedule:
    Activity                                                  Date Scheduled          Scheduled Provider
Generated 09/11/2020 14:24 by Wilson, William E. MD/CD      Bureau of Prisons - THA                                      Page 4 of 6
                  Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 38 of 164
Inmate Name: HIGGS, DUSTIN JOHN                                                                                    Higgs_0030
                                                                                                     Reg #: 31133-037
Date of Birth: 03/10/1972                                   Sex:      M    Race: BLACK               Facility: THP
Encounter Date: 09/11/2020 14:13                            Provider: Wilson, William E. MD/CD       Unit:     X02

    Activity                                                   Date Scheduled           Scheduled Provider
    Pneumococcal conjugate(Prevnar 13)                         02/22/2021 00:00 Nurse 01
    MLP Chronic Care Follow up                                 03/11/2021 00:00 MLP 01
    Chronic Care Visit                                         09/10/2021 00:00 Physician 01
Disposition:
    Follow-up at Sick Call as Needed
    Follow-up at Chronic Care Clinic as Needed

Other:
    A/P

    RASH-SUSPECT FUNGAL TINEA VERSICOLOR
    -ANTIFUNGAL WASH OR CREAM

    MVP- SCHEDULE/ENSURE FOLLOW UP WITH CARDIOLOGY


    HYPERTENSION - STABLE. REFILL MEDICATIONS.

    FRAMINGHAM RISK: 1% 10 YEAR RISK OF DEVELOPING CHD. CONSERVATIVE MEASURES AND
    PREVENTIVE HEALTH MEASURES DISCUSSED.

    CLASSIFICATION OF ASTHMA SEVERITY: SOMEWHERE BETWEEN INTERMITTENT TO MILD PERSISTENT
    ALTHOUGH HE DID STATE AT THE END OF THE INTERVIEW HE FEELS LIKE HIS ASTHMA IS FAIRLY WELL
    CONTROLLED AND HE CAN EXERCISE VIGOROUSLY.




    REFILL MEDICATIONS
    LABS FOR CHRONIC CARE CLINIC- HYPERTENSION
    CXR-ORDER
    EKG-ORDER
    IMMUNIZATIONS PCV 13

    SCHEDULE/ENSURE OPTOMETRY EVALUATION FOR HYPERTENSION


    DISCUSSED EXERCISE, DIET, AND CONSERVATIVE MEASURES FOR GENERAL OPTIMAL HEALTH

    CALLBACK CRITERIA GIVEN AND PERTINENT PATIENT EDUCATION PERFORMED. PATIENT VOICED
    UNDERSTANDING AND AGREEMENT WITH TREATMENT PLAN. ALLERGY STATUS REVIEWED AND
    UNCHANGED.

    SCHEDULER CHECKED FOR ACCURACY

Patient Education Topics:
    Date Initiated Format                                Handout/Topic                               Provider             Outcome
    09/11/2020     Counseling                            Compliance - Treatment                      Wilson, William      Verbalizes
                                                                                                                          Understanding

Copay Required:No                            Cosign Required: No
Telephone/Verbal Order: No
Generated 09/11/2020 14:24 by Wilson, William E. MD/CD        Bureau of Prisons - THA                                   Page 5 of 6
                  Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 39 of 164
Inmate Name: HIGGS, DUSTIN JOHN                                                                             Higgs_0031
                                                                                              Reg #: 31133-037
Date of Birth: 03/10/1972                                Sex:      M    Race: BLACK           Facility: THP
Encounter Date: 09/11/2020 14:13                         Provider: Wilson, William E. MD/CD   Unit:     X02

Completed by Wilson, William E. MD/CD on 09/11/2020 14:24




Generated 09/11/2020 14:24 by Wilson, William E. MD/CD     Bureau of Prisons - THA                               Page 6 of 6
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                                                       Bureau of Prisons                                    Higgs_0032
                                                        Health Services
                                                       Clinical Encounter
Inmate Name: HIGGS, DUSTIN JOHN                                                             Reg #: 31133-037
Date of Birth: 03/10/1972                               Sex:      M    Race: BLACK          Facility: THP
Encounter Date: 09/10/2020 09:27                        Provider: May, Joseph RN            Unit:     X02


Nursing - Sick Call Note encounter performed at Housing Unit.
SUBJECTIVE:
    COMPLAINT 1                 Provider: May, Joseph RN
       Chief Complaint: Other Problem
       Subjective:   "I have a rash"
       Pain:         No

OBJECTIVE:

ASSESSMENT:
        Rash
        Submits inmate medical sick call sign-up form. Reports "spots" to trunk and back. Seen through cell door window.
        Hundreds of oval shaped macules seen to trunk and back, dark in color, borders blurry. No excoriation seen. Speaking
        and ambulating without difficulty. Respirations even and unlabored. Will be scheduler to see provider. No allergy status
        change.
PLAN:

Disposition:
    Will Be Placed on Callout

Patient Education Topics:
    Date Initiated Format                            Handout/Topic                          Provider               Outcome
    09/10/2020     Counseling                        Access to Care                         May, Joseph            Verbalizes
                                                                                                                   Understanding

Copay Required:No                              Cosign Required: No
Telephone/Verbal Order: No
Completed by May, Joseph RN on 09/10/2020 09:49




Generated 09/10/2020 09:49 by May, Joseph RN              Bureau of Prisons - THP                                Page 1 of 1
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                                                                                                 Higgs_0033
                                              Bureau of Prisons
                                               Health Services
                                   Clinical Encounter - Administrative Note
Inmate Name:       HIGGS, DUSTIN JOHN                                               Reg #:      31133-037
Date of Birth:     03/10/1972                        Sex:      M   Race:BLACK       Facility:   THP
Note Date:         05/21/2020 08:23                  Provider: Freeman, Amy X-ray   Unit:       X02


Admin Note - Consultation encounter performed at Health Services.
Administrative Notes:
      ADMINISTRATIVE NOTE 1         Provider: Freeman, Amy X-ray Tech
          PATIENT SEEN ON SITE FOR ECHO ON 05/20/2020.


Copay Required:No                           Cosign Required: No
Telephone/Verbal Order: No
Completed by Freeman, Amy X-ray Tech on 05/21/2020 08:45




Generated 05/21/2020 08:45 by Freeman, Amy X-ray      Bureau of Prisons - THP                       Page 1 of 1
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                                                    Bureau of Prisons                                    Higgs_0034

                                                     Health Services
                                                    Clinical Encounter
Inmate Name: HIGGS, DUSTIN JOHN                                                              Reg #: 31133-037
Date of Birth: 03/10/1972                            Sex:      M    Race: BLACK              Facility: THP
Encounter Date: 03/11/2020 11:15                     Provider: Frank, Casey FNP              Unit:     X02


Chronic Care - Advanced Practice Provider Follow Up encounter performed at Health Services.
SUBJECTIVE:
    COMPLAINT 1                  Provider: Frank, Casey FNP
       Chief Complaint: PULMONARY/RESPIRATORY
       Subjective: Presents for APP CCC f/u. Additional CCC's addressed annually with physician.
                    1) Pulm: Asthma--Well controlled with stable peak flows.
                    Albuterol use: Uses about 2x QD reportedly only after exercise. Denies having wheeze or
                    cough after exercise, but feels use of albuterol after exercise helps him.
                    Nighttime symptoms: None.
                    Asthma exacerbation/attacks: None.
                    Intubation/Respiratory Failure history: None.
                    Reports non-compliance with mometasone inhaler without daily use. Following discussion of
                    purpose of maintenance inhaler, inmate reports being agreeable to use as prescribed.
                    Immunizations: Pneumovax 2017. Influenza immunization refused for several years.
                    Last Cxry unremarkable in 2018.

                        PMH reviewed in health problems list.
                        FH reviewed: Non-pertinent.
                        2/4/2020 BMP reviewed and unremarkable. Additional labs and diagnostics reviewed and
                        noted in BEMR.

                        PLAN:
                        Continued on albuterol and mometasone inhalers with UTD prescriptions.
                        Counseled on compliance with inhalers.
       Pain:            No
    COMPLAINT 2                  Provider: Frank, Casey FNP
       Chief Complaint: CARDIAC
       Subjective: 2) HTN and h/o Mitral valve prolapse (MVP) and moderate mitral valve regurgitation (MVR)
                    per last echo 5/2019, showing preserved LV EF 60-65% and no wall motion abnormalities. BP
                    at goal </= 140/90.
                    Reports compliance with meds without side effects.
                    Denies c.o. without CP, palpitations, SOB, or DOE reported.
                    Cardiology consult 2019 reviewed: Inmate asymptomatic at that time. See document manager
                    for details.
                    FH: Grandmother with DM. HA1C on file stable.

                        PLAN:
                        Continues on HCTZ, Verapamil, lisinopril and baby ASA with UTD prescriptions.
                        Pending routine, annual Cardiology f/u.
                        On scheduler for future labs, f/u's including Optometry,
                        Allergy status reviewed and unchanged.
       Pain:            No
Seen for clinic(s): Hypertension, Pulmonary/Respiratory

OBJECTIVE:
Temperature:
    Date              Time            Fahrenheit   Celsius Location              Provider
    03/11/2020        11:15 THX             97.8      36.6                       Frank, Casey FNP

Generated 03/11/2020 11:47 by Frank, Casey FNP         Bureau of Prisons - THP                                  Page 1 of 4
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Inmate Name: HIGGS, DUSTIN JOHN                                                                                    Higgs_0035
                                                                                                     Reg #: 31133-037
Date of Birth: 03/10/1972                                   Sex:      M    Race: BLACK               Facility: THP
Encounter Date: 03/11/2020 11:15                            Provider: Frank, Casey FNP               Unit:     X02

    Date              Time            Fahrenheit      Celsius Location                  Provider
Pulse:
     Date          Time              Rate Per Minute          Location                  Rhythm     Provider
     03/11/2020 11:15 THX                            70                                            Frank, Casey FNP
Respirations:
     Date                 Time               Rate Per Minute Provider
     03/11/2020           11:15 THX                           18 Frank, Casey FNP
Blood Pressure:
     Date       Time              Value          Location        Position              Cuff Size   Provider
     03/11/2020 11:15 THX         115/78                                                           Frank, Casey FNP
Wright Peak Flow:
     Date       Time                 Attempt 1 Attempt 2 Attempt 3 Effort                     Bronchodilator Provider
     03/11/2020 11:15 THX                 500       525       525 Good                        Without        Frank, Casey FNP
SaO2:
     Date             Time            Value(%) Air                           Provider
     03/11/2020       11:15 THX             99 Room Air                      Frank, Casey FNP

 Exam Comments
    General: Affect Pleasant and cooperative.
    Skin: WNL. Dry and intact.
    Head: Symmetry of motor function, Atraumatic/Normocephalic.
    Eyes: Extraocular Movements Intact Pupils normal appearing, PERRLA, normal consensual reaction, normal near
    reaction.
    Fundus Exam: Grossly Normal Retina; undilated.
    Ears: Tympanic Membranes: WNL pearly, normal landmarks, negative bulging. Otic canal without erythema, debris, or
    STS.
    Nose: Patent nares.
    Pharynx: Negative erythema, exudate, posterior lymph hyperplasia, or swelling. Patent airway.
    Neck: WNL, supple, symmetric, trachea midline. Thyroid: WNL without nodule or tenderness. Musculoskeletal WNL, full
    ROM without tenderness, swelling, or muscle spasms.
    Pulmonary: Thorax: Inspection WNL with normal thoracic expansion, normal diaphragmatic excursion, Clear to
    auscultation without crackles, rhonchi, wheezing, or pleural rub.
    Cardiovascular: Observation WNL. Normal Rate, Regular Rhythm without tachycardia, bradycardia, irregular rhythm, or
    cardiopulmonary distress. Auscultation: Regular Rate and Rhythm (RRR), Normal S1 and S2 with mid to late systolic
    murmur located at apex (chronic finding), without R/G, S3, S4. Vascular: WNL. Negative carotid bruit or abdominal bruit.
    Peripheral Vascular: General WNL. Legs: Popliteal Pulse (PT) and Dorsalis Pedis (DP) 2+. WNL. Negative edema.
    Abdomen: Inspection: WNL. Auscultation: Normal active bowel sounds. Negative arterial bruits. Percussion: Negative
    tympany, organomegaly, or dullness. Palpation: WNL. Soft, non-tender without guarding, rigidity, overt mass or
    organomegaly, or evidence of acute abdomen.
    Musculoskeletal: WNL. Full normal generalized active/passive ROM. Non-tender C, T, or L-spine. Normal Bony
    Landmarks, Symmetric. Negative paracervical/thoracic/lumbar musculature tenderness. Negative SLR 60 degrees.
        IP Q TA EHL G
    R 5 5 5 5 5
    L 5 5 5 5 5
    Ankle/Foot/Toes ROM and Tests: Positive plantar flexion, extension, dorsiflexion, inversion, and eversion.
    Neurovascular Intact. Ambulating without difficulty.
    Neurologic: Cranial Nerves (CN) intact grossly.
    Psych: Negative flat affect. Conversing without difficulty.
    Lymphatic's: Negative generalized or localized lymphadenopathy.

Generated 03/11/2020 11:47 by Frank, Casey FNP               Bureau of Prisons - THP                                    Page 2 of 4
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Inmate Name: HIGGS, DUSTIN JOHN                                                                             Higgs_0036
                                                                                              Reg #: 31133-037
Date of Birth: 03/10/1972                                Sex:      M    Race: BLACK           Facility: THP
Encounter Date: 03/11/2020 11:15                         Provider: Frank, Casey FNP           Unit:     X02

 ROS Comments
    General: Negative fever, chills, night sweats, weight loss, appetite change, or fatigue.
    Integumentary: Negative rash, wound, or skin breakdown.
    HEENT: Denies visual changes, watery eyes, runny nose, allergies, sinus pressure, or neck pain.
    Cardiovascular: Negative CP, SOB, DOE, Angina, Cough, Edema, Intermittent Claudication, Orthopnea, PND, Syncope,
    or palpitations.
    Pulmonary: Negative Cough, SOB, DOE, Dyspnea, or hemoptysis. Stable asthma reported.
    GI: Negative abdominal pain, colic, bloating, N/V/D, constipation, bowel dysfunction, incontinence of stool, rectal
    bleeding/pain, heartburn, or bowel habits changes.
    GU: Negative Nocturia, Hematuria, Hesitancy, bladder dysfunction, Incontinence, Urgency, Urinary Frequency, Urinary
    Retention, or Dysuria.
    Musculoskeletal: Negative back pain, muscle aches, extremity discomfort, or saddle anesthesia.
    Neurological: CN 2-12 grossly intact. Negative dizziness, H/A, or weakness.
    Endocrine: Negative polydipsia, polyphagia, or polyuria.
    Psychiatric: Negative Mood Impaired, SI/HI, or anhedonia.
    Lymphatics: Negative generalized lymphadenopathy.
ASSESSMENT:

Asthma, unspecified, 493.90 - Current
Cardiac murmurs, 785.2 - Current
Hypertension, Unspecified essential, 401.9 - Current

PLAN:

New Consultation Requests:
  Consultation/Procedure                         Target Date Scheduled Target Date Priority          Translator    Language
  Radiology                                      06/09/2020 06/09/2020             Routine           No
         Subtype:
            Ultrasound, Onsite
         Reason for Request:
               2D echocardiogram onsite completed prior to pending Cardiology annual follow up.
         Provisional Diagnosis:
               Pending Cardiology annual f/u for h/o MVR/MVP with last echo 5/2019.

Disposition:
    Follow-up at Sick Call as Needed
    Follow-up at Chronic Care Clinic as Needed

Patient Education Topics:
    Date Initiated Format                             Handout/Topic                           Provider               Outcome
    03/11/2020     Counseling                         Plan of Care                            Frank, Casey           Verbalizes
                                                                                                                     Understanding
         Discussed chronic conditions and plan of care. Pending Cardiology f/u and URC for repeat echo. Reviewed
         warning s/sx's to notify of. Recommend compliance with meds including regular use of maintenance inhaler,
         mometasone. Rinse mouth after each inhaler use to prevent thrush.
         Meds refills up to date. Diet/exercise modifications including to reduce overall health risks and maintain healthy
         BMI/Weight.

Copay Required:No                           Cosign Required: Yes
Telephone/Verbal Order: No
Completed by Frank, Casey FNP on 03/11/2020 11:47
Generated 03/11/2020 11:47 by Frank, Casey FNP             Bureau of Prisons - THP                                Page 3 of 4
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Inmate Name: HIGGS, DUSTIN JOHN                                                              Higgs_0037
                                                                               Reg #: 31133-037
Date of Birth: 03/10/1972                         Sex:      M    Race: BLACK   Facility: THP
Encounter Date: 03/11/2020 11:15                  Provider: Frank, Casey FNP   Unit:     X02

Requested to be cosigned by Wilson, William E. MD/CD.
Cosign documentation will be displayed on the following page.




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                                          Bureau of Prisons                                Higgs_0038

                                           Health Services
                                           Cosign/Review
Inmate Name:    HIGGS, DUSTIN JOHN                                            Reg #:      31133-037
Date of Birth:  03/10/1972                   Sex:          M                  Race:       BLACK
Encounter Date: 03/11/2020 11:15             Provider:     Frank, Casey FNP   Facility:   THP

Cosigned by Wilson, William E. MD/CD on 03/11/2020 12:45.




                                             Bureau of Prisons - THA
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                                                  Bureau of Prisons                                   Higgs_0039

                                                   Health Services
                                                  Clinical Encounter
Inmate Name:    HIGGS, DUSTIN JOHN                                                        Reg #:       31133-037
Date of Birth:  03/10/1972                           Sex:           M       Race: BLACK   Facility:    THP
Encounter Date: 01/02/2020 13:19                     Provider:      Julian, K. FNP-BC     Unit:        X02

Mid Level Provider - Sick Call Note encounter at Health Services.
Reason Not Done: Refused
Comments: PAIN IN LEFT EYE.

PT REFUSED SICK CALL. NORMAL OPERATIONS.
Cosign Required: No
Completed by Julian, K. FNP-BC on 01/02/2020 13:19.




Generated 01/02/2020 13:19 by Julian, K. FNP-BC     Bureau of Prisons - THA                               Page 1 of 1
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                                                     Bureau of Prisons                               Higgs_0040
                                                      Health Services
                                                         Vitals All
Begin Date: 01/01/2020                                  End Date:    12/30/2020
Reg #:      31133-037                                   Inmate Name: HIGGS, DUSTIN JOHN

Temperature:
     Date             Time           Fahrenheit      Celsius Location            Provider
     12/30/2020       09:40 THX              97.5       36.4                     Frank, Casey FNP
             Orig Entered: 12/30/2020 10:51 EST Frank, Casey FNP
     12/30/2020     08:00 THX           97.3    36.3 Forehead                    Beal, Carly RN
         reporting SOB at times, see admin note
             Orig Entered: 12/30/2020 17:03 EST Beal, Carly RN
     12/30/2020     08:00 THX           97.3    36.3                             Beal, Carly RN
             Orig Entered: 12/30/2020 17:08 EST Beal, Carly RN
     12/29/2020    13:46 THX          97.5     36.4               McGuire, Cody NREMT-P
             Orig Entered: 12/29/2020 13:47 EST McGuire, Cody NREMT-P
     12/28/2020    13:05 THX          97.4     36.3               McGuire, Cody NREMT-P
             Orig Entered: 12/28/2020 13:06 EST McGuire, Cody NREMT-P
     12/27/2020    07:51 THX          97.3     36.3               Frank, Casey FNP
             Orig Entered: 12/27/2020 08:46 EST Frank, Casey FNP
     12/26/2020    13:59 THX          97.7     36.5                              Miller, Kasha RN
             Orig Entered: 12/26/2020 14:00 EST Miller, Kasha RN
     12/25/2020    07:00 THX          96.2     35.7                              Beal, Carly RN
             Orig Entered: 12/25/2020 15:23 EST Beal, Carly RN
     12/24/2020    14:28 THX          96.9     36.1                              Beal, Carly RN
             Orig Entered: 12/24/2020 14:30 EST Beal, Carly RN
     12/24/2020    00:38 THX          98.4     36.9 Forehead                     Lubbehusen, K. RN
             Orig Entered: 12/24/2020 00:39 EST Lubbehusen, K. RN
     12/22/2020    13:38 THX          96.7     35.9               McGuire, Cody NREMT-P
             Orig Entered: 12/22/2020 13:39 EST McGuire, Cody NREMT-P
     12/21/2020    13:11 THX          96.4     35.8               McGuire, Cody NREMT-P
             Orig Entered: 12/21/2020 13:12 EST McGuire, Cody NREMT-P
     12/20/2020    12:30 THX          97.5     36.4               McGuire, Cody NREMT-P
             Orig Entered: 12/20/2020 13:07 EST McGuire, Cody NREMT-P
     12/20/2020    08:36 THX          96.8     36.0               Beal, Carly RN
             Orig Entered: 12/20/2020 08:52 EST Beal, Carly RN
     12/19/2020    14:32 THX          97.1     36.2                              Beal, Carly RN
             Orig Entered: 12/19/2020 14:33 EST Beal, Carly RN
     12/19/2020    08:00 THX          96.6     35.9                              Beal, Carly RN
             Orig Entered: 12/19/2020 14:33 EST Beal, Carly RN
     12/18/2020    14:25 THX          96.7     35.9                              Beal, Carly RN
             Orig Entered: 12/18/2020 14:26 EST Beal, Carly RN
     12/18/2020    08:00 THX          96.8     36.0                              Beal, Carly RN
             Orig Entered: 12/18/2020 14:26 EST Beal, Carly RN
     12/17/2020    13:15 THX          97.1     36.2                              Durr, R. NRP
               Orig Entered: 12/17/2020 13:16 EST Durr, R. NRP

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Begin Date: 01/01/2020                                     End Date:    12/30/2020                             Higgs_0041
Reg #:      31133-037                                      Inmate Name: HIGGS, DUSTIN JOHN

     Date             Time           Fahrenheit      Celsius Location               Provider
     11/05/2020       09:25 THX              97.5          36.4                     Bixler, Tracy RN
             Orig Entered: 11/05/2020 12:45 EST Bixler, Tracy RN
     09/11/2020    14:14 THX          98.2     36.8                   Wilson, William E. MD/CD
             Orig Entered: 09/11/2020 14:16 EST Wilson, William E. MD/CD
     03/11/2020    11:15 THX          97.8     36.6                   Frank, Casey FNP
               Orig Entered: 03/11/2020 11:38 EST Frank, Casey FNP

Pulse:
     Date         Time              Rate Per Minute           Location              Rhythm      Provider
     12/30/2020 09:40 THX                            66                                         Frank, Casey FNP
             Orig Entered: 12/30/2020 10:51 EST Frank, Casey FNP
     12/27/2020 07:51 THX                   78                                                  Frank, Casey FNP
             Orig Entered: 12/27/2020 08:46 EST Frank, Casey FNP
     12/25/2020 12:00 THX                   70                                                  Beal, Carly RN
             Orig Entered: 12/25/2020 15:24 EST Beal, Carly RN
     12/20/2020 08:36 THX                   80                                                  Beal, Carly RN
             Orig Entered: 12/20/2020 08:52 EST Beal, Carly RN
     12/19/2020 14:32 THX                   80                                                  Beal, Carly RN
             Orig Entered: 12/19/2020 14:33 EST Beal, Carly RN
     12/19/2020 08:00 THX                   80                                                  Beal, Carly RN
             Orig Entered: 12/19/2020 14:33 EST Beal, Carly RN
     12/18/2020 14:25 THX                   76                                                  Beal, Carly RN
             Orig Entered: 12/18/2020 14:26 EST Beal, Carly RN
     12/18/2020 08:00 THX                   63                                                  Beal, Carly RN
             Orig Entered: 12/18/2020 14:26 EST Beal, Carly RN
     12/17/2020 13:15 THX                   87                                                  Durr, R. NRP
             Orig Entered: 12/17/2020 13:16 EST Durr, R. NRP
     11/05/2020 09:25 THX                   81                                                  Bixler, Tracy RN
             Orig Entered: 11/05/2020 12:45 EST Bixler, Tracy RN
     09/11/2020 14:14 THX                   65                                                  Wilson, William E. MD/CD
             Orig Entered: 09/11/2020 14:16 EST Wilson, William E. MD/CD
     03/11/2020 11:15 THX                   70                                                  Frank, Casey FNP
               Orig Entered: 03/11/2020 11:38 EST Frank, Casey FNP

Respirations:
     Date                 Time              Rate Per Minute Provider
     12/30/2020           09:40 THX                           18 Frank, Casey FNP

             Orig Entered: 12/30/2020 10:51 EST Frank, Casey FNP
     12/27/2020       07:51 THX                 18 Frank, Casey FNP

             Orig Entered: 12/27/2020 08:46 EST Frank, Casey FNP
     12/21/2020       13:11 THX                 18 McGuire, Cody NREMT-P

             Orig Entered: 12/21/2020 13:12 EST McGuire, Cody NREMT-P
     09/11/2020       14:14 THX                 14 Wilson, William E. MD/CD

               Orig Entered: 09/11/2020 14:16 EST Wilson, William E. MD/CD
Generated 12/30/2020 17:15 by Smiledge, Shauna HSA        Bureau of Prisons - THP                                  Page 2 of 4
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Begin Date: 01/01/2020                                   End Date:    12/30/2020                            Higgs_0042
Reg #:      31133-037                                    Inmate Name: HIGGS, DUSTIN JOHN

     Date                 Time              Rate Per Minute Provider
     03/11/2020           11:15 THX                       18 Frank, Casey FNP

               Orig Entered: 03/11/2020 11:38 EST Frank, Casey FNP

Blood Pressure:
     Date          Time          Value        Location         Position         Cuff Size    Provider
     12/30/2020 09:40 THX        119/67                                                      Frank, Casey FNP
             Orig Entered: 12/30/2020 10:51 EST Frank, Casey FNP
     12/27/2020 07:51 THX 140/80                                                             Frank, Casey FNP
             Orig Entered: 12/27/2020 08:46 EST Frank, Casey FNP
     11/05/2020 09:25 THX 108/75                                                             Bixler, Tracy RN
             Orig Entered: 11/05/2020 12:45 EST Bixler, Tracy RN
     09/11/2020 14:14 THX 126/76                                                             Wilson, William E. MD/CD
             Orig Entered: 09/11/2020 14:16 EST Wilson, William E. MD/CD
     03/11/2020 11:15 THX 115/78                                                             Frank, Casey FNP
               Orig Entered: 03/11/2020 11:38 EST Frank, Casey FNP

Wright Peak Flow:
     Date          Time              Attempt 1 Attempt 2 Attempt 3 Effort             Bronchodilator Provider
     09/11/2020 14:14 THX                   570          550         530 Fair         Without           Wilson, William E.
             Orig Entered: 09/11/2020 14:16 EST Wilson, William E. MD/CD
     03/11/2020 11:15 THX            500       525        525 Good       Without                        Frank, Casey FNP
               Orig Entered: 03/11/2020 11:38 EST Frank, Casey FNP

SaO2:
     Date             Time            Value(%) Air                        Provider
     12/30/2020       09:40 THX             98 Room Air                   Frank, Casey FNP
             Orig Entered: 12/30/2020 10:51 EST Frank, Casey FNP
     12/29/2020    13:46 THX          99 Room Air            McGuire, Cody NREMT-P
             Orig Entered: 12/29/2020 13:47 EST McGuire, Cody NREMT-P
     12/27/2020    07:51 THX         100 Room Air           Frank, Casey FNP
             Orig Entered: 12/27/2020 08:46 EST Frank, Casey FNP
     12/26/2020    13:59 THX          99                     Miller, Kasha RN
             Orig Entered: 12/26/2020 14:00 EST Miller, Kasha RN
     12/25/2020    12:00 THX         100                      Beal, Carly RN
             Orig Entered: 12/25/2020 15:24 EST Beal, Carly RN
     12/20/2020    08:36 THX          98                     Beal, Carly RN
             Orig Entered: 12/20/2020 08:52 EST Beal, Carly RN
     12/19/2020    14:32 THX          98                     Beal, Carly RN
             Orig Entered: 12/19/2020 14:33 EST Beal, Carly RN
     12/19/2020    08:00 THX          97                     Beal, Carly RN
             Orig Entered: 12/19/2020 14:33 EST Beal, Carly RN
     12/18/2020    14:25 THX         100                     Beal, Carly RN
             Orig Entered: 12/18/2020 14:26 EST Beal, Carly RN
     12/18/2020    08:00 THX         100                     Beal, Carly RN

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Begin Date: 01/01/2020                                      End Date:    12/30/2020                      Higgs_0043
Reg #:      31133-037                                       Inmate Name: HIGGS, DUSTIN JOHN

     Date             Time            Value(%) Air                         Provider
             Orig Entered: 12/18/2020 14:26 EST Beal, Carly RN
     12/17/2020    13:15 THX          99                     Durr, R. NRP
             Orig Entered: 12/17/2020 13:16 EST Durr, R. NRP
     11/05/2020    09:25 THX         100                     Bixler, Tracy RN
             Orig Entered: 11/05/2020 12:45 EST Bixler, Tracy RN
     03/11/2020    11:15 THX          99 Room Air             Frank, Casey FNP
               Orig Entered: 03/11/2020 11:38 EST Frank, Casey FNP

Weight:
     Date            Time                 Lbs         Kg Waist Circum. Provider
     09/11/2020      14:14 THX          165.0        74.8                     Wilson, William E. MD/CD

               Orig Entered: 09/11/2020 14:16 EST Wilson, William E. MD/CD




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                                           Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 52 of 164
                                                                       Bureau of Prisons                                                            Higgs_0044

                                                                        Health Services
                                                                             PPDs
Reg #: 31133-037                                     Inmate Name: HIGGS, DUSTIN JOHN

Admin:                 Location                  Provider                            Reading:               Induration      Provider
04/15/2020 18:08 Left Forearm                    Miller, Kasha RN                    04/18/2020 12:04       0 mm            Miller, Kasha RN
     ASYMPTOMATIC                                                                    asymptomatic
       Orig Entered: 04/15/2020 18:09 EST Miller, Kasha RN                             Orig Entered: 04/18/2020 12:04 EST Miller, Kasha RN
03/31/2019 12:36 Left Forearm                    Keller, Kelly RN/BSN, Health        04/02/2019 19:33       0 mm            Keller, Kelly RN/BSN, Health
     denies s/s of active TB
       Orig Entered: 03/31/2019 12:37 EST Keller, Kelly RN/BSN, Health                  Orig Entered:04/02/2019 19:33 EST Keller, Kelly RN/BSN, Health Information
                                          Information Technician                                                          Technician
03/26/2018 11:25 Left Forearm                    Norris, Karl MSN, FNP-C             03/28/2018 11:36       0 mm            Norris, Karl MSN, FNP-C
                                                                                     Denies S&S of TB
        Orig Entered:    03/26/2018 11:26 EST Norris, Karl MSN, FNP-C                  Orig Entered: 03/28/2018 11:36 EST Norris, Karl MSN, FNP-C
04/10/2017 13:02        Left Forearm                Clingerman, Nicole LPN           04/12/2017 10:50       0 mm            Norris, Karl MSN, FNP-C
     asymptomatic                                                                    asymptomatic
        Orig Entered:    04/10/2017 13:04 EST Clingerman, Nicole LPN                   Orig Entered: 04/12/2017 10:50 EST Norris, Karl MSN, FNP-C
04/26/2016 11:56        Left Forearm                Heiser, Tracy RN                 04/28/2016 11:58       0 mm            Heiser, Tracy RN
        Orig Entered:    05/03/2016 11:57 EST Heiser, Tracy RN                          Orig Entered:    05/03/2016 11:58 EST Heiser, Tracy RN
04/24/2015 07:17        Left Forearm               Keller, Kelly RN/BSN, Health      04/26/2015 19:58           0 mm               Brazzell, Susan HSA
                                                                                     No cold or flu like symptoms noted at this time.
        Orig Entered:    04/24/2015 07:19 EST Keller, Kelly RN/BSN, Health             Orig Entered: 04/26/2015 19:58 EST Brazzell, Susan HSA
                                              Information Technician
06/04/2014 09:23        Left Forearm                Booth, Sara RN/AHSA              06/06/2014 09:36           0 mm             Booth, Sara RN/AHSA
                                                                                     No s/s of TB
        Orig Entered:    06/04/2014 09:24 EST Booth, Sara RN/AHSA                      Orig Entered: 06/06/2014 09:37 EST      Booth, Sara RN/AHSA
06/04/2013 14:21        Left Forearm               Heiser, Tracy RN                  06/06/2013 14:33           0 mm             Heiser, Tracy RN
                                                                                     no s/s of TB
        Orig Entered:    06/04/2013 14:22 EST Heiser, Tracy RN                         Orig Entered: 06/06/2013 14:33 EST      Heiser, Tracy RN
06/27/2012 10:27        Left Forearm               Warner, Krista HIT                06/29/2012 12:39           0 mm             Heiser, Tracy RN
                                                                                     no s/s of TB
        Orig Entered:    06/27/2012 10:28 EST Warner, Krista HIT                       Orig Entered: 06/29/2012 12:39 EST      Heiser, Tracy RN
07/13/2011 13:09        Left Forearm              Clingerman, Nicole LPN             07/15/2011 09:24           0 mm             Dobbins, Danna LPN
                                                                                     denies c/o s/s at this time.
        Orig Entered:    07/13/2011 13:10 EST Clingerman, Nicole LPN                   Orig Entered: 07/15/2011 09:24 EST      Dobbins, Danna LPN
Generated 12/30/2020 17:15 by Smiledge, Shauna HSA                       Bureau of Prisons - THP                                                            Page 1 of 2
                                           Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 53 of 164
                                                                         Bureau of Prisons                                                        Higgs_0045

                                                                          Health Services
                                                                               PPDs
Reg #: 31133-037                                     Inmate Name: HIGGS, DUSTIN JOHN

Admin:                  Location                     Provider                           Reading:               Induration      Provider
07/12/2010 08:04        Left Forearm                 Haddix, Trisha RN                  07/14/2010 08:38       0 mm            Haddix, Trisha RN
                                                                                        Asymptomatic
        Orig Entered:    07/12/2010 08:06 EST Haddix, Trisha RN                           Orig Entered: 07/14/2010 08:38 EST Haddix, Trisha RN
06/15/2009 10:00        Left Forearm               Scully, Karen RN, IDC                06/17/2009 10:20       0 mm            Scully, Karen RN, IDC
     LATE ENTRY
        Orig Entered:    06/16/2009 06:14 EST Scully, Karen RN, IDC                        Orig Entered:
                                                                                                       06/17/2009 10:20 EST Scully, Karen RN, IDC
06/03/2008 10:04        Left Forearm                Scully, Karen RN, IDC               06/05/2008 10:06      0 mm            Scully, Karen RN, IDC
        Orig Entered:    06/06/2008 10:05 EST Scully, Karen RN, IDC                        Orig Entered:   06/06/2008 10:06 EST Scully, Karen RN, IDC
Total: 13




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                                                 Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 54 of 164
                                                                                                                                                                           Higgs_0046
                                                                                                                                                                 OCTOBER 2020
31133-037       HIGGS, DUSTIN                                        Medication Administration Record
                 Medication Orders                            Time   1   2   3   4   5   6   7   8   9 10 11 12 13 14 15 16 17 18 19 20 21 22 23 24 25 26 27 28 29 30 31
Ord. Date                                 Frank, Casey FNP                                                                                                                                  1.5
10/28/20                                                     0600                                                                                                                          CJM
                                                                                                                                                                                           08:08
12:27       Take one and one-half (1 and 1/2) tablets (150
Exp. Date   MG) by mouth once weekly
11/27/20
12:26



THX
521914-
THX         Fluconazole 100 MG Tab




Providers: CJM = McGuire, C.

Documentation Codes: ORD = Order




Registration #: 31133-037               Pt. Name: HIGGS, DUSTIN                                                              DOB: 03/10/72
                                                                                                 Report information is current as of the date and time of printing: 12/30/2020 17:15 EST
                                                 Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 55 of 164
                                                                                                                                                                               Higgs_0047
                                                                                                                                                                     NOVEMBER 2020
31133-037       HIGGS, DUSTIN                                        Medication Administration Record
                 Medication Orders                            Time   1   2   3   4    5      6   7   8   9 10 11 12 13 14 15 16 17 18 19 20 21 22 23 24 25 26 27 28 29 30 31
Ord. Date                                 Frank, Casey FNP                            1.5                             1.5                             1.5                            1.5
10/28/20                                                     0600                    KKM                             KKM                             JWL                            KKM
                                                                                     08:35                           08:11                           08:04                          07:42
12:27       Take one and one-half (1 and 1/2) tablets (150
Exp. Date   MG) by mouth once weekly
11/27/20
12:26



THX
521914-
THX         Fluconazole 100 MG Tab




Providers: JWL = Lear, J. | KKM = Miller, K.

Documentation Codes: ORD = Order




Registration #: 31133-037               Pt. Name: HIGGS, DUSTIN                                                                  DOB: 03/10/72
                                                                                                     Report information is current as of the date and time of printing: 12/30/2020 17:15 EST
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                                                                                                                                                                           Higgs_0048
                                                                                                                                                                 DECEMBER 2020
31133-037       HIGGS, DUSTIN                                        Medication Administration Record
                 Medication Orders                            Time   1   2   3   4   5   6   7   8   9 10 11 12 13 14 15 16 17 18 19 20 21 22 23 24 25 26 27 28 29 30 31
Ord. Date                                 Frank, Casey FNP                                               1.5                             1.5                            1.5
12/10/20                                                     0600                                       CLB                             CLB                            CLB
                                                                                                        08:53                           09:55                          07:44
00:01       Take one and one-half (1 and 1/2) tablets (150
Exp. Date   MG) by mouth once weekly
01/09/21
00:00



THX
525007-
THX         Fluconazole 100 MG Tab




Providers: CLB = Beal, C.

Documentation Codes: ORD = Order




Registration #: 31133-037               Pt. Name: HIGGS, DUSTIN                                                              DOB: 03/10/72
                                                                                                 Report information is current as of the date and time of printing: 12/30/2020 17:15 EST
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                                               Federal Bureau of Prisons                                  Higgs_0049

                                                    SCREENINGS
Inmate Name: HIGGS, DUSTIN JOHN                                                               Reg #: 31133-037
Date of Birth: 03/10/1972                           Sex: M         Race: BLACK                Facility: THP
Encounter Date: 12/30/2020 08:00                    Provider: Beal, Carly RN                  Unit:     X01


Screenings:
    COVID-19
       Isolation
           Yes: Shortness of Breath (Describe: "hard to catch my breath sometimes"

               see admin note)
   Comments
       reporting SOB at times, see admin note
Temperature:
    Date              Time            Fahrenheit   Celsius Location              Provider
    12/30/2020        08:00 THX             97.3      36.3                       Beal, Carly RN



Cosign Required:No
Completed by Beal, Carly RN on 12/30/2020 17:08.




Generated 12/30/2020 17:08 by Beal, Carly RN           Bureau of Prisons - THP                                   Page 1 of 1
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                                               Federal Bureau of Prisons                                    Higgs_0050

                                                    SCREENINGS
Inmate Name: HIGGS, DUSTIN JOHN                                                                Reg #: 31133-037
Date of Birth: 03/10/1972                              Sex: M        Race: BLACK               Facility: THP
Encounter Date: 12/29/2020 13:46                       Provider: McGuire, Cody NREMT-P         Unit:     X01


Screenings:
    COVID-19
       Isolation
           Yes: Vital Signs w/O2 sat recorded in flowsheet, Cough (Duration/Describe: persistent)
           No: Shortness of Breath, Fatigue, Body aches, Sore throat, Diarrhea, Headache, Loss of taste or smell,
           Nausea or vomiting
Temperature:
    Date             Time           Fahrenheit        Celsius Location              Provider
    12/29/2020       13:46 THX            97.5           36.4                       McGuire, Cody NREMT-P


SaO2:
    Date             Time            Value(%) Air                         Provider
    12/29/2020       13:46 THX             99 Room Air                    McGuire, Cody NREMT-P

Cosign Required:No
Completed by McGuire, Cody NREMT-P on 12/29/2020 13:47.




Generated 12/29/2020 13:47 by McGuire, Cody NREMT-P       Bureau of Prisons - THP                                 Page 1 of 1
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                                               Federal Bureau of Prisons                                    Higgs_0051

                                                    SCREENINGS
Inmate Name: HIGGS, DUSTIN JOHN                                                                Reg #: 31133-037
Date of Birth: 03/10/1972                              Sex: M        Race: BLACK               Facility: THP
Encounter Date: 12/28/2020 13:05                       Provider: McGuire, Cody NREMT-P         Unit:     X01


Screenings:
    COVID-19
       Isolation
           Yes: Sore throat
           No: Cough, Shortness of Breath, Fatigue, Body aches, Diarrhea, Headache, Loss of taste or smell,
           Nausea or vomiting
Temperature:
    Date             Time           Fahrenheit        Celsius Location              Provider
    12/28/2020       13:05 THX            97.4           36.3                       McGuire, Cody NREMT-P



Cosign Required:No
Completed by McGuire, Cody NREMT-P on 12/28/2020 13:06.




Generated 12/28/2020 13:06 by McGuire, Cody NREMT-P       Bureau of Prisons - THP                                 Page 1 of 1
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                                                 Federal Bureau of Prisons                                 Higgs_0052

                                                      SCREENINGS
Inmate Name: HIGGS, DUSTIN JOHN                                                                Reg #: 31133-037
Date of Birth: 03/10/1972                             Sex: M          Race: BLACK              Facility: THP
Encounter Date: 12/26/2020 13:59                      Provider: Miller, Kasha RN               Unit:     X01


Screenings:
    COVID-19
       Isolation
               No: Cough, Shortness of Breath, Fatigue, Body aches, Sore throat, Diarrhea, Headache, Loss of taste or
               smell, Nausea or vomiting
Temperature:
    Date              Time             Fahrenheit   Celsius Location              Provider
    12/26/2020        13:59 THX              97.7      36.5                       Miller, Kasha RN


SaO2:
    Date              Time             Value(%) Air                     Provider
    12/26/2020        13:59 THX              99                         Miller, Kasha RN

Cosign Required:No
Completed by Miller, Kasha RN on 12/26/2020 14:00.




Generated 12/26/2020 14:00 by Miller, Kasha RN          Bureau of Prisons - THP                                   Page 1 of 1
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                                               Federal Bureau of Prisons                                     Higgs_0053

                                                    SCREENINGS
Inmate Name: HIGGS, DUSTIN JOHN                                                              Reg #: 31133-037
Date of Birth: 03/10/1972                              Sex: M         Race: BLACK            Facility: THP
Encounter Date: 12/25/2020 12:00                       Provider: Beal, Carly RN              Unit:     X01


Screenings:
    COVID-19
       Isolation
            No: Cough, Shortness of Breath, Fatigue, Body aches
    Comments
       slight headache- improved: patient states "my head is feeling better, my breathing feels a little funny though, but
       I have asthma and I think it is that; can you check my oxygen." Levels to make sure"

         O2 sat at this time 100% on RA
Pulse:
    Date           Time              Rate Per Minute      Location                 Rhythm   Provider
    12/25/2020 12:00 THX                          70                                        Beal, Carly RN


SaO2:
    Date              Time             Value(%) Air                      Provider
    12/25/2020        12:00 THX             100                          Beal, Carly RN

Cosign Required:No
Completed by Beal, Carly RN on 12/25/2020 15:24.




Generated 12/25/2020 15:24 by Beal, Carly RN             Bureau of Prisons - THP                                  Page 1 of 1
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                                               Federal Bureau of Prisons                                  Higgs_0054

                                                    SCREENINGS
Inmate Name: HIGGS, DUSTIN JOHN                                                               Reg #: 31133-037
Date of Birth: 03/10/1972                           Sex: M         Race: BLACK                Facility: THP
Encounter Date: 12/25/2020 07:00                    Provider: Beal, Carly RN                  Unit:     X01


Screenings:
   COVID-19
       Isolation
           Yes: Headache
           No: Cough, Shortness of Breath, Fatigue, Body aches
   Comments
       nasal congestion
Temperature:
    Date              Time            Fahrenheit   Celsius Location              Provider
    12/25/2020        07:00 THX             96.2      35.7                       Beal, Carly RN



Cosign Required:No
Completed by Beal, Carly RN on 12/25/2020 15:23.




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                                               Federal Bureau of Prisons                                  Higgs_0055

                                                    SCREENINGS
Inmate Name: HIGGS, DUSTIN JOHN                                                               Reg #: 31133-037
Date of Birth: 03/10/1972                           Sex: M         Race: BLACK                Facility: THP
Encounter Date: 12/24/2020 08:00                    Provider: Beal, Carly RN                  Unit:     X01


Screenings:
    COVID-19
       Isolation
           No: Cough, Shortness of Breath, Fatigue, Body aches
   Comments
       SCRATCHY THROAT
Temperature:
    Date              Time            Fahrenheit   Celsius Location              Provider
    12/24/2020        14:28 THX             96.9      36.1                       Beal, Carly RN



Cosign Required:No
Completed by Beal, Carly RN on 12/24/2020 14:30.




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                                                  Federal Bureau of Prisons                               Higgs_0056

                                                       SCREENINGS
Inmate Name: HIGGS, DUSTIN JOHN                                                               Reg #: 31133-037
Date of Birth: 03/10/1972                             Sex: M        Race: BLACK               Facility: THP
Encounter Date: 12/23/2020 08:00                      Provider: Lubbehusen, K. RN             Unit:     X01


Screenings:
    COVID-19
       Isolation
              No: Cough, Shortness of Breath, Fatigue, Body aches, Sore throat, Diarrhea, Headache, Loss of taste or
              smell, Nausea or vomiting
Temperature:
    Date             Time            Fahrenheit     Celsius Location              Provider
    12/24/2020       00:38 THX             98.4        36.9 Forehead              Lubbehusen, K. RN



Cosign Required:No
Completed by Lubbehusen, K. RN on 12/24/2020 00:39.




Generated 12/24/2020 00:39 by Lubbehusen, K. RN         Bureau of Prisons - THP                                  Page 1 of 1
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                                               Federal Bureau of Prisons                                    Higgs_0057

                                                    SCREENINGS
Inmate Name: HIGGS, DUSTIN JOHN                                                                Reg #: 31133-037
Date of Birth: 03/10/1972                              Sex: M        Race: BLACK               Facility: THP
Encounter Date: 12/22/2020 13:37                       Provider: McGuire, Cody NREMT-P         Unit:     X01


Screenings:
    COVID-19
       Isolation
              No: Vital Signs w/O2 sat recorded in flowsheet, Cough, Shortness of Breath, Fatigue, Body aches, Sore
              throat, Diarrhea, Headache, Loss of taste or smell, Nausea or vomiting
Temperature:
    Date             Time           Fahrenheit        Celsius Location              Provider
    12/22/2020       13:38 THX            96.7           35.9                       McGuire, Cody NREMT-P



Cosign Required:No
Completed by McGuire, Cody NREMT-P on 12/22/2020 13:39.




Generated 12/22/2020 13:39 by McGuire, Cody NREMT-P       Bureau of Prisons - THP                                 Page 1 of 1
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                                               Federal Bureau of Prisons                                    Higgs_0058

                                                    SCREENINGS
Inmate Name: HIGGS, DUSTIN JOHN                                                                Reg #: 31133-037
Date of Birth: 03/10/1972                              Sex: M        Race: BLACK               Facility: THP
Encounter Date: 12/21/2020 13:11                       Provider: McGuire, Cody NREMT-P         Unit:     X01


Screenings:
    COVID-19
       Isolation
           Yes: Shortness of Breath (Describe: new as of AM today), Headache
           No: Vital Signs w/O2 sat recorded in flowsheet, Cough, Fatigue, Body aches, Sore throat, Diarrhea, Loss
           of taste or smell, Nausea or vomiting
Temperature:
    Date             Time           Fahrenheit        Celsius Location              Provider
    12/21/2020       13:11 THX            96.4           35.8                       McGuire, Cody NREMT-P

Respirations:
    Date                 Time              Rate Per Minute Provider
    12/21/2020           13:11 THX                         18 McGuire, Cody NREMT-P



Cosign Required:No
Completed by McGuire, Cody NREMT-P on 12/21/2020 13:12.




Generated 12/21/2020 13:12 by McGuire, Cody NREMT-P       Bureau of Prisons - THP                                 Page 1 of 1
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                                             Federal Bureau of Prisons                               Higgs_0059

                                                  SCREENINGS
Inmate Name: HIGGS, DUSTIN JOHN                                                       Reg #: 31133-037
Date of Birth: 03/10/1972                        Sex: M          Race: BLACK          Facility: THP
Encounter Date: 12/21/2020 10:29                 Provider: Durr, R. NRP               Unit:     X01


Screenings:
    COVID-19
       Isolation
          No: Cough, Shortness of Breath, Fatigue, Body aches, Sore throat, Diarrhea, Headache, Loss of taste or
          smell, Nausea or vomiting
    Comments
       Headache, nasal congestion.



Cosign Required:No
Completed by Durr, R. NRP on 12/22/2020 10:30.




Generated 12/22/2020 10:30 by Durr, R. NRP         Bureau of Prisons - THP                                Page 1 of 1
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                                               Federal Bureau of Prisons                                    Higgs_0060

                                                    SCREENINGS
Inmate Name: HIGGS, DUSTIN JOHN                                                                Reg #: 31133-037
Date of Birth: 03/10/1972                              Sex: M        Race: BLACK               Facility: THP
Encounter Date: 12/20/2020 12:30                       Provider: McGuire, Cody NREMT-P         Unit:     X01


Screenings:
    COVID-19
       Isolation
           Yes: Headache
           No: Vital Signs w/O2 sat recorded in flowsheet, Cough, Shortness of Breath, Fatigue, Body aches, Sore
           throat, Diarrhea, Loss of taste or smell, Nausea or vomiting
Temperature:
    Date             Time           Fahrenheit        Celsius Location              Provider
    12/20/2020       12:30 THX            97.5           36.4                       McGuire, Cody NREMT-P



Cosign Required:No
Completed by McGuire, Cody NREMT-P on 12/20/2020 13:07.




Generated 12/20/2020 13:07 by McGuire, Cody NREMT-P       Bureau of Prisons - THP                                 Page 1 of 1
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                                               Federal Bureau of Prisons                                        Higgs_0061

                                                    SCREENINGS
Inmate Name: HIGGS, DUSTIN JOHN                                                                  Reg #: 31133-037
Date of Birth: 03/10/1972                               Sex: M         Race: BLACK               Facility: THP
Encounter Date: 12/20/2020 08:33                        Provider: Beal, Carly RN                 Unit:     X01


Screenings:
    COVID-19
       Isolation
           Yes: Vital Signs w/O2 sat recorded in flowsheet, Headache
    Comments
       stuffy nose

       regarding headache- patient states he got a headache last night and took his Tylenol and has a headache this
       AM and took Tylenol at 0530. Patient states no relief with Tylenol. Will request ibuprofen.
Temperature:
    Date              Time            Fahrenheit   Celsius Location                 Provider
    12/20/2020        08:36 THX             96.8      36.0                          Beal, Carly RN

Pulse:
    Date           Time              Rate Per Minute       Location                 Rhythm     Provider
    12/20/2020 08:36 THX                           80                                          Beal, Carly RN


SaO2:
    Date              Time             Value(%) Air                       Provider
    12/20/2020        08:36 THX              98                           Beal, Carly RN

Cosign Required:No
Completed by Beal, Carly RN on 12/20/2020 08:52.




Generated 12/20/2020 08:52 by Beal, Carly RN              Bureau of Prisons - THP                                    Page 1 of 1
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                                               Federal Bureau of Prisons                                        Higgs_0062

                                                    SCREENINGS
Inmate Name: HIGGS, DUSTIN JOHN                                                                  Reg #: 31133-037
Date of Birth: 03/10/1972                               Sex: M         Race: BLACK               Facility: THP
Encounter Date: 12/19/2020 14:33                        Provider: Beal, Carly RN                 Unit:     X01


Screenings:
    COVID-19
       Isolation
           Yes: Vital Signs w/O2 sat recorded in flowsheet
           No: Cough, Shortness of Breath, Fatigue, Body aches
Temperature:
    Date              Time            Fahrenheit   Celsius Location                 Provider
    12/19/2020        14:32 THX             97.1      36.2                          Beal, Carly RN

Pulse:
    Date           Time              Rate Per Minute       Location                 Rhythm     Provider
    12/19/2020 14:32 THX                           80                                          Beal, Carly RN


SaO2:
    Date              Time             Value(%) Air                       Provider
    12/19/2020        14:32 THX              98                           Beal, Carly RN

Cosign Required:No
Completed by Beal, Carly RN on 12/19/2020 14:33.




Generated 12/19/2020 14:33 by Beal, Carly RN              Bureau of Prisons - THP                                    Page 1 of 1
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                                               Federal Bureau of Prisons                                        Higgs_0063

                                                    SCREENINGS
Inmate Name: HIGGS, DUSTIN JOHN                                                                  Reg #: 31133-037
Date of Birth: 03/10/1972                               Sex: M         Race: BLACK               Facility: THP
Encounter Date: 12/19/2020 08:00                        Provider: Beal, Carly RN                 Unit:     X01


Screenings:
    COVID-19
       Isolation
           Yes: Vital Signs w/O2 sat recorded in flowsheet
           No: Cough, Shortness of Breath, Fatigue, Body aches
Temperature:
    Date              Time            Fahrenheit   Celsius Location                 Provider
    12/19/2020        08:00 THX             96.6      35.9                          Beal, Carly RN

Pulse:
    Date           Time              Rate Per Minute       Location                 Rhythm     Provider
    12/19/2020 08:00 THX                           80                                          Beal, Carly RN


SaO2:
    Date              Time             Value(%) Air                       Provider
    12/19/2020        08:00 THX              97                           Beal, Carly RN

Cosign Required:No
Completed by Beal, Carly RN on 12/19/2020 14:33.




Generated 12/19/2020 14:33 by Beal, Carly RN              Bureau of Prisons - THP                                    Page 1 of 1
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                                               Federal Bureau of Prisons                                        Higgs_0064

                                                    SCREENINGS
Inmate Name: HIGGS, DUSTIN JOHN                                                                  Reg #: 31133-037
Date of Birth: 03/10/1972                               Sex: M         Race: BLACK               Facility: THP
Encounter Date: 12/18/2020 14:26                        Provider: Beal, Carly RN                 Unit:     X01


Screenings:
    COVID-19
       Isolation
           Yes: Vital Signs w/O2 sat recorded in flowsheet
           No: Cough, Shortness of Breath, Fatigue, Body aches
Temperature:
    Date              Time            Fahrenheit   Celsius Location                 Provider
    12/18/2020        14:25 THX             96.7      35.9                          Beal, Carly RN

Pulse:
    Date           Time              Rate Per Minute       Location                 Rhythm     Provider
    12/18/2020 14:25 THX                           76                                          Beal, Carly RN


SaO2:
    Date              Time             Value(%) Air                       Provider
    12/18/2020        14:25 THX             100                           Beal, Carly RN

Cosign Required:No
Completed by Beal, Carly RN on 12/18/2020 14:26.




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                                               Federal Bureau of Prisons                                        Higgs_0065

                                                    SCREENINGS
Inmate Name: HIGGS, DUSTIN JOHN                                                                  Reg #: 31133-037
Date of Birth: 03/10/1972                               Sex: M         Race: BLACK               Facility: THP
Encounter Date: 12/18/2020 14:11                        Provider: Beal, Carly RN                 Unit:     X01


Screenings:
    COVID-19
       Isolation
           Yes: Vital Signs w/O2 sat recorded in flowsheet
           No: Cough, Shortness of Breath, Fatigue, Body aches
Temperature:
    Date              Time            Fahrenheit   Celsius Location                 Provider
    12/18/2020        08:00 THX             96.8      36.0                          Beal, Carly RN

Pulse:
    Date           Time              Rate Per Minute       Location                 Rhythm     Provider
    12/18/2020 08:00 THX                           63                                          Beal, Carly RN


SaO2:
    Date              Time             Value(%) Air                       Provider
    12/18/2020        08:00 THX             100                           Beal, Carly RN

Cosign Required:No
Completed by Beal, Carly RN on 12/18/2020 14:26.




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                                              Federal Bureau of Prisons                                        Higgs_0066

                                                   SCREENINGS
Inmate Name: HIGGS, DUSTIN JOHN                                                                    Reg #: 31133-037
Date of Birth: 03/10/1972                               Sex: M          Race: BLACK                Facility: THP
Encounter Date: 12/17/2020 13:16                        Provider: Durr, R. NRP                     Unit:     X01


Screenings:
    COVID-19
       Isolation
               No: Cough, Shortness of Breath, Fatigue, Body aches, Sore throat, Diarrhea, Headache, Loss of taste or
               smell, Nausea or vomiting
Temperature:
    Date              Time            Fahrenheit   Celsius Location                 Provider
    12/17/2020        13:15 THX             97.1      36.2                          Durr, R. NRP

Pulse:
    Date          Time               Rate Per Minute       Location                 Rhythm     Provider
    12/17/2020 13:15 THX                           87                                          Durr, R. NRP


SaO2:
    Date              Time             Value(%) Air                       Provider
    12/17/2020        13:15 THX              99                           Durr, R. NRP

Cosign Required:No
Completed by Durr, R. NRP on 12/17/2020 13:16.




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                                      Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 75 of 164
                                                             Bureau of Prisons                                                     Higgs_0067
                                                              Health Services
                                                             Pain Management
Begin Date: 01/01/2020                                                                          End Date:    12/30/2020
Reg #:      31133-037                                                                           Inmate Name: HIGGS, DUSTIN JOHN
Date                 Intervention                                                Pain Quality        Location    Pre   Post   Provider
12/20/2020 09:50 THX OTC meds                                                    Aching              Head         3           McGuire, Cody NREMT-
                 Orig Entered: 12/20/2020 09:51 EST McGuire, Cody NREMT-P




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                Case 1:19-mc-00145-TSC Bureau
                                        Document
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                                                 Prisons                                               Higgs_0068
                                                       Health Services
                                                          Allergies
Reg #: 31133-037                                     Inmate Name: HIGGS, DUSTIN JOHN

Allergy                                     Date Noted                             Reaction
NSAIDs                                      11/13/2007                             Intolerance-other
     patient reports reaction
        Orig Entered: 11/13/2007 11:21 EST Auten, Jaime RPh
Total: 1




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                                                                        Bureau of Prisons                                                            Higgs_0069

                                                                         Health Services
                                                             Patient Education Assessments & Topics
Reg #: 31133-037                        Inmate Name: HIGGS, DUSTIN JOHN

                                                                                   Assessments
    Assessment Date Learns Best By                   Primary Language      Years of Education       Barriers To Education                      Provider
    Total: 0

                                                                                         Topics
    Date Initiated            Format                    Handout/Topic                                      Outcome                             Provider
    12/30/2020           Counseling           Plan of Care                                        Verbalizes Understanding                     Frank, Casey
             Reviewed intermittent symptoms that are reportedly improving, plan of care including routine chest xry, and callback criteria.
               Orig Entered: 12/30/2020 11:13 EST Frank, Casey
    12/27/2020             Counseling            Plan of Care                                              Verbalizes Understanding            Frank, Casey
             Plan of care including clearance from isolation status. Callback criteria.
                Orig Entered: 12/27/2020 08:54 EST Frank, Casey
    12/20/2020                Counseling                Access to Care                                     Verbalizes Understanding            McGuire, Cody
                  Orig Entered:    12/20/2020 10:00 EST McGuire, Cody
    12/12/2020                Counseling                Access to Care                                     Verbalizes Understanding            Beal, Carly
                  Orig Entered:    12/12/2020 13:31 EST Beal, Carly
    12/08/2020                Counseling                Access to Care                                     Verbalizes Understanding            McGuire, Cody
                  Orig Entered:    12/08/2020 11:21 EST McGuire, Cody
    10/28/2020            Counseling             Plan of Care                                        Verbalizes Understanding                    Frank, Casey
             Reviewed diagnosis of tinea versicolor (fungal infection), plan of care, medication including selenium sulfide shampoo and weekly X 4 weeks
             fluconazole. Reviewed risks vs. benefits associated with medications including risk of liver failure with fluconazole. Inmate agreeable to
             proceeding with oral medication and shampoo. Reviewed hand/body hygiene, especially given COVID-19 Pandemic. To place sick call 4-6
             weeks after completion of last fluconazole dose should symptoms continue.
                Orig Entered: 10/28/2020 11:49 EST Frank, Casey
    10/08/2020                Counseling                Access to Care                                     Verbalizes Understanding            Miller, Kasha
                  Orig Entered:    10/08/2020 10:44 EST Miller, Kasha
    09/11/2020                Counseling                Compliance - Treatment                             Verbalizes Understanding            Wilson, William
                  Orig Entered:    09/11/2020 14:17 EST Wilson, William E.
    09/10/2020                Counseling                Access to Care                                     Verbalizes Understanding            May, Joseph

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Reg #: 31133-037                        Inmate Name: HIGGS, DUSTIN JOHN                                                                         Higgs_0070


                                                                                 Topics
    Date Initiated            Format                 Handout/Topic                                 Outcome                                 Provider
                  Orig Entered:    09/10/2020 09:49 EST May, Joseph
    03/11/2020             Counseling             Plan of Care                                        Verbalizes Understanding              Frank, Casey
             Discussed chronic conditions and plan of care. Pending Cardiology f/u and URC for repeat echo. Reviewed warning s/sx's to notify of.
             Recommend compliance with meds including regular use of maintenance inhaler, mometasone. Rinse mouth after each inhaler use to
             prevent thrush.
             Meds refills up to date. Diet/exercise modifications including to reduce overall health risks and maintain healthy BMI/Weight.
                Orig Entered: 03/11/2020 11:47 EST Frank, Casey

    Total: 10




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                                                                          Bureau of Prisons                                               Higgs_0071
                                                                           Health Services
                                                                          Health Problems
Reg #: 31133-037                                     Inmate Name: HIGGS, DUSTIN JOHN

 Description                                                                               Axis Code Type    Code    Diag. Date Status           Status Date

                                                                            Current
 Presbyopia
  11/18/2013 09:32 EST Alumbaugh, Kimberly O.D.                                                III ICD-9     367.4   11/18/2013 Current           11/18/2013

 Hypertension, Unspecified essential
  09/27/2017 12:24 EST Resto, William MD/CD                                              III       ICD-9     401.9   05/23/2008 Current           05/23/2008
        09/27/17 control BP. Denies chest pain, sob/dyspnea/orthopnea. No palpitation, no
        dizziness/lightheadedness, fatigue. BMI (LOW=18.84%)
  07/06/2009 14:21 EST Webster, Thomas MD CD                                             III       ICD-9     401.9   05/23/2008 Current           05/23/2008
  05/23/2008 07:04 EST Webster, Thomas MD CD                                             III       ICD-9     401.9   05/23/2008 Current           05/23/2008
        HYPERTENSN HYPERTENSN CHRONIC CARE CLINIC 05-07-2008
        PULMONARY PULMONARY CHRONIC CARE CLINIC 05-07-2008
        RETEST HIV NEW COMMIT RETEST                   02-05-2002
        V74.1     NEG PPD-NEXT DUE DATE             06-12-2008
        0MM       PPD RESULT - 0MM              06-12-2007
        493.90 ASTHMA                      06-05-2000
 Asthma, unspecified
  12/30/2020 11:10 EST Frank, Casey FNP                                                  III       ICD-9    493.90   10/25/2008 Current           10/25/2008
        09/27/17 B asthma PEFR 500+. Negative cough or wheeze.
  09/27/2017 12:24 EST Resto, William MD/CD                                              III       ICD-9    493.90   10/25/2008 Current           10/25/2008
        09/27/17 B asthma PEFR 500+, O2 sat 100%, no night asthma symptoms, no
        wheezes, cough, chest tightness, resp distress or cough
  10/25/2008 11:12 EST Tabor, Timothy PA                                                 III       ICD-9    493.90   10/25/2008 Current           10/25/2008
 Cardiac murmurs
  10/28/2020 11:44 EST Frank, Casey FNP                                                    III     ICD-9     785.2   07/24/2014 Current           07/24/2014
        Echo 5/2013; Mitral valve Regurgitation noted. MVP. 09/27/19 Mid systolic click with
        late systolic Murmur best audible at apex and invalsalva.
  09/27/2017 12:24 EST Resto, William MD/CD                                                III     ICD-9     785.2   07/24/2014 Current           07/24/2014
        Echo052013; Mitral valve Regurgitation noted.MVP. 09/27/19 Mid systolic click with
        late systolic Murmurbest audible at apex and invalsalva Low bmi18.8
  09/30/2016 14:14 EST Wilson, William E. MD/CD                                            III     ICD-9     785.2   07/24/2014 Current           07/24/2014
        Echo May 2013; Mitral valve Regurgitation noted.MVP
  07/24/2014 16:13 EST Lukens, David MD                                                    III     ICD-9     785.2   07/24/2014 Current           07/24/2014
        Echo May 2013; Mitral valve Regurgitation noted.
 Dermatophytosis [tinea, ringworm]

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Reg #: 31133-037                                     Inmate Name: HIGGS, DUSTIN JOHN                                                           Higgs_0072

 Description                                                                               Axis Code Type      Code    Diag. Date Status              Status Date
  10/28/2020 11:44 EST Frank, Casey FNP                                                         ICD-10         B359    09/11/2020 Current
        Suspect tinea versicolor
  09/11/2020 14:17 EST Wilson, William E. MD/CD                                                      ICD-10    B359    09/11/2020 Current
 Encounter for observation for other suspected diseases and conditions ruled out
  12/30/2020 11:10 EST Frank, Casey FNP                                                              ICD-10   Z0389    12/30/2020 Current


                                                                            Resolved
 Intestinal infection due to Clostridium
  02/23/2016 07:20 EST SYSTEM                                                                  III   ICD-9    008.45   03/12/2015   Resolved           06/12/2015
  06/12/2015 09:37 EST Mata, Heather PA-C                                                      III   ICD-9    008.45   03/12/2015   Resolved           06/12/2015
  03/31/2015 12:20 EST Mata, Heather PA-C                                                      III   ICD-9    008.45   03/12/2015   Current            03/31/2015
  03/12/2015 14:11 EST Mata, Heather PA-C                                                      III   ICD-9    008.45   03/12/2015   Resolved           03/12/2015
 Malnutrition of mild degree
  02/23/2016 07:20 EST SYSTEM                                                                  III ICD-9       263.1   03/12/2015 Resolved             06/12/2015
  06/12/2015 09:37 EST Mata, Heather PA-C                                                      III ICD-9       263.1   03/12/2015 Resolved             06/12/2015
  03/12/2015 14:11 EST Mata, Heather PA-C                                                      III ICD-9       263.1   03/12/2015 Current              03/12/2015
 Migraine, unspecified
  03/11/2020 11:40 EST Frank, Casey FNP                                                        III ICD-9      346.90   11/13/2014 Resolved             03/11/2020
        09/27/17 no headache, no visual disturbances.
  09/27/2017 12:24 EST Resto, William MD/CD                                                    III ICD-9      346.90   11/13/2014 Current              11/13/2014
        09/27/17 no headache, no visual disturbances.
  11/13/2014 13:35 EST Mata, Heather PA-C                                                      III ICD-9      346.90   11/13/2014 Current              11/13/2014
 Sympathetic uveitis
  03/11/2020 11:40 EST Frank, Casey FNP                                                 III ICD-9             360.11   09/15/2014 Resolved             03/11/2020
        1 gt pred forte QID x 2 weeks, then TID x 1 weeks, BID x 1 week, qd x 1 week. Then
        D/C
  09/15/2014 10:00 EST Alumbaugh, Kimberly O.D.                                         III ICD-9             360.11   09/15/2014 Current              09/15/2014
        1 gt pred forte QID x 2 weeks, then TID x 1 weeks, BID x 1 week, qd x 1 week. Then
        D/C
 Conjunctivitis, acute, unspecified
  02/23/2016 07:20 EST SYSTEM                                                           III ICD-9             372.00   08/14/2014 Resolved             02/27/2015
  02/27/2015 14:59 EST Mata, Heather PA-C                                               III ICD-9             372.00   08/14/2014 Resolved             02/27/2015
  08/14/2014 15:08 EST Mata, Heather PA-C                                               III ICD-9             372.00   08/14/2014 Current              08/14/2014
 Other acute otitis externa
  02/23/2016 07:20 EST SYSTEM                                                                  III ICD-9      380.22   11/05/2010 Resolved             09/28/2011
  09/28/2011 14:02 EST Jones, Roger MD                                                         III ICD-9      380.22   11/05/2010 Resolved             09/28/2011
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Reg #: 31133-037                                     Inmate Name: HIGGS, DUSTIN JOHN                                                        Higgs_0073

 Description                                                                               Axis Code Type     Code    Diag. Date Status            Status Date
  11/05/2010 12:31 EST Tabor, Timothy PA-C                                                   III ICD-9       380.22   11/05/2010 Current            11/05/2010

 Chronic serous otitis media, simple or unspecified
  02/23/2016 07:20 EST SYSTEM                                                                  III   ICD-9   381.10   09/16/2009   Resolved         09/28/2011
  09/28/2011 14:02 EST Jones, Roger MD                                                         III   ICD-9   381.10   09/16/2009   Resolved         09/28/2011
  11/29/2010 13:42 EST Wilson, William E. MD                                                   III   ICD-9   381.10   09/16/2009   Remission        09/16/2009
  09/16/2009 11:17 EST Webster, Thomas MD CD                                                   III   ICD-9   381.10   09/16/2009   Current          09/16/2009
 Bronchitis, acute
  02/23/2016 07:20 EST SYSTEM                                                                  III ICD-9      466.0   11/07/2013 Resolved           02/27/2015
  02/27/2015 14:59 EST Mata, Heather PA-C                                                      III ICD-9      466.0   11/07/2013 Resolved           02/27/2015
  11/07/2013 10:53 EST Mata, Heather PA-C                                                      III ICD-9      466.0   11/07/2013 Current            11/07/2013
 Unspecified nasal polyp
  02/23/2016 07:20 EST SYSTEM                                                                  III ICD-9      471.9   05/22/2009 Resolved           05/22/2009
        NASAL SURGERY 2010
  11/29/2010 13:42 EST Wilson, William E. MD                                                   III ICD-9      471.9   05/22/2009 Resolved           05/22/2009
        NASAL SURGERY 2010
  05/22/2009 09:26 EST Klink, Kimberly MS, FNP                                                 III ICD-9      471.9   05/22/2009 Current            05/22/2009
 Allergic rhinitis due to other allergen
  02/23/2016 07:20 EST SYSTEM                                                                  III ICD-9      477.8   10/29/2008 Resolved           04/01/2013
  04/01/2013 14:28 EST Wilson, William E. MD/CD                                                III ICD-9      477.8   10/29/2008 Resolved           04/01/2013
  10/29/2008 10:02 EST Klink, Kimberly MS, FNP                                                 III ICD-9      477.8   10/29/2008 Current            10/29/2008
 Sciatica
  02/23/2016 07:20 EST SYSTEM                                                                  III ICD-9      724.3   09/13/2013 Resolved           02/27/2015
         PIRIFORMIS SYNDROME
  02/27/2015 14:59 EST Mata, Heather PA-C                                                      III ICD-9      724.3   09/13/2013 Resolved           02/27/2015
         PIRIFORMIS SYNDROME
  09/13/2013 12:31 EST Cox, Roger FNP                                                          III ICD-9      724.3   09/13/2013 Current            09/13/2013
         PIRIFORMIS SYNDROME
 Backache, unspecified
  02/23/2016 07:20 EST SYSTEM                                                                  III ICD-9      724.5   03/23/2010 Resolved           09/28/2011
  09/28/2011 14:02 EST Jones, Roger MD                                                         III ICD-9      724.5   03/23/2010 Resolved           09/28/2011
  03/23/2010 14:53 EST Tabor, Timothy PA-C                                                     III ICD-9      724.5   03/23/2010 Current            03/23/2010
 Spasm of muscle
  02/23/2016 07:20 EST SYSTEM                                                                  III ICD-9     728.85   04/17/2014 Resolved           02/27/2015
  02/27/2015 14:59 EST Mata, Heather PA-C                                                      III ICD-9     728.85   04/17/2014 Resolved           02/27/2015
  04/17/2014 10:11 EST Mata, Heather PA-C                                                      III ICD-9     728.85   04/17/2014 Current            04/17/2014
 Dizziness and giddiness
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Reg #: 31133-037                                     Inmate Name: HIGGS, DUSTIN JOHN                                                        Higgs_0074

 Description                                                                               Axis Code Type     Code    Diag. Date Status            Status Date
  02/23/2016 07:20 EST SYSTEM                                                                III ICD-9        780.4   02/13/2014 Resolved           01/23/2015
        States has been episodic x 2 years
  01/23/2015 16:34 EST Wilson, William E. MD/CD                                                III ICD-9      780.4   02/13/2014 Resolved           01/23/2015
        States has been episodic x 2 years
  02/13/2014 10:27 EST Mata, Heather PA-C                                                      III ICD-9      780.4   02/13/2014 Current            02/13/2014
        States has been episodic x 2 years
 Headache
  02/23/2016 07:20 EST SYSTEM                                                                  III ICD-9      784.0   03/20/2012 Resolved           09/24/2012
  09/24/2012 14:17 EST Wilson, William E. MD/CD                                                III ICD-9      784.0   03/20/2012 Resolved           09/24/2012
  03/20/2012 14:08 EST Jastillano, Alex MLP                                                    III ICD-9      784.0   03/20/2012 Current            03/20/2012
 Lymph node enlargement
  02/23/2016 07:20 EST SYSTEM                                                                  III ICD-9      785.6   11/26/2014 Resolved           12/11/2014
  12/11/2014 11:32 EST Mata, Heather PA-C                                                      III ICD-9      785.6   11/26/2014 Resolved           12/11/2014
  11/26/2014 09:41 EST Mata, Heather PA-C                                                      III ICD-9      785.6   11/26/2014 Current            11/26/2014
 Cough
  03/11/2020 11:40 EST Frank, Casey FNP                                                        III ICD-9      786.2   07/30/2015 Resolved           03/11/2020
  07/30/2015 15:02 EST Mata, Heather PA-C                                                      III ICD-9      786.2   07/30/2015 Current            07/30/2015
 Abnormal electrocardiogram [ECG] [EKG]
  02/23/2016 07:20 EST SYSTEM                                                            III ICD-9           794.31   09/22/2010 Resolved           09/28/2011
         EKG 9/14/2010 showing left atrial enlargement, borderline LVH. Consider repeat EKG
         and/or cardiology referral if indicated.
  09/28/2011 14:02 EST Jones, Roger MD                                                   III ICD-9           794.31   09/22/2010 Resolved           09/28/2011
         EKG 9/14/2010 showing left atrial enlargement, borderline LVH. Consider repeat EKG
         and/or cardiology referral if indicated.
  09/22/2010 14:51 EST Jones, Roger MD                                                   III ICD-9           794.31   09/22/2010 Current            09/22/2010
         EKG 9/14/2010 showing left atrial enlargement, borderline LVH. Consider repeat EKG
         and/or cardiology referral if indicated.
 Other injury of finger
  02/23/2016 07:20 EST SYSTEM                                                            III ICD-9            959.5   08/14/2008 Resolved           09/28/2011
  09/28/2011 14:02 EST Jones, Roger MD                                                   III ICD-9            959.5   08/14/2008 Resolved           09/28/2011
  08/14/2008 07:11 EST Klink, Kimberly MS, FNP                                           III ICD-9            959.5   08/14/2008 Current            08/14/2008
 Dermatitis, unspecified
  03/11/2020 11:41 EST Frank, Casey FNP                                                            ICD-10     L309    12/14/2016 Resolved           03/11/2020
  12/14/2016 09:27 EST Mata, Heather PA-C                                                          ICD-10     L309    12/14/2016 Current
 Significant Procedures
  02/23/2016 07:20 EST SYSTEM                                                                  III ICD-9    Procedu   10/07/2010 Resolved           10/07/2010
         9/27/2010--nose/sinus surgery
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Reg #: 31133-037                                     Inmate Name: HIGGS, DUSTIN JOHN                                                        Higgs_0075

 Description                                                                               Axis Code Type     Code    Diag. Date Status            Status Date
  10/07/2010 08:43 EST Jones, Roger MD                                                       III ICD-9      Procedu   10/07/2010 Resolved           10/07/2010
          9/27/2010--nose/sinus surgery
 Injury of shoulder and upper arm, unspecified
  03/11/2020 11:41 EST Frank, Casey FNP                                                            ICD-10   S4990X    02/07/2018 Resolved           03/11/2020
  02/07/2018 09:30 EST Muscatell, Genevieve PA-C                                                   ICD-10   S4990X    02/07/2018 Current
 Confirmed case COVID-19
  12/27/2020 08:52 EST Frank, Casey FNP                                                            ICD-10    U07.1    12/16/2020 Resolved           12/27/2020
        Abbottt positive Quest +12/18/20
  12/21/2020 09:49 EST Bowman, Hollie RN/IIPCC                                                     ICD-10    U07.1    12/16/2020 Current
        Abbottt positive Quest +12/18/20
  12/16/2020 17:27 EST Scully, Karen RN, IDC                                                       ICD-10    U07.1    12/16/2020 Current
        Abbottt positive

 Total: 29




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                                                     Bureau of Prisons                              Higgs_0076
                                                      Health Services
                                                        Treatments
Begin Date: 01/01/2020                                  End Date:    12/30/2020
Reg #:      31133-037                                   Inmate Name: HIGGS, DUSTIN JOHN

Date            Time          Treatment                              Provider           Status
11/12/2020      08:36 THX     EKG                                    Miller, Kasha RN   Completed
      Orig Entered: 11/12/2020 08:36 EST Miller, Kasha RN
Total: 1




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               Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 85 of 164
                                                     Bureau of Prisons                                     Higgs_0077
                                                      Health Services
                                                      Vision Screens
 Reg #: 31133-037                             Inmate Name: HIGGS, DUSTIN JOHN

Vision Screen on 01/09/2019 11:43
   Blindness:
   Distance Vision: OD: 20/30                                  OS: 20/30                          OU:
   Near Vision:          OD:                                   OS:                                OU:
   With Corrective
   Distance Vision: OD: 20/20                                  OS: 20/20                          OU:
   Near Vision:          OD:                                   OS:                                OU:
   Present Glasses - Distance                                           Refraction - Distance
        Sphere          Cylinder    Axis             Add                     Sphere    Cylinder     Axis   Add
   R:                                                                   R: -0.50
   L:                                                                   L: -0.50
   Color Test:
   Tonometry:      R: 26              L: 24
   Comments: squeezing and holding breath with tonopen
        Orig Entered:    01/09/2019 11:44 EST Alumbaugh, Kimberly O.D.




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               Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 86 of 164
 Reg #: 31133-037                             Inmate Name: HIGGS, DUSTIN JOHN                              Higgs_0078


Vision Screen on 10/05/2016 11:21
   Blindness:
   Distance Vision: OD: 20/20                                  OS: 20/20                          OU:
   Near Vision:          OD:                                   OS:                                OU:
   With Corrective
   Distance Vision: OD:                                        OS:                                OU:
   Near Vision:          OD:                                   OS:                                OU:
   Present Glasses - Distance                                           Refraction - Distance
        Sphere          Cylinder    Axis             Add                     Sphere    Cylinder     Axis   Add
   R:                                                                   R:
   L:                                                                   L:
   Color Test:
   Tonometry:      R: 20              L: 20
   Comments:
        Orig Entered:    10/05/2016 11:22 EST Alumbaugh, Kimberly O.D.




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               Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 87 of 164
 Reg #: 31133-037                             Inmate Name: HIGGS, DUSTIN JOHN                              Higgs_0079


Vision Screen on 10/28/2015 13:23
   Blindness:
   Distance Vision: OD: 20/20                                  OS: 20/20                          OU:
   Near Vision:          OD:                                   OS:                                OU:
   With Corrective
   Distance Vision: OD:                                        OS:                                OU:
   Near Vision:          OD:                                   OS:                                OU:
   Present Glasses - Distance                                           Refraction - Distance
        Sphere          Cylinder    Axis             Add                     Sphere    Cylinder     Axis   Add
   R:                                                                   R:
   L:                                                                   L:
   Color Test:
   Tonometry:      R: 16              L: 16
   Comments:
        Orig Entered:    10/28/2015 13:24 EST Alumbaugh, Kimberly O.D.




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               Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 88 of 164
 Reg #: 31133-037                             Inmate Name: HIGGS, DUSTIN JOHN                              Higgs_0080


Vision Screen on 09/15/2014 09:56
   Blindness:
   Distance Vision: OD: 20/20                                  OS: 20/20                          OU:
   Near Vision:          OD:                                   OS:                                OU:
   With Corrective
   Distance Vision: OD:                                        OS:                                OU:
   Near Vision:          OD:                                   OS:                                OU:
   Present Glasses - Distance                                           Refraction - Distance
        Sphere          Cylinder    Axis             Add                     Sphere    Cylinder     Axis   Add
   R:                                                                   R:
   L:                                                                   L:
   Color Test:
   Tonometry:      R: 15              L: 15
   Comments:
        Orig Entered:    09/15/2014 09:57 EST Alumbaugh, Kimberly O.D.




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               Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 89 of 164
 Reg #: 31133-037                             Inmate Name: HIGGS, DUSTIN JOHN                              Higgs_0081


Vision Screen on 11/18/2013 09:22
   Blindness:
   Distance Vision: OD: 20/20                                  OS: 20/20                          OU:
   Near Vision:          OD:                                   OS:                                OU:
   With Corrective
   Distance Vision: OD:                                        OS:                                OU:
   Near Vision:          OD:                                   OS:                                OU:
   Present Glasses - Distance                                           Refraction - Distance
        Sphere          Cylinder    Axis             Add                     Sphere    Cylinder     Axis   Add
   R:                                                                   R: 0.00
   L:                                                                   L: 0.00
   Color Test:
   Tonometry:      R: 16              L: 16
   Comments:
        Orig Entered:    11/18/2013 09:31 EST Alumbaugh, Kimberly O.D.




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               Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 90 of 164
 Reg #: 31133-037                             Inmate Name: HIGGS, DUSTIN JOHN    Higgs_0082


Vision Screen on 09/23/2013 06:36            Refused
   Comments: Inmate refused eye exam
       Orig Entered:    09/24/2013 06:37 EST Bixler, Tracy RN




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               Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 91 of 164
 Reg #: 31133-037                             Inmate Name: HIGGS, DUSTIN JOHN                              Higgs_0083


Vision Screen on 04/12/2010 11:45
   Blindness:
   Distance Vision: OD:                                        OS:                                OU:
   Near Vision:          OD:                                   OS:                                OU:
   With Corrective
   Distance Vision: OD:                                        OS:                                OU:
   Near Vision:          OD:                                   OS:                                OU:
   Present Glasses - Distance                                           Refraction - Distance
        Sphere          Cylinder    Axis             Add                     Sphere    Cylinder     Axis   Add
   R:                                                                   R:
   L:                                                                   L:
   Color Test:
   Tonometry:      R:                 L:
   Comments: NO NEED FOR GLASSES 20/20
        Orig Entered:    04/12/2010 11:47 EST Bowman, Hollie RN/IIPCC




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               Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 92 of 164
                                                     Bureau of Prisons                               Higgs_0084
                                                      Health Services
                                                      COVID-19 RNA
Begin Date: 01/01/2020                                    End Date:    12/30/2020
Reg #:      31133-037                                     Inmate Name: HIGGS, DUSTIN JOHN
(Reference Range - Negative)
Effective Date           COVID-19 RNA                                            Provider
12/16/2020 17:34 THX     Positive                           Symptomatic          Edwards, Cristi Phlebotomist
     Symptomatic- SCU
       Orig Entered: 12/16/2020 17:35 EST Edwards, Cristi Phlebotomist
12/16/2020 17:14 THX     Positive                Asymptomatic                    Scully, Karen RN, IDC
     Inmate was charted in error as symptomatic when surveillance testing was completed 12/16/20. Denied any signs or
     symptoms at that time.
       Orig Entered: 12/18/2020 17:16 EST Scully, Karen RN, IDC

Total: 2




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                                           Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 93 of 164
                                                                       Bureau of Prisons                                         Higgs_0085
                                                                        Health Services
                                                                        Immunizations
Begin Date: 01/01/2020                                       End Date:       12/30/2020
Reg #:         31133-037                                     Inmate Name: HIGGS, DUSTIN JOHN
Immunization                       Immunization Date    Administered     Location           Dosage Drug Mfg.   Lot #   Dose #   Exp Date
Influenza - Immunization           10/14/2020           Refused
     refusal signed.
          Orig Entered: 10/14/2020 06:54 EST Dean, J. RN
Total: 1




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                 Case 1:19-mc-00145-TSC Bureau
                                        Document
                                               of380-4 Filed 12/31/20 Page 94 of 164
                                                  Prisons                                               Higgs_0086
                                                   Health Services
                                                 Medication Summary
                                                      Historical
Complex: THX--TERRE HAUTE FCC                                Begin Date: 01/01/2020            End Date: 12/30/2020
Inmate:  HIGGS, DUSTIN JOHN                                  Reg #:      31133-037             Quarter:  X01-313L

Medications listed reflect prescribed medications from the begin date to end date on this report.
Allergies:
   Allergy                                        Reaction                        Date Noted
   NSAIDs                                         Intolerance-other               11/13/2007
       patient reports reaction

Active Prescriptions
   Albuterol Inhaler HFA (8.5 GM) 90 MCG/ACT
   Inhale 2 puffs by mouth four times daily AS NEEDED
   Rx#: 490625-THX           Doctor: Wilson, William E. MD/CD
   Start: 09/12/19           Exp: 09/11/20                              Pharmacy Dispensings: 102 GM in 476 days

   Albuterol Inhaler HFA (8.5 GM) 90 MCG/ACT
   Inhale 2 puffs by mouth four times daily AS NEEDED
   Rx#: 518450-THX           Doctor: Wilson, William E. MD/CD
   Start: 09/14/20           Exp: 09/14/21                              Pharmacy Dispensings: 25.5 GM in 108 days

   Aspirin 81 MG EC Tab
   Take one tablet by mouth daily
   Rx#: 490626-THX         Doctor: Wilson, William E. MD/CD
   Start: 09/12/19         Exp: 09/11/20                                Pharmacy Dispensings: 365 TAB in 476 days

   Aspirin 81 MG EC Tab
   Take one tablet by mouth daily
   Rx#: 518451-THX         Doctor: Wilson, William E. MD/CD
   Start: 09/14/20         Exp: 09/14/21                                Pharmacy Dispensings: 120 TAB in 108 days

   Fluconazole 100 MG Tab
   Take one and one-half (1 and 1/2) tablets (150 MG) by mouth once weekly ***pill line***
   Rx#: 521914-THX         Doctor: Frank, Casey FNP
   Start: 10/28/20         Exp: 11/27/20                           Pharmacy Dispensings: 7.5 TAB in 64 days

   Fluconazole 100 MG Tab
   Take one and one-half (1 and 1/2) tablets (150 MG) by mouth once weekly ***pill line***
   Rx#: 525007-THX         Doctor: Frank, Casey FNP
   Start: 12/10/20         Exp: 01/09/21                           Pharmacy Dispensings: 6 TAB in 21 days

   HydroCHLOROthiazide 12.5 MG Cap
   Take one capsule by mouth every day

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                 Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 95 of 164
Complex: THX--TERRE HAUTE FCC                               Begin Date: 01/01/2020             End Date: Higgs_0087
                                                                                                          12/30/2020
Inmate:  HIGGS, DUSTIN JOHN                                 Reg #:      31133-037              Quarter:   X01-313L


Active Prescriptions
   Rx#: 490627-THX             Doctor: Wilson, William E. MD/CD
   Start: 09/12/19             Exp: 09/11/20                            Pharmacy Dispensings: 365 CAP in 476 days

   HydroCHLOROthiazide 12.5 MG Cap
   Take one capsule by mouth every day
   Rx#: 518452-THX        Doctor: Wilson, William E. MD/CD
   Start: 09/14/20        Exp: 09/14/21                                 Pharmacy Dispensings: 120 CAP in 108 days

   Lisinopril 5 MG Tab
   Take one tablet (5 MG) by mouth each day
   Rx#: 490628-THX         Doctor: Wilson, William E. MD/CD
   Start: 09/12/19         Exp: 09/11/20                                Pharmacy Dispensings: 365 TAB in 476 days

   Lisinopril 5 MG Tab
   Take one tablet (5 MG) by mouth each day
   Rx#: 518453-THX         Doctor: Wilson, William E. MD/CD
   Start: 09/14/20         Exp: 09/14/21                                Pharmacy Dispensings: 120 TAB in 108 days

   Mometasone Furoate Inhal 220 MCG/Inh [ 60 doses]
   Inhale 2 puffs by mouth each day - rinse mouth after use
   Rx#: 490629-THX          Doctor: Wilson, William E. MD/CD
   Start: 09/12/19          Exp: 09/11/20                               Pharmacy Dispensings: 12 ea in 476 days

   Mometasone Furoate Inhal 220 MCG/Inh [ 60 doses]
   Inhale 2 puffs by mouth each day - rinse mouth after use
   Rx#: 525169-THX          Doctor: Wilson, William E. MD/CD
   Start: 12/14/20          Exp: 12/14/21                               Pharmacy Dispensings: 1 ea in 17 days

   Selenium Sulfide Lotion 2.5%, 120ML
   Apply to the affected areas of your body, (not on face or genitals) each day for 7 days. Work up a lather using a small
   amount of water. RINSE AFTER 10 minutes. May use weekly thereafter
   Rx#: 518454-THX           Doctor: Wilson, William E. MD/CD
   Start: 09/14/20           Exp: 10/14/20                              Pharmacy Dispensings: 120 ML in 108 days

   Selenium Sulfide Lotion 2.5%, 120ML
   Apply to the affected areas of your body, (not on face or genitals) each day for 7 days. Work up a lather using a small
   amount of water. RINSE AFTER 10 minutes. May use weekly thereafter
   Rx#: 521915-THX           Doctor: Frank, Casey FNP
   Start: 10/28/20           Exp: 11/04/20                              Pharmacy Dispensings: 120 ML in 64 days

   Verapamil HCl 80 MG Tab
   Take one-half (1/2) tablet (40 MG) by mouth three times daily
   Rx#: 490630-THX           Doctor: Wilson, William E. MD/CD
   Start: 09/12/19           Exp: 09/11/20                              Pharmacy Dispensings: 450 TAB in 476 days
Generated 12/30/2020 17:15 by Smiledge, Shauna       Bureau of Prisons - THP                                  Page 2 of 3
                 Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 96 of 164
Complex: THX--TERRE HAUTE FCC                              Begin Date: 01/01/2020           End Date: Higgs_0088
                                                                                                       12/30/2020
Inmate:  HIGGS, DUSTIN JOHN                                Reg #:      31133-037            Quarter:   X01-313L


Active Prescriptions
   Verapamil HCl 80 MG Tab
   Take one-half (1/2) tablet (40 MG) by mouth three times daily
   Rx#: 518455-THX           Doctor: Wilson, William E. MD/CD
   Start: 09/14/20           Exp: 09/14/21                             Pharmacy Dispensings: 180 TAB in 108 days




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                       Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 97 of 164
                                                                                        Report Status: Final
                                                                                                                                         Higgs_0089
                                                                                                                                          HIGGS, DUSTIN J

Patient Information                                          Specimen Information                                     Client Information
                                                             Specimen: WX753948C                                      Client #: 10767072 4000000
HIGGS, DUSTIN J
                                                             Requisition: 0004269                                     WILLIAM E WILSON
DOB: 03/10/1972       AGE: 48                                                                                         FCI TERRE HAUTE
Gender: M                                                                                                             Attn: HEALTH SERVICES UNIT
                                                             Collected:     12/18/2020
Phone:      812.244.4584                                                                                              4200 BUREAU RD N
                                                             Received:      12/19/2020 / 11:41 EST
Patient ID: 31133-037                                                                                                 TERRE HAUTE, IN 47802-8128
                                                             Reported:      12/20/2020 / 14:57 EST
Health ID: 8573026117419809


Ward:           X01
COMMENTS:                 SURVEILLANCE

      SARS CoV 2 (COVID-19) Tests

                         Test Name                                          Result               Reference Range                                            Lab
SARS CoV 2 RNA(COVID 19), QUALITATIVE NAAT                                                                                                                  CA
 SARS CoV 2 RNA                                                         DETECTED                 NOT DETECTED
 A Detected result is considered a positive test result for COVID-19. This indicates that RNA from SARS-CoV-2 (formerly 2019-nCoV) was
 detected, and the patient is infected with the virus and presumed to be contagious. If requested by public health authority, specimen will be sent
 for additional testing.
 Please review the "Fact Sheets" and FDA authorized labeling available for health care providers and patients using the following websites:
 https://www.questdiagnostics.com/home/Covid-19/HCP/NAAT/fact-sheet2 https://www.questdiagnostics.com/home/Covid-19/Patients/NAAT/
 fact-sheet2
 This test has been authorized by the FDA under an Emergency Use Authorization (EUA) for use by authorized laboratories.
 Due to the current public health emergency, Quest Diagnostics is receiving a high volume of samples from a wide variety of swabs and media
 for COVID-19 testing. In order to serve patients during this public health crisis, samples from appropriate clinical sources are being tested.
 Negative test results derived from specimens received in non-commercially manufactured viral collection and transport media, or in media and
 sample collection kits not yet authorized by FDA for COVID-19 testing should be cautiously evaluated and the patient potentially subjected to
 extra precautions such as additional clinical monitoring, including collection of an additional specimen.
 Methodology: Nucleic Acid Amplification Test (NAAT) includes RT-PCR or TMA
 Additional information about COVID-19 can be found at the Quest Diagnostics website: www.QuestDiagnostics.com/Covid19.
 Physician Comments:




PERFORMING SITE:
CA    QUEST DIAGNOSTICS - SCHAUMBURG, 506 EAST STATE PARKWAY, SCHAUMBURG, IL 60173-4538 Laboratory Director: ANTHONY V THOMAS,MD, CLIA: 14D0416537




CLIENT SERVICES: 866.697.8378                                       SPECIMEN: WX753948C                                                              PAGE 1 OF 1
Quest, Quest Diagnostics, the associated logo and all associated Quest Diagnostics marks are the trademarks of Quest Diagnostics.
            Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 98 of 164
                                          Bureau of Prisons                                  Higgs_0090
                                           Health Services
                                           Cosign/Review
Inmate Name:    HIGGS, DUSTIN JOHN                                              Reg #:      31133-037
Date of Birth:  03/10/1972                   Sex:          M                    Race:       BLACK
Encounter Date: 12/21/2020 07:22             Provider:     Lab Result Receive   Facility:   THP

Cosigned by Wilson, William E. MD/CD on 12/21/2020 10:46.




                                             Bureau of Prisons - THA
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                                                                                               Higgs_0091




  Patient:    HIGGS, DUSTIN                    DOB:            03/10/1972       Accession:   31272862
  MRN:                                         Age:            48               Collected:   08/20/2020
  Patient ID: 30516749                         Gender:         Male             Received:    08/20/2020
  Clinician: William E Wilson, MD              Client Phone:   (812) 238-3439   Reported:    08/20/2020 16:30

Specimen Info: Urine Pour-Off

Results begin on second page.




 William E Wilson, MD
 FCC-Terre Haute-USP (Bureau of Corrections)
 4200 Bureau Road North
 Terre Haute, IN 47802                                                                              Page 1 of 2
                                             Cedar Diagnostics
               Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 100 of 164
                                                555 Rivergate Lane
                                                                                                          Higgs_0092
                                              Durango, Colorado 81301


                                                CLIA ID: 06D1065912                              Lab Director: Jay Joy, MD

Name: HIGGS, DUSTIN JOHN                                        Patient ID:    AXXXXXXXX
DOB: 3/10/1972      Age: 48       Sex: M                        Provider:      WILLIAM WILSON

Sample ID:      990492                 Fasting: No              Comment:       31133-037
Draw Date:      8/19/2020 08:15                                 Report Date:   8/20/2020 15:59

TESTS ORDERED:
   PT SAMPLE
  31133-037


  TEST NAME                                        RESULT                        UNITS              REFERENCE
                                     IN RANGE               OUT OF RANGE                            RANGE


  Urinalysis Dipstick                                                                                             MJR

  UCOL                               Yellow                                                         Yellow
  UCLAR                              Clear                                                          Clear
  UGLU                               Negative                                    mg/dL              Negative
  UBILI                              Negative                                                       Negative
  UKET                               Negative                                    mg/dL              Negative
  USG                                1.020                                                          1.010-1.030
  UBLD                               Negative                                                       Negative
  UPH                                6.0                                                            5.0-8.0
  UPR                                Negative                                    mg/dL              Negative
  URO                                0.2 E.U./dL                                 E.U./dL            0.0-1.0
  UNIT                               Negative                                                       Negative
  ULEUK                              Negative                                                       Negative
  UCULTDONE                          No




Sample ID: 990492/1                                                                              Reviewed by: ___________
END OF REPORT (Final)
           Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 101 of 164
                                         Bureau of Prisons                                  Higgs_0093
                                          Health Services
                                          Cosign/Review
Inmate Name:    HIGGS, DUSTIN JOHN                                             Reg #:      31133-037
Date of Birth:  03/10/1972                  Sex:          M                    Race:       BLACK
Encounter Date: 08/21/2020 17:14            Provider:     Lab Result Receive   Facility:   THP

Cosigned by Lukens, David MD on 08/24/2020 11:56.




                                            Bureau of Prisons - THA
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                                                                                                            Higgs_0094

                                                      FMC Rochester
                                                     2110 E. Center Street
                                                     Rochester, MN 55904
                                                        507-287-0674
                                                                                            *** Sensitive But Unclassified ***
Name    HIGGS, DUSTIN                      Facility USP Terre Haute                      Collected 08/12/2020 07:25
Reg #   31133-037                          Order Unit X02-417L                           Received 08/13/2020 10:37
DOB     03/10/1972                         Provider William Wilson, MD                   Reported 08/13/2020 14:03
Sex     M                                                                                LIS ID     254192131


                                                      CHEMISTRY
Sodium                                                  139                               136-145                 mmol/L
Potassium                                                3.9                               3.5-5.1                mmol/L
Chloride                                                101                               98-107                  mmol/L
CO2                                                      29                                22-29                  mmol/L
BUN                                H                     21                                 6-20                  mg/dL
Creatinine                                              1.12                             0.67-1.17                mg/dL
eGFR (IDMS)                                             >60
  GFR units measured as mL/min/1.73m^2.
  If African American multiply by 1.210.
  A calculated GFR <60 suggests chronic kidney disease if found over a 3 month period.
Calcium                                                 9.8                              8.6-10.0                  mg/dL
Glucose                                                  93                               74-109                   mg/dL
AST                                                      16                                10-40                    U/L
ALT                                                      13                                 8-41                    U/L
Alkaline Phosphatase                                     61                               49-126                    U/L
Bilirubin, Total                                         0.5                              0.1-1.2                  mg/dL
Total Protein                                            8.0                              6.6-8.7                  g/dL
Albumin                                                  4.6                              3.5-5.2                  g/dL
Globulin                                                 3.4                              2.0-3.7                  g/dL
Alb/Glob Ratio                                          1.35                             1.00-2.30
Anion Gap                          L                     8.9                              9.0-19.0
BUN/Creat Ratio                                         18.4                              5.0-30.0
Cholesterol                                              143                               <200                    mg/dL
Triglycerides                                             52                               <150                    mg/dL
HDL Cholesterol                    H                      66                               40-60                   mg/dL
LDL Cholesterol (calc)                                    67                               <130                    mg/dL
Chol/HDL Ratio                                           2.2                              0.0-4.0

                                                    HEMATOLOGY
WBC                                                      6.4                               3.5-10.5                 K/uL
RBC                                                     4.32                              4.10-6.00                 M/uL
Hemoglobin                                              14.0                              12.0-17.5                 g/dL
Hematocrit                                              41.5                              38.8-50.0                  %
MCV                                                     96.1                             76.0-100.0                  fL
MCH                                                     32.4                              27.0-33.0                  pg
MCHC                                                    33.7                              28.0-36.0                 g/dL
RDW-CV                                                  12.0                              12.0-15.0                  %
Platelet                                                318                                150-450                  K/uL

   FLAG LEGEND           L=Low L!=Low Critical       H=High H!=High Critical       A=Abnormal A! =Abnormal Critical
                                                                                                Page 1 of 2
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                                                                                                    Higgs_0095

                                                 FMC Rochester
                                                 2110 E. Center Street
                                                 Rochester, MN 55904
                                                    507-287-0674
                                                                                   *** Sensitive But Unclassified ***
Name    HIGGS, DUSTIN                  Facility USP Terre Haute                 Collected 08/12/2020 07:25
Reg #   31133-037                      Order Unit X02-417L                      Received 08/13/2020 10:37
DOB     03/10/1972                     Provider William Wilson, MD              Reported 08/13/2020 14:03
Sex     M                                                                       LIS ID     254192131


                                                 HEMATOLOGY
MPV                              H                 10.6                          6.9-10.5                   fL

                                             HEMOGLOBIN A1C
Hemoglobin A1C                                      5.5                            <5.7                     %
  5.7 - 6.4 Increased Risk
     > 6.4 Diabetes




   FLAG LEGEND           L=Low L!=Low Critical   H=High H!=High Critical   A=Abnormal A! =Abnormal Critical
                                                                                          Page 2 of 2
           Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 104 of 164
                                          Bureau of Prisons                                  Higgs_0096
                                           Health Services
                                           Cosign/Review
Inmate Name:    HIGGS, DUSTIN JOHN                                              Reg #:      31133-037
Date of Birth:  03/10/1972                   Sex:          M                    Race:       BLACK
Encounter Date: 08/13/2020 15:04             Provider:     Lab Result Receive   Facility:   THP

Cosigned by Wilson, William E. MD/CD on 08/14/2020 14:45.




                                             Bureau of Prisons - THA
            Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 105 of 164
                                                                                                           Higgs_0097

                                                      FMC Rochester
                                                     2110 E. Center Street
                                                     Rochester, MN 55904
                                                        507-287-0674
                                                                                           *** Sensitive But Unclassified ***
Name    HIGGS, DUSTIN                      Facility USP Terre Haute                      Collected 02/04/2020 09:52
Reg #   31133-037                          Order Unit X02-417L                           Received 02/05/2020 11:09
DOB     03/10/1972                         Provider William Wilson, MD                   Reported 02/05/2020 14:49
Sex     M                                                                                LIS ID     254192132


                                                      CHEMISTRY
Sodium                                                  140                               136-145                mmol/L
Potassium                                                4.2                               3.5-5.1               mmol/L
Chloride                                                100                               98-107                 mmol/L
CO2                                                      28                                22-29                 mmol/L
BUN                                                      16                                 6-20                 mg/dL
Creatinine                                              1.09                             0.67-1.17               mg/dL
eGFR (IDMS)                                             >60
  GFR units measured as mL/min/1.73m^2.
  If African American multiply by 1.210.
  A calculated GFR <60 suggests chronic kidney disease if found over a 3 month period.
Calcium                                                  9.8                             8.6-10.0                 mg/dL
Glucose                                                  86                               74-109                  mg/dL
Anion Gap                                               12.1                             9.0-19.0




   FLAG LEGEND           L=Low L!=Low Critical       H=High H!=High Critical       A=Abnormal A! =Abnormal Critical
                                                                                               Page 1 of 1
           Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 106 of 164
                                          Bureau of Prisons                                  Higgs_0098

                                           Health Services
                                           Cosign/Review
Inmate Name:    HIGGS, DUSTIN JOHN                                              Reg #:      31133-037
Date of Birth:  03/10/1972                   Sex:          M                    Race:       BLACK
Encounter Date: 02/05/2020 15:51             Provider:     Lab Result Receive   Facility:   THP

Cosigned by Wilson, William E. MD/CD on 02/06/2020 09:40.




                                             Bureau of Prisons - THA
              Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 107 of 164
                                                                                                   Higgs_0099




                                        USP Terre-Haute THP
Patient:         HIGGS, DUSTIN (Male)                                 DOB:              03/10/72
Register#:       31133-037                                            Age:              48
Date:            12/30/20 13:47                                       Status:           OP
Slicecount:      3
History:         CHEST X-RAY FOR INTERMITTENT FEELINGS OF DIFFICULTY CATCHING BREATH.
                 COVID RECOVERED.
Priors:
Exams:          FILM CXR 2 VIEWS
Referring Phy:
Ordering Phy:
Ordering Phy #:
Accession Numbers: 202#BOP00220368
                                                   Final Report

Exam: FILM CXR 2 VIEWS

HISTORY: Intermittent feelings of difficulty catching breath. Recovered from Covid-19
TECHNIQUE: Frontal and lateral views of the chest.
COMPARISON: 10/18/2018
FINDINGS: Normal lung volumes. Right apical reticular nodular density appears unchanged.
Otherwise, the lungs remain clear. No acute airspace disease or pulmonary edema.

Normal cardiomediastinal contours for age.
No pleural effusion or pneumothorax.
No acute osseous abnormalities.
IMPRESSION: Stable chest examination without acute cardiopulmonary process. Clear lungs except
for unchanged right apical reticular nodular density.


Radiologist:                   Justin Yoon, MD
Study ready at 13:48 and initial results transmitted at 13:50
            Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 108 of 164
                                          Bureau of Prisons                         Higgs_0100
                                           Health Services
                                           Cosign/Review
Inmate Name:     HIGGS, DUSTIN JOHN                                    Reg #:      31133-037
Date of Birth:   03/10/1972                  Sex:          M           Race:       BLACK
Scanned Date:    12/30/2020 14:54 EST                                  Facility:   THP

Reviewed by Wilson, William E. MD/CD on 12/30/2020 15:02.




                                             Bureau of Prisons - THA
Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 109 of 164
                                                                Higgs_0101
Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 110 of 164
                                                                Higgs_0102
            Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 111 of 164
                                          Bureau of Prisons                         Higgs_0103
                                           Health Services
                                           Cosign/Review
Inmate Name:     HIGGS, DUSTIN JOHN                                    Reg #:      31133-037
Date of Birth:   03/10/1972                  Sex:          M           Race:       BLACK
Scanned Date:    12/03/2020 06:49 EST                                  Facility:   THP

Reviewed by Wilson, William E. MD/CD on 12/28/2020 14:02.




                                             Bureau of Prisons - THA
Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 112 of 164
                                                                       Higgs_0104
Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 113 of 164
                                                                Higgs_0105
05/29/2020Case
            09 : 37Preci se Speci alties Corpo ra tion                                   (FAX)2175326808               P . 003/008
                 1:19-mc-00145-TSC        Document         380-4 Filed 12/31/20 Page 114 of 164
       May. 29. 2020 10: 40AM                                                                         No, 1844       P. 20
                                                                                                                    Higgs_0106
        DUSTIN HIGGS 5/26/2020                                                                                      Page 1 of2


                                                                                                            Study ID: 13015$




                                                  Providence Medical Group
                          •
                     ,,.,,
                                                      2723 South 7th Street
                                                     Terre Haute, IN 47802 ·
                                                         (812) 232-8164
                                                         (812) 234-6391 (fax)


                                                 Resting Echocardiogram Report

             "3\ \~~-031-
         Name: HIGGS. DUSTIN                  Study Date: 05/26/2020 03:51 PM
         MRN: 264078
         DOB: 03/10/1972                       Gender: Male                                          Height: 75 in
         Age: 48 yrs                                                                                Weight; 175 lb
          Primary Care Phy~ician:
         Reason For Study: Mttral Regurgitation                                                      BSA: 2.1 meters2
         CPT Code: 93306 Comp. Echo w/0.oppler & Color.

         MMode/20 Measurements & calc;ylatjons
         LVIDd: 4.2 cm   FS: :24 %    Ao root dtara: 3.3 cm                                LVOT diam: 2.2 em
         LVIDs: 3.2 cm


         Dgppler Measurements & ca1cu1ations
         MVEIA: l.S



        Results
        A complete 2-D, M-Mode echocardiogram was performed utilizing doppler and color-flow mapping
        sho"1Il.g the following results:. The left ventricle is normal in size. There is normal left ventricular wall
        thickness. Left ventricular systolic fimction is nonnal. Ejection Fraction= 60-65¾. The transmitral
        spectral Doppler flow pattern is normal for age. No regional wall motion abnormalities noted. The right
        Yentrlcle is normal in size and function. The left atrium is borderline dilated. Right atrial size is normal.
        There is moderate mitral valve prolapse. Prolapse of the anterior mitral leaflet. There is moderate mitral
        regurgitation. The mitral regurgitantjet is posteriorly directed, which is consistent with anterior leaflet
        pathology. The tricuspid valve is not well visualized, but is grossly normal. Doppler :fmdings do not
        suggest puhnonary hypertension. The aortic valve is trileaflet. The aortic valve opens well. No aortic
        regurgitation is present The pulmonic valve is not well seen, but is grossly normal. The aortic root is
        normal size. There is no pericardia! effusion. Compared with 5/7/2019 study, tebre is no significant
        change.
         CONCLUSION:
         STUDY PERFORMED ON 05/20/2020.                                                                     USP
         The left ventricle is nonnal in size.                                                         : ~ Dl ~ . 1·· 411 fl I
         Left ventricular systolic function is normal.
         Ejection Fraction= 60-65%.


         file://C:\Proara.m Fi1es\Philin1s\Xc:~ler,i\Rtmnm~ulvl 1O1 'iR   Vl'\t'1   in~flQ?4-Q\(}7,:;l'\??1 R htm    ~/?Q/?0?11
05/29/2020  09:37Precise Specialties Corporation          (FAX)2175326808                                             P.004/008
         Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20    Page 115 of 164
      May, 29, 2020 10:41AM                                                                            No. 1844    P. 21
                                                                                                                  Higgs_0107
        DUSTIN HIGGS S/'26/2020                                                                                   Page 2 of2


        The transmitral spectral Doppler flow pattern is nonnal for age.
        There is moderate mitral valve prolapse.
        Prolapse of the anterior mitral leaflet.
        There is moderate mitral regurgitation.
        The mitral regurgitant jet is posteriorly directed, which is consistent with anterior leaflet pathology.
        Doppler findings do not suggest pu.lmonazy hypertension.
        Compared with 5/7/2019 study, tehre is no significant change.




        Re2'dlng Physician: ........AA,s..es:s.z_:u        --·---· ......-.........   M.   _ ___ _

                                                                                                     •-=•
                                  John Yacoub, MD. FACC on 05/27/2020 03:37 PM
        Ordering Physician: Dr Frank




       file://C:\P;rogram Files\Philips\Xcelera\Reoort\studv13015$ verl inst3924-9\076e2218.h~ 5/29/2020
            Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 116 of 164
                                          Bureau of Prisons                         Higgs_0108
                                           Health Services
                                           Cosign/Review
Inmate Name:     HIGGS, DUSTIN JOHN                                    Reg #:      31133-037
Date of Birth:   03/10/1972                  Sex:          M           Race:       BLACK
Scanned Date:    05/29/2020 12:14 EST                                  Facility:   THP

Reviewed by Trueblood, Elizabeth MD on 07/13/2020 14:11.




                                             Bureau of Prisons - THA
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            Attachment 2
                   Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 118 of 164
                                                        Bureau of Prisons                                    Johnson_0001
                                                         Health Services
                                                        Clinical Encounter
Inmate Name: JOHNSON, CORY                                                                       Reg #: 27832-054
Date of Birth: 11/05/1968                                Sex:      M   Race: BLACK               Facility: THP
Encounter Date: 12/29/2020 14:02                         Provider: McGuire, Cody NREMT-P         Unit:     X01


EMT/Para - Sick Call encounter performed at Special Housing Unit.
SUBJECTIVE:
    COMPLAINT 1                Provider: McGuire, Cody NREMT-P
       Chief Complaint: Dental Problem
       Subjective:   "My filling fell out" Back lower right
       Pain:         Yes
       Pain Assessment
         Date:                       12/29/2020 14:02
         Location:                   Tooth
         Quality of Pain:            Aching
         Pain Scale:                 2
         Intervention:               dental sick call
         Trauma Date/Year:
         Injury:
         Mechanism:
         Onset:                      1-2 Days
         Duration:                   1-2 Days
         Exacerbating Factors:       none
         Relieving Factors:          none
         Reason Not Done:
         Comments:

OBJECTIVE:

 Exam Comments
    Obvious displacement of a previous filling on lower, back ,right hand molar. No signs of infection, swelling.
ASSESSMENT:
        Dental Problem Needing Dental Followup
        Pt reports at cell door with a missing filling in a beck lower right hand molar. Pt wishes to be seen by dental services. Will
        cosign dental and place on scheduler.
PLAN:

Schedule:
    Activity                                                Date Scheduled          Scheduled Provider
    Dental Sick Call                                        01/05/2021 00:00 Dental
Disposition:
    Follow-up at Sick Call as Needed

Patient Education Topics:
    Date Initiated Format                             Handout/Topic                              Provider              Outcome

Generated 12/29/2020 14:09 by McGuire, Cody NREMT-P       Bureau of Prisons - THP                                    Page 1 of 2
                 Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 119 of 164
Inmate Name: JOHNSON, CORY                                                                               Johnson_0002
                                                                                           Reg #: 27832-054
Date of Birth: 11/05/1968                                Sex:      M   Race: BLACK         Facility: THP
Encounter Date: 12/29/2020 14:02                         Provider: McGuire, Cody NREMT-P   Unit:     X01

    Date Initiated Format                             Handout/Topic                        Provider               Outcome
    12/29/2020     Counseling                         Access to Care                       McGuire, Cody          Verbalizes
                                                                                                                  Understanding

Copay Required:No                         Cosign Required: Yes
Telephone/Verbal Order: Yes              By: Bachmann, Kimberly DDS
Telephone or Verbal order read back and verified.


Completed by McGuire, Cody NREMT-P on 12/29/2020 14:09
Requested to be cosigned by Bachmann, Kimberly DDS.
Cosign documentation will be displayed on the following page.




Generated 12/29/2020 14:09 by McGuire, Cody NREMT-P        Bureau of Prisons - THP                              Page 2 of 2
           Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 120 of 164
                                        Bureau of Prisons                                   Johnson_0003
                                         Health Services
                                         Cosign/Review
Inmate Name:    JOHNSON, CORY                                                   Reg #:      27832-054
Date of Birth:  11/05/1968                 Sex:          M                      Race:       BLACK
Encounter Date: 12/29/2020 14:02           Provider:     McGuire, Cody NREMT-   Facility:   THP

Cosigned by Bachmann, Kimberly DDS on 12/30/2020 07:35.




                                           Bureau of Prisons - THA
                 Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 121 of 164
                                                       Bureau of Prisons                                        Johnson_0004
                                                        Health Services
                                                       Clinical Encounter
Inmate Name: JOHNSON, CORY                                                                          Reg #: 27832-054
Date of Birth: 11/05/1968                                   Sex:      M    Race: BLACK              Facility: THP
Encounter Date: 12/27/2020 07:45                            Provider: Frank, Casey FNP              Unit:     X01


Mid Level Provider - Evaluation encounter performed at Special Housing Unit.
SUBJECTIVE:
    COMPLAINT 1                  Provider: Frank, Casey FNP
        Chief Complaint: INFECTIOUS DISEASE
        Subjective:   f/u positive Abbott COVID-19 test 12/16/20 with confirmatory positive Quest test 12/21/20.
                      Reports having a, "little cough," described as non-productive. Denies any difficulty breathing
                      or overt c.o.
                      Denies fever, chills, night sweats, myalgia's, N/V/D, cough, SOB, DOE, or associated sx's.

                        PLAN:
                        Medically cleared from isolation status if appropriate from custody IDC standpoint.
        Pain:           No

OBJECTIVE:
Temperature:
    Date              Time            Fahrenheit      Celsius Location                  Provider
    12/27/2020        07:46 THX             97.2         36.2                           Frank, Casey FNP

Pulse:
     Date          Time              Rate Per Minute          Location                  Rhythm     Provider
     12/27/2020 07:46 THX                            72                                            Frank, Casey FNP
Respirations:
     Date                 Time               Rate Per Minute Provider
     12/27/2020           07:46 THX                           18 Frank, Casey FNP
Blood Pressure:
     Date       Time              Value          Location        Position              Cuff Size   Provider
     12/27/2020 07:46 THX         Refused                                                          Frank, Casey FNP
SaO2:
     Date             Time            Value(%) Air                           Provider
     12/27/2020       07:46 THX        Refused                               Frank, Casey FNP

 ROS Comments
    General: Negative fever, chills, night sweats, weight loss, appetite change, or fatigue.
    Integumentary: Negative rash, wound, or skin breakdown.
    HEENT: Denies visual changes, watery eyes, runny nose, allergies, sinus pressure, or neck pain.
    Cardiovascular: Negative CP, SOB, DOE, Angina, Cough, Edema, Orthopnea, PND, Syncope, or palpitations.
    Pulmonary: Reports mild, non-productive cough without difficulty breathing. Negative SOB, DOE, Dyspnea, or
    hemoptysis.
    GI: Negative abdominal pain, colic, bloating, N/V/D, or constipation..
    GU: Negative Nocturia, Hematuria, Hesitancy, bladder dysfunction, Incontinence, Urgency, Urinary Frequency, Urinary
    Retention, or Dysuria.
    Musculoskeletal: Negative back pain, muscle aches, or extremity discomfort.
    Neurological: CN 2-12 grossly intact. Negative dizziness, H/A, or weakness.
    Psychiatric: Negative impaired mood.

Generated 12/27/2020 08:54 by Frank, Casey FNP               Bureau of Prisons - THP                                   Page 1 of 2
                 Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 122 of 164
Inmate Name: JOHNSON, CORY                                                                                  Johnson_0005
                                                                                              Reg #: 27832-054
Date of Birth: 11/05/1968                            Sex:      M    Race: BLACK               Facility: THP
Encounter Date: 12/27/2020 07:45                     Provider: Frank, Casey FNP               Unit:     X01

   Lymphatics: Negative generalized lymphadenopathy.
   ROS reviewed and otherwise unremarkable.
 Exam Comments
    Wearing mask due to COVID-19 pandemic and evaluated with officers and Lieutenant.
    General: Affect Pleasant and cooperative.
    Skin: WNL. Dry and intact.
    Head: Symmetry of motor function, Atraumatic/Normocephalic.
    Pharynx: Patent airway.
    Neck: WNL, supple, symmetric, trachea midline. Musculoskeletal WNL, full ROM without tenderness, swelling, or
    muscle spasms.
    Pulmonary: Thorax: Inspection WNL with normal thoracic expansion, normal diaphragmatic excursion, Clear to
    auscultation without crackles, rhonchi, wheezing, or pleural rub.
    Cardiovascular: Observation WNL. Normal Rate, Regular Rhythm without tachycardia, bradycardia, irregular rhythm, or
    cardiopulmonary distress. Auscultation: Regular Rate and Rhythm (RRR), Normal S1 and S2 without M/R/G, S3, S4.
    Vascular: WNL.
    Peripheral Vascular: General WNL.
    Abdomen: Inspection: WNL. Auscultation: Normal active bowel sounds. Negative arterial bruits. Palpation: WNL. Soft,
    non-tender without guarding, rigidity, overt mass or organomegaly, or evidence of acute abdomen.
    Musculoskeletal: WNL. Full normal generalized active/passive ROM. Ambulating without difficulty.
    Neurologic: Cranial Nerves (CN) 2-12 grossly intact.
    Psych: Negative flat affect. Conversing without difficulty.
    Lymphatic's: Negative generalized or localized lymphadenopathy.
ASSESSMENT:

Confirmed case COVID-19, U07.1 - Resolved

PLAN:

Disposition:
    Follow-up at Sick Call as Needed

Patient Education Topics:
    Date Initiated Format                         Handout/Topic                               Provider               Outcome
    12/27/2020     Counseling                     Plan of Care                                Frank, Casey           Verbalizes
                                                                                                                     Understanding
         Plan of care including medical clearance from isolation status. Callback criteria.

Copay Required:No                           Cosign Required: No
Telephone/Verbal Order: No
Completed by Frank, Casey FNP on 12/27/2020 08:54




Generated 12/27/2020 08:54 by Frank, Casey FNP         Bureau of Prisons - THP                                     Page 2 of 2
                Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 123 of 164
                                                                                                           Johnson_0006
                                               Bureau of Prisons
                                                Health Services
                                    Clinical Encounter - Administrative Note
Inmate Name:        JOHNSON, CORY                                                              Reg #:      27832-054
Date of Birth:      11/05/1968                            Sex:      M     Race:BLACK           Facility:   THP
Note Date:          12/16/2020 14:37                      Provider: Bixler, Tracy RN           Unit:       X01


Admin Note - Orders encounter performed at Health Services.
Administrative Notes:
      ADMINISTRATIVE NOTE 1                          Provider: Bixler, Tracy RN
          Surveillance Covid testing

New Laboratory Requests:
   Details                                             Frequency                     Due Date              Priority
   Lab Tests-C-COVID-19 Novel Coronavirus              One Time                      12/16/2020 00:00      Today
       Lab personnel verbally notified of a priority order of Today or Stat

Copay Required:No                                Cosign Required: Yes
Telephone/Verbal Order: No
Completed by Bixler, Tracy RN on 12/16/2020 14:38
Requested to be cosigned by Wilson, William E. MD/CD.
Cosign documentation will be displayed on the following page.




Generated 12/16/2020 14:38 by Bixler, Tracy RN             Bureau of Prisons - THA                              Page 1 of 1
           Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 124 of 164
                                          Bureau of Prisons                               Johnson_0007
                                           Health Services
                                           Cosign/Review
Inmate Name:    JOHNSON, CORY                                                 Reg #:      27832-054
Date of Birth:  11/05/1968                   Sex:          M                  Race:       BLACK
Encounter Date: 12/16/2020 14:37             Provider:     Bixler, Tracy RN   Facility:   THP

Cosigned by Trueblood, Elizabeth MD on 12/17/2020 14:26.




                                             Bureau of Prisons - THA
                Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 125 of 164
                                                                                                   Johnson_0008
                                               Bureau of Prisons
                                                Health Services
                                    Clinical Encounter - Administrative Note
Inmate Name:        JOHNSON, CORY                                                      Reg #:       27832-054
Date of Birth:      11/05/1968                            Sex:      M     Race:BLACK   Facility:    THP
Note Date:          02/10/2020 11:03                      Provider: Bixler, Tracy RN   Unit:        X02


Admin Note - Orders encounter performed at Health Services.
Administrative Notes:
      ADMINISTRATIVE NOTE 1             Provider: Bixler, Tracy RN
          FOBT x3 per National Performance Measures per CD.

New Non-Medication Orders:
Order                   Frequency                        Duration           Details                Ordered By
Fecal Occult Blood      One Time                                            x3                     Bixler, Tracy RN
                        Order Date:                 02/10/2020

Copay Required:No                                Cosign Required: Yes
Telephone/Verbal Order: No
Completed by Bixler, Tracy RN on 02/10/2020 11:04
Requested to be cosigned by Wilson, William E. MD/CD.
Cosign documentation will be displayed on the following page.




Generated 02/10/2020 11:04 by Bixler, Tracy RN             Bureau of Prisons - THP                       Page 1 of 1
           Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 126 of 164
                                          Bureau of Prisons                               Johnson_0009

                                           Health Services
                                           Cosign/Review
Inmate Name:    JOHNSON, CORY                                                 Reg #:      27832-054
Date of Birth:  11/05/1968                   Sex:          M                  Race:       BLACK
Encounter Date: 02/10/2020 11:03             Provider:     Bixler, Tracy RN   Facility:   THP

Cosigned by Wilson, William E. MD/CD on 02/10/2020 15:02.




                                             Bureau of Prisons - THA
              Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 127 of 164
                                                     Bureau of Prisons                               Johnson_0010
                                                      Health Services
                                                         Vitals All
Begin Date: 01/01/2020                                  End Date:    12/30/2020
Reg #:      27832-054                                   Inmate Name: JOHNSON, CORY

Temperature:
     Date             Time           Fahrenheit      Celsius Location            Provider
     12/30/2020     08:00 THX             96.6      35.9 Forehead            Beal, Carly RN
         Patient states "I'm okay, I'm good" when asked if experiencing any symptoms today.
              Orig Entered: 12/30/2020 16:58 EST Beal, Carly RN
     12/30/2020     08:00 THX             96.6      35.9                     Beal, Carly RN
             Orig Entered: 12/30/2020 17:09 EST Beal, Carly RN
     12/29/2020    13:48 THX          97.4     36.3               McGuire, Cody NREMT-P
             Orig Entered: 12/29/2020 13:49 EST McGuire, Cody NREMT-P
     12/28/2020    13:04 THX          97.6     36.4               McGuire, Cody NREMT-P
             Orig Entered: 12/28/2020 13:05 EST McGuire, Cody NREMT-P
     12/27/2020    07:46 THX          97.2     36.2               Frank, Casey FNP
             Orig Entered: 12/27/2020 08:44 EST Frank, Casey FNP
     12/26/2020    13:57 THX          97.6     36.4                              Miller, Kasha RN
             Orig Entered: 12/26/2020 13:58 EST Miller, Kasha RN
     12/25/2020    07:00 THX          96.0     35.6                              Beal, Carly RN
             Orig Entered: 12/25/2020 15:25 EST Beal, Carly RN
     12/24/2020    08:00 THX          96.3     35.7                              Beal, Carly RN
             Orig Entered: 12/24/2020 14:29 EST Beal, Carly RN
     12/23/2020    08:00 THX          98.1     36.7 Forehead                     Lubbehusen, K. RN
             Orig Entered: 12/24/2020 00:38 EST Lubbehusen, K. RN
     12/23/2020    08:00 THX          98.1     36.7 Forehead                     Lubbehusen, K. RN
             Orig Entered: 12/24/2020 00:40 EST Lubbehusen, K. RN
     12/22/2020    13:36 THX          96.7     35.9               McGuire, Cody NREMT-P
             Orig Entered: 12/22/2020 13:37 EST McGuire, Cody NREMT-P
     12/22/2020    10:28 THX          98.6     37.0               Durr, R. NRP
             Orig Entered: 12/22/2020 10:29 EST Durr, R. NRP
     12/21/2020    13:09 THX          97.9     36.6               McGuire, Cody NREMT-P
             Orig Entered: 12/21/2020 13:11 EST McGuire, Cody NREMT-P
     12/20/2020    12:30 THX          96.9     36.1               McGuire, Cody NREMT-P
             Orig Entered: 12/20/2020 13:05 EST McGuire, Cody NREMT-P
     12/20/2020    08:31 THX          96.8     36.0               Beal, Carly RN
             Orig Entered: 12/20/2020 08:33 EST Beal, Carly RN
     12/19/2020    14:23 THX          96.3     35.7                              Beal, Carly RN
             Orig Entered: 12/19/2020 14:24 EST Beal, Carly RN
     12/19/2020    08:00 THX          97.6     36.4                              Beal, Carly RN
             Orig Entered: 12/19/2020 14:19 EST Beal, Carly RN
     12/19/2020    08:00 THX          96.3     35.7                              Beal, Carly RN
             Orig Entered: 12/19/2020 14:21 EST Beal, Carly RN
             Last Updated: 12/19/2020 14:24 EST Beal, Carly RN
     12/18/2020    14:07 THX          96.7     35.9                              Beal, Carly RN

Generated 12/30/2020 17:17 by Smiledge, Shauna HSA     Bureau of Prisons - THP                           Page 1 of 3
              Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 128 of 164
Begin Date: 01/01/2020                                     End Date:    12/30/2020                          Johnson_0011
Reg #:      27832-054                                      Inmate Name: JOHNSON, CORY

     Date          Time        Fahrenheit Celsius Location                            Provider
             Orig Entered: 12/18/2020 14:08 EST Beal, Carly RN
     12/18/2020    14:07 THX          97.6     36.4                                   Beal, Carly RN
             Orig Entered: 12/18/2020 14:09 EST Beal, Carly RN
     12/17/2020    13:20 THX          96.1     35.6                                   Durr, R. NRP
             Orig Entered: 12/17/2020 13:21 EST Durr, R. NRP
     12/17/2020    11:10 THX          98.3     36.8                                   Beal, Carly RN
               Orig Entered: 12/17/2020 11:12 EST Beal, Carly RN

Pulse:
     Date         Time              Rate Per Minute           Location               Rhythm      Provider
     12/27/2020 07:46 THX                            72                                          Frank, Casey FNP
             Orig Entered: 12/27/2020 08:44 EST Frank, Casey FNP
     12/20/2020 08:31 THX                   84                                                   Beal, Carly RN
             Orig Entered: 12/20/2020 08:33 EST Beal, Carly RN
     12/19/2020 14:23 THX                   86                                                   Beal, Carly RN
             Orig Entered: 12/19/2020 14:24 EST Beal, Carly RN
     12/19/2020 08:00 THX                   86                                                   Beal, Carly RN
             Orig Entered: 12/19/2020 14:19 EST Beal, Carly RN
     12/19/2020 08:00 THX                   86                                                   Beal, Carly RN
             Orig Entered: 12/19/2020 14:21 EST Beal, Carly RN
             Last Updated: 12/19/2020 14:24 EST Beal, Carly RN
     12/18/2020 14:07 THX                   80                                                   Beal, Carly RN
             Orig Entered: 12/18/2020 14:08 EST Beal, Carly RN
     12/18/2020 14:07 THX                   82                                                   Beal, Carly RN
             Orig Entered: 12/18/2020 14:09 EST Beal, Carly RN
     12/17/2020 13:20 THX                   80                                                   Durr, R. NRP
             Orig Entered: 12/17/2020 13:21 EST Durr, R. NRP
     12/17/2020 11:10 THX                   98                                                   Beal, Carly RN
               Orig Entered: 12/17/2020 11:12 EST Beal, Carly RN

Respirations:
     Date                 Time              Rate Per Minute Provider
     12/27/2020           07:46 THX                           18 Frank, Casey FNP

             Orig Entered: 12/27/2020 08:44 EST Frank, Casey FNP
     12/18/2020       14:07 THX                 16 Beal, Carly RN

             Orig Entered: 12/18/2020 14:08 EST Beal, Carly RN
     12/18/2020       14:07 THX                 16 Beal, Carly RN

               Orig Entered: 12/18/2020 14:09 EST Beal, Carly RN

Blood Pressure:
     Date          Time          Value        Location            Position          Cuff Size    Provider
     12/27/2020 07:46 THX        Refused                                                         Frank, Casey FNP
               Orig Entered: 12/27/2020 08:44 EST Frank, Casey FNP

SaO2:
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Begin Date: 01/01/2020                                End Date:    12/30/2020              Johnson_0012
Reg #:      27832-054                                 Inmate Name: JOHNSON, CORY

     Date             Time            Value(%) Air                      Provider
     12/27/2020       07:46 THX        Refused                          Frank, Casey FNP
             Orig Entered: 12/27/2020 08:44 EST Frank, Casey FNP
     12/26/2020    13:57 THX          99                     Miller, Kasha RN
             Orig Entered: 12/26/2020 13:58 EST Miller, Kasha RN
     12/20/2020    08:31 THX          97                      Beal, Carly RN
             Orig Entered: 12/20/2020 08:33 EST Beal, Carly RN
     12/19/2020    14:23 THX          99                     Beal, Carly RN
             Orig Entered: 12/19/2020 14:24 EST Beal, Carly RN
     12/19/2020    08:00 THX          98                     Beal, Carly RN
             Orig Entered: 12/19/2020 14:19 EST Beal, Carly RN
     12/19/2020    08:00 THX          99                     Beal, Carly RN
             Orig Entered: 12/19/2020 14:21 EST Beal, Carly RN
             Last Updated: 12/19/2020 14:24 EST Beal, Carly RN
     12/18/2020    14:07 THX          98                     Beal, Carly RN
             Orig Entered: 12/18/2020 14:08 EST Beal, Carly RN
     12/18/2020    14:07 THX          99                     Beal, Carly RN
             Orig Entered: 12/18/2020 14:09 EST Beal, Carly RN
     12/17/2020    13:20 THX          98                     Durr, R. NRP
             Orig Entered: 12/17/2020 13:21 EST Durr, R. NRP
     12/17/2020    11:10 THX          98                     Beal, Carly RN
               Orig Entered: 12/17/2020 11:12 EST Beal, Carly RN




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                                                                          Health Services
                                                                               PPDs
Reg #: 27832-054                                      Inmate Name: JOHNSON, CORY

Admin:                  Location                      Provider                          Reading:               Induration      Provider
05/21/2020 11:50        Left Forearm                  Miller, Kasha RN                  05/23/2020 15:11       0 mm            Miller, Kasha RN
     asymptomatic                                                                       asymptomatic
        Orig Entered:  05/21/2020 11:51 EST Miller, Kasha RN                              Orig Entered: 05/23/2020 15:11 EST Miller, Kasha RN
05/12/2019 16:00 Left Forearm                          Keller, Kelly RN/BSN, Health     05/14/2019 16:56       0 mm            Keller, Kelly RN/BSN, Health
     denies fever, cough, night sweats, blood tinged sputum, or weight loss
       Orig Entered: 05/12/2019 16:37 EST Keller, Kelly RN/BSN, Health                     Orig Entered: 05/14/2019 16:56 EST Keller, Kelly RN/BSN, Health Information
                                                 Information Technician                                                              Technician
05/11/2018 09:11 Left Forearm                          May, Joseph RN, CWCN             05/13/2018 11:16         0 mm                  Walters, Sarah RN
                                                                                        denies any s/s TB.
        Orig Entered:    05/11/2018 09:12 EST May, Joseph RN, CWCN                        Orig Entered: 05/13/2018 11:16 EST Walters, Sarah RN
05/17/2017 14:04        Left Forearm               May, Joseph RN, CWCN                 05/19/2017 17:53         0 mm                  May, Joseph RN, CWCN
                                                                                        Denies fever, cough, bloody sputum, night sweats, or unexplained weakness.
        Orig Entered:    05/17/2017 14:05 EST May, Joseph RN, CWCN                        Orig Entered: 05/19/2017 17:53 EST May, Joseph RN, CWCN
05/10/2017 10:42        Left Forearm               Brazzell, Susan HSA                  05/12/2017 13:38         0 mm                  May, Joseph RN, CWCN
                                                                                        Denies fever, cough, bloody sputum, night sweats, or weight loss.
        Orig Entered:    05/10/2017 10:43 EST Brazzell, Susan HSA                         Orig Entered: 05/12/2017 13:38 EST May, Joseph RN, CWCN
06/02/2016 12:20        Left Forearm               Clingerman, Nicole LPN               06/04/2016 16:02         0 mm                  McGee, Cindy NR-P,AHSA
     asymptomatic                                                                       No signs or symptoms of TB noted including fever, night sweats, or cough
        Orig Entered:   06/02/2016 12:21 EST Clingerman, Nicole LPN                       Orig Entered: 06/04/2016 16:03 EST McGee, Cindy NR-P,AHSA
05/29/2015 07:33 Left Forearm                      Keller, Kelly RN/BSN, Health         05/31/2015 09:20         0 mm                  Brazzell, Susan HSA
     denies s/s of active TB                                                            no signs or symptoms of cold and flu like illness.
       Orig Entered: 05/29/2015 07:34 EST Keller, Kelly RN/BSN, Health                    Orig Entered: 05/31/2015 09:20 EST Brazzell, Susan HSA
                                             Information Technician
06/04/2014 09:24 Left Forearm                      Booth, Sara RN/AHSA                  06/06/2014 09:40       0 mm            Booth, Sara RN/AHSA
                                                                                        No s/s of TB
        Orig Entered:    06/04/2014 09:25 EST Booth, Sara RN/AHSA                         Orig Entered: 06/06/2014 09:40 EST Booth, Sara RN/AHSA
06/04/2013 14:21        Left Forearm               Heiser, Tracy RN                     06/06/2013 14:29       0 mm            Heiser, Tracy RN
                                                                                        no s/s of TB
        Orig Entered:    06/04/2013 14:22 EST Heiser, Tracy RN                            Orig Entered: 06/06/2013 14:29 EST Heiser, Tracy RN
06/27/2012 10:26        Left Forearm               Warner, Krista HIT                   06/29/2012 12:40       0 mm            Heiser, Tracy RN
                                                                                        no s/s of TB

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                                                                         Health Services
                                                                              PPDs
Reg #: 27832-054                                     Inmate Name: JOHNSON, CORY

Admin:                   Location                  Provider                              Reading:              Induration      Provider
         Orig Entered:    06/27/2012 10:27 EST Warner, Krista HIT                           Orig Entered:
                                                                                                        06/29/2012 12:40 EST Heiser, Tracy RN
06/21/2011 09:52         Left Forearm              Heiser, Tracy RN                      06/23/2011 12:24      0 mm            Heiser, Tracy RN
     no s/s tb
         Orig Entered:    06/21/2011 09:53 EST Heiser, Tracy RN                             Orig Entered:06/23/2011 12:24 EST Heiser, Tracy RN
06/13/2010 11:46         Left Forearm               Haddix, Trisha RN                    06/15/2010 12:23       0 mm            Haddix, Trisha RN
                                                                                         Asymptomatic
         Orig Entered:    06/13/2010 11:48 EST Haddix, Trisha RN                           Orig Entered: 06/15/2010 12:24 EST Haddix, Trisha RN
06/15/2009 10:00         Left Forearm               Scully, Karen RN, IDC                06/17/2009 10:21       0 mm            Scully, Karen RN, IDC
     LATE ENTRY
         Orig Entered:    06/16/2009 06:48 EST Scully, Karen RN, IDC                        Orig Entered:
                                                                                                        06/17/2009 10:21 EST Scully, Karen RN, IDC
06/03/2008 10:05         Left Forearm                Scully, Karen RN, IDC               06/05/2008 10:06      0 mm            Scully, Karen RN, IDC
         Orig Entered:   06/06/2008 10:06 EST Scully, Karen RN, IDC                         Orig Entered:   06/06/2008 10:07 EST Scully, Karen RN, IDC
Total: 14




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                                                    SCREENINGS
Inmate Name: JOHNSON, CORY                                                                    Reg #: 27832-054
Date of Birth: 11/05/1968                           Sex: M         Race: BLACK                Facility: THP
Encounter Date: 12/30/2020 08:00                    Provider: Beal, Carly RN                  Unit:     X01


Screenings:
    COVID-19
       Isolation
           No: Cough, Shortness of Breath
   Comments
       Patient states "I'm okay, I'm good" when asked if experiencing any symptoms.
Temperature:
    Date              Time            Fahrenheit   Celsius Location              Provider
    12/30/2020        08:00 THX             96.6      35.9                       Beal, Carly RN



Cosign Required:No
Completed by Beal, Carly RN on 12/30/2020 17:09.




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                                                    SCREENINGS
Inmate Name: JOHNSON, CORY                                                                     Reg #: 27832-054
Date of Birth: 11/05/1968                              Sex: M        Race: BLACK               Facility: THP
Encounter Date: 12/29/2020 13:47                       Provider: McGuire, Cody NREMT-P         Unit:     X01


Screenings:
    COVID-19
       Isolation
           Yes: Cough (Duration/Describe: persistent)
           No: Shortness of Breath, Fatigue, Body aches, Sore throat, Diarrhea, Headache, Loss of taste or smell,
           Nausea or vomiting
Temperature:
    Date             Time           Fahrenheit        Celsius Location              Provider
    12/29/2020       13:48 THX            97.4           36.3                       McGuire, Cody NREMT-P



Cosign Required:No
Completed by McGuire, Cody NREMT-P on 12/29/2020 13:49.




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                                                    SCREENINGS
Inmate Name: JOHNSON, CORY                                                                     Reg #: 27832-054
Date of Birth: 11/05/1968                              Sex: M        Race: BLACK               Facility: THP
Encounter Date: 12/28/2020 13:03                       Provider: McGuire, Cody NREMT-P         Unit:     X01


Screenings:
    COVID-19
       Isolation
           Yes: Cough (Duration/Describe: persistent), Sore throat
           No: Shortness of Breath, Fatigue, Body aches, Diarrhea, Headache, Loss of taste or smell, Nausea or
           vomiting
Temperature:
    Date             Time           Fahrenheit        Celsius Location              Provider
    12/28/2020       13:04 THX            97.6           36.4                       McGuire, Cody NREMT-P



Cosign Required:No
Completed by McGuire, Cody NREMT-P on 12/28/2020 13:05.




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                                                      SCREENINGS
Inmate Name: JOHNSON, CORY                                                                     Reg #: 27832-054
Date of Birth: 11/05/1968                             Sex: M          Race: BLACK              Facility: THP
Encounter Date: 12/26/2020 13:57                      Provider: Miller, Kasha RN               Unit:     X01


Screenings:
    COVID-19
       Isolation
           No: Vital Signs w/O2 sat recorded in flowsheet, Cough, Fatigue, Body aches, Sore throat, Diarrhea,
           Headache, Loss of taste or smell, Nausea or vomiting
   Comments
       Reports breathing has improved.
Temperature:
    Date              Time             Fahrenheit   Celsius Location              Provider
    12/26/2020        13:57 THX              97.6      36.4                       Miller, Kasha RN


SaO2:
    Date              Time             Value(%) Air                     Provider
    12/26/2020        13:57 THX              99                         Miller, Kasha RN

Cosign Required:No
Completed by Miller, Kasha RN on 12/26/2020 13:58.




Generated 12/26/2020 13:58 by Miller, Kasha RN          Bureau of Prisons - THP                                   Page 1 of 1
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                                                    SCREENINGS
Inmate Name: JOHNSON, CORY                                                                    Reg #: 27832-054
Date of Birth: 11/05/1968                           Sex: M         Race: BLACK                Facility: THP
Encounter Date: 12/25/2020 07:00                    Provider: Beal, Carly RN                  Unit:     X01


Screenings:
    COVID-19
       Isolation
           No: Cough, Shortness of Breath, Fatigue, Body aches
   Comments
       nasal congestion
Temperature:
    Date              Time            Fahrenheit   Celsius Location              Provider
    12/25/2020        07:00 THX             96.0      35.6                       Beal, Carly RN



Cosign Required:No
Completed by Beal, Carly RN on 12/25/2020 15:25.




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                                                    SCREENINGS
Inmate Name: JOHNSON, CORY                                                                    Reg #: 27832-054
Date of Birth: 11/05/1968                           Sex: M         Race: BLACK                Facility: THP
Encounter Date: 12/24/2020 08:00                    Provider: Beal, Carly RN                  Unit:     X01


Screenings:
    COVID-19
       Isolation
           Yes: Headache
           No: Cough, Shortness of Breath, Fatigue, Body aches
Temperature:
    Date              Time            Fahrenheit   Celsius Location              Provider
    12/24/2020        08:00 THX             96.3      35.7                       Beal, Carly RN



Cosign Required:No
Completed by Beal, Carly RN on 12/24/2020 14:29.




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                                                       SCREENINGS
Inmate Name: JOHNSON, CORY                                                                    Reg #: 27832-054
Date of Birth: 11/05/1968                             Sex: M        Race: BLACK               Facility: THP
Encounter Date: 12/23/2020 08:00                      Provider: Lubbehusen, K. RN             Unit:     X01


Screenings:
    COVID-19
       Isolation
           Yes: Headache
           No: Cough, Shortness of Breath, Fatigue, Body aches, Sore throat, Diarrhea, Loss of taste or smell,
           Nausea or vomiting
Temperature:
    Date             Time            Fahrenheit     Celsius Location              Provider
    12/23/2020       08:00 THX             98.1        36.7 Forehead              Lubbehusen, K. RN



Cosign Required:No
Completed by Lubbehusen, K. RN on 12/24/2020 00:40.




Generated 12/24/2020 00:40 by Lubbehusen, K. RN         Bureau of Prisons - THP                                  Page 1 of 1
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                                                    SCREENINGS
Inmate Name: JOHNSON, CORY                                                                     Reg #: 27832-054
Date of Birth: 11/05/1968                              Sex: M        Race: BLACK               Facility: THP
Encounter Date: 12/22/2020 13:36                       Provider: McGuire, Cody NREMT-P         Unit:     X01


Screenings:
    COVID-19
       Isolation
              No: Vital Signs w/O2 sat recorded in flowsheet, Cough, Shortness of Breath, Fatigue, Body aches, Sore
              throat, Diarrhea, Headache, Loss of taste or smell, Nausea or vomiting
Temperature:
    Date             Time           Fahrenheit        Celsius Location              Provider
    12/22/2020       13:36 THX            96.7           35.9                       McGuire, Cody NREMT-P



Cosign Required:No
Completed by McGuire, Cody NREMT-P on 12/22/2020 13:37.




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                                                    SCREENINGS
Inmate Name: JOHNSON, CORY                                                                     Reg #: 27832-054
Date of Birth: 11/05/1968                              Sex: M        Race: BLACK               Facility: THP
Encounter Date: 12/21/2020 13:10                       Provider: McGuire, Cody NREMT-P         Unit:     X01


Screenings:
    COVID-19
       Isolation
           Yes: Cough (Duration/Describe: 3-5 days)
           No: Vital Signs w/O2 sat recorded in flowsheet, Shortness of Breath, Fatigue, Body aches, Sore throat,
           Diarrhea, Headache, Loss of taste or smell, Nausea or vomiting
Temperature:
    Date             Time           Fahrenheit        Celsius Location              Provider
    12/21/2020       13:09 THX            97.9           36.6                       McGuire, Cody NREMT-P



Cosign Required:No
Completed by McGuire, Cody NREMT-P on 12/21/2020 13:11.




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                                                   SCREENINGS
Inmate Name: JOHNSON, CORY                                                                      Reg #: 27832-054
Date of Birth: 11/05/1968                           Sex: M          Race: BLACK                 Facility: THP
Encounter Date: 12/21/2020 10:28                    Provider: Durr, R. NRP                      Unit:     X01


Screenings:
    COVID-19
       Isolation
               No: Cough, Shortness of Breath, Fatigue, Body aches, Sore throat, Diarrhea, Headache, Loss of taste or
               smell, Nausea or vomiting
Temperature:
    Date              Time            Fahrenheit   Celsius Location              Provider
    12/22/2020        10:28 THX             98.6      37.0                       Durr, R. NRP



Cosign Required:No
Completed by Durr, R. NRP on 12/22/2020 10:29.




Generated 12/22/2020 10:29 by Durr, R. NRP             Bureau of Prisons - THP                                     Page 1 of 1
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                                                    SCREENINGS
Inmate Name: JOHNSON, CORY                                                                     Reg #: 27832-054
Date of Birth: 11/05/1968                              Sex: M        Race: BLACK               Facility: THP
Encounter Date: 12/20/2020 12:30                       Provider: McGuire, Cody NREMT-P         Unit:     X01


Screenings:
    COVID-19
       Isolation
           Yes: Cough (Duration/Describe: New as of PM on 12-20-2020), Headache
           No: Vital Signs w/O2 sat recorded in flowsheet, Shortness of Breath, Fatigue, Body aches, Sore throat,
           Diarrhea, Loss of taste or smell, Nausea or vomiting
Temperature:
    Date             Time           Fahrenheit        Celsius Location              Provider
    12/20/2020       12:30 THX            96.9           36.1                       McGuire, Cody NREMT-P



Cosign Required:No
Completed by McGuire, Cody NREMT-P on 12/20/2020 13:05.




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                                                    SCREENINGS
Inmate Name: JOHNSON, CORY                                                                       Reg #: 27832-054
Date of Birth: 11/05/1968                               Sex: M         Race: BLACK               Facility: THP
Encounter Date: 12/20/2020 08:31                        Provider: Beal, Carly RN                 Unit:     X01


Screenings:
    COVID-19
       Isolation
           Yes: Vital Signs w/O2 sat recorded in flowsheet, Cough (Duration/Describe: This AM - dry cough)
   Comments
       stuffy nose
Temperature:
    Date              Time            Fahrenheit   Celsius Location                 Provider
    12/20/2020        08:31 THX             96.8      36.0                          Beal, Carly RN

Pulse:
    Date           Time              Rate Per Minute       Location                 Rhythm     Provider
    12/20/2020 08:31 THX                           84                                          Beal, Carly RN


SaO2:
    Date              Time             Value(%) Air                       Provider
    12/20/2020        08:31 THX              97                           Beal, Carly RN

Cosign Required:No
Completed by Beal, Carly RN on 12/20/2020 08:33.




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                                                    SCREENINGS
Inmate Name: JOHNSON, CORY                                                                       Reg #: 27832-054
Date of Birth: 11/05/1968                               Sex: M         Race: BLACK               Facility: THP
Encounter Date: 12/19/2020 14:24                        Provider: Beal, Carly RN                 Unit:     X01


Screenings:
   COVID-19
       Isolation
           Yes: Vital Signs w/O2 sat recorded in flowsheet
           No: Cough, Shortness of Breath, Fatigue, Body aches
   Comments
       runny nose
Temperature:
    Date              Time            Fahrenheit   Celsius Location                 Provider
    12/19/2020        14:23 THX             96.3      35.7                          Beal, Carly RN

Pulse:
    Date           Time              Rate Per Minute       Location                 Rhythm     Provider
    12/19/2020 14:23 THX                           86                                          Beal, Carly RN


SaO2:
    Date              Time             Value(%) Air                       Provider
    12/19/2020        14:23 THX              99                           Beal, Carly RN

Cosign Required:No
Completed by Beal, Carly RN on 12/19/2020 14:24.




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                                                    SCREENINGS
Inmate Name: JOHNSON, CORY                                                                       Reg #: 27832-054
Date of Birth: 11/05/1968                               Sex: M         Race: BLACK               Facility: THP
Encounter Date: 12/19/2020 08:00                        Provider: Beal, Carly RN                 Unit:     X01


Screenings:
    COVID-19
       Isolation
           Yes: Vital Signs w/O2 sat recorded in flowsheet
           No: Cough, Shortness of Breath, Fatigue, Body aches
Temperature:
    Date              Time            Fahrenheit   Celsius Location                 Provider
    12/19/2020        08:00 THX             97.6      36.4                          Beal, Carly RN

Pulse:
    Date           Time              Rate Per Minute       Location                 Rhythm     Provider
    12/19/2020 08:00 THX                           86                                          Beal, Carly RN


SaO2:
    Date              Time             Value(%) Air                       Provider
    12/19/2020        08:00 THX              98                           Beal, Carly RN

Cosign Required:No
Completed by Beal, Carly RN on 12/19/2020 14:19.




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                                                       SCREENINGS
Inmate Name: JOHNSON, CORY                                                                         Reg #: 27832-054
Date of Birth: 11/05/1968                                 Sex: M         Race: BLACK               Facility: THP
Encounter Date: 12/18/2020 14:08                          Provider: Beal, Carly RN                 Unit:     X01


Screenings:
    COVID-19
       Quarantine
           Yes: Vital Signs w/O2 sat recorded in flowsheet
           No: Cough, Shortness of Breath, Fatigue, Body aches
Temperature:
    Date              Time            Fahrenheit      Celsius Location                Provider
    12/18/2020        14:07 THX             97.6         36.4                         Beal, Carly RN

Pulse:
    Date           Time              Rate Per Minute         Location                 Rhythm     Provider
    12/18/2020 14:07 THX                             82                                          Beal, Carly RN

Respirations:
    Date                  Time                 Rate Per Minute Provider
    12/18/2020            14:07 THX                          16 Beal, Carly RN


SaO2:
    Date              Time             Value(%) Air                         Provider
    12/18/2020        14:07 THX              99                             Beal, Carly RN

Cosign Required:No
Completed by Beal, Carly RN on 12/18/2020 14:09.




Generated 12/18/2020 14:09 by Beal, Carly RN                Bureau of Prisons - THP                                      Page 1 of 1
                 Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 147 of 164
                                                  Federal Bureau of Prisons                                       Johnson_0030

                                                       SCREENINGS
Inmate Name: JOHNSON, CORY                                                                         Reg #: 27832-054
Date of Birth: 11/05/1968                                 Sex: M         Race: BLACK               Facility: THP
Encounter Date: 12/18/2020 08:00                          Provider: Beal, Carly RN                 Unit:     X01


Screenings:
    COVID-19
       Isolation
           Yes: Vital Signs w/O2 sat recorded in flowsheet, Headache
           No: Cough, Shortness of Breath, Fatigue, Body aches
Temperature:
    Date              Time            Fahrenheit      Celsius Location                Provider
    12/18/2020        14:07 THX             96.7         35.9                         Beal, Carly RN

Pulse:
    Date           Time              Rate Per Minute         Location                 Rhythm     Provider
    12/18/2020 14:07 THX                             80                                          Beal, Carly RN

Respirations:
    Date                  Time                 Rate Per Minute Provider
    12/18/2020            14:07 THX                          16 Beal, Carly RN


SaO2:
    Date              Time             Value(%) Air                         Provider
    12/18/2020        14:07 THX              98                             Beal, Carly RN

Cosign Required:No
Completed by Beal, Carly RN on 12/18/2020 14:08.




Generated 12/18/2020 14:08 by Beal, Carly RN                Bureau of Prisons - THP                                      Page 1 of 1
                 Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 148 of 164
                                              Federal Bureau of Prisons                                       Johnson_0031

                                                   SCREENINGS
Inmate Name: JOHNSON, CORY                                                                         Reg #: 27832-054
Date of Birth: 11/05/1968                               Sex: M          Race: BLACK                Facility: THP
Encounter Date: 12/17/2020 13:20                        Provider: Durr, R. NRP                     Unit:     X01


Screenings:
    COVID-19
       Isolation
               No: Cough, Shortness of Breath, Fatigue, Body aches, Sore throat, Diarrhea, Headache, Loss of taste or
               smell, Nausea or vomiting
Temperature:
    Date              Time            Fahrenheit   Celsius Location                 Provider
    12/17/2020        13:20 THX             96.1      35.6                          Durr, R. NRP

Pulse:
    Date          Time               Rate Per Minute       Location                 Rhythm     Provider
    12/17/2020 13:20 THX                           80                                          Durr, R. NRP


SaO2:
    Date              Time             Value(%) Air                       Provider
    12/17/2020        13:20 THX              98                           Durr, R. NRP

Cosign Required:No
Completed by Durr, R. NRP on 12/17/2020 13:21.




Generated 12/17/2020 13:21 by Durr, R. NRP                Bureau of Prisons - THP                                     Page 1 of 1
                 Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 149 of 164
                                               Federal Bureau of Prisons                                        Johnson_0032

                                                    SCREENINGS
Inmate Name: JOHNSON, CORY                                                                       Reg #: 27832-054
Date of Birth: 11/05/1968                               Sex: M         Race: BLACK               Facility: THP
Encounter Date: 12/17/2020 11:10                        Provider: Beal, Carly RN                 Unit:     X01


Screenings:
    COVID-19
       Isolation
           Yes: Vital Signs w/O2 sat recorded in flowsheet
           No: Cough, Shortness of Breath, Fatigue, Body aches
Temperature:
    Date              Time            Fahrenheit   Celsius Location                 Provider
    12/17/2020        11:10 THX             98.3      36.8                          Beal, Carly RN

Pulse:
    Date           Time              Rate Per Minute       Location                 Rhythm     Provider
    12/17/2020 11:10 THX                           98                                          Beal, Carly RN


SaO2:
    Date              Time             Value(%) Air                       Provider
    12/17/2020        11:10 THX              98                           Beal, Carly RN

Cosign Required:No
Completed by Beal, Carly RN on 12/17/2020 11:12.




Generated 12/17/2020 11:12 by Beal, Carly RN              Bureau of Prisons - THP                                      Page 1 of 1
                                          Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 150 of 164
                                                                                                                                                   Johnson_0033
                                                                       Bureau of Prisons
                                                                        Health Services
                                                                     Devices and Equipment
Start Date:    01/01/2020                                             Stop Date:   12/30/2020
Reg #:         27832-054                                              Inmate Name: JOHNSON, CORY

Device/Equipment                                     Start Date   Stop Date      Date Returned           Obtained From   Comments
Brace - knee
 11/14/2017 13:45 EST Matchett, Ashley P.T.          11/14/2017   11/14/2019                             BOP             CURAD MEDIUM KNEE SUPPORT / SLEEVE

Other
 07/23/2010 15:04 EST Tabor, Timothy PA-C            07/23/2010                                          BOP             Ace wrap for left foot.

Total: 2




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              Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 151 of 164
                                                     Bureau of Prisons                           Johnson_0034
                                                      Health Services
                                                     Fecal Occult Blood
Begin Date: 01/01/2020                                    End Date:    12/30/2020
Reg #:      27832-054                                     Inmate Name: JOHNSON, CORY
(Reference Range - Negative)
Effective Date           Fecal Occult Blood                                      Provider
03/30/2020 08:59 THX     Refused                                                 Sandusky, Audrea MLT(ASCP)
         Orig Entered: 03/30/2020 09:00 EST Sandusky, Audrea MLT(ASCP)
03/30/2020 08:59 THX          Refused                                            Sandusky, Audrea MLT(ASCP)
         Orig Entered: 03/30/2020 09:00 EST Sandusky, Audrea MLT(ASCP)
03/30/2020 08:58 THX          Refused                                            Sandusky, Audrea MLT(ASCP)
         Orig Entered: 03/30/2020 08:59 EST Sandusky, Audrea MLT(ASCP)
Total: 3




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                                     Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 152 of 164
                                                             Bureau of Prisons                                                  Johnson_0035
                                                              Health Services
                                                             Pain Management
Begin Date: 01/01/2020                                                                          End Date:    12/30/2020
Reg #:      27832-054                                                                           Inmate Name: JOHNSON, CORY
Date                 Intervention                                                Pain Quality        Location   Pre   Post   Provider
12/29/2020 14:02 THX dental sick call                                            Aching              Tooth       2           McGuire, Cody NREMT-
                 Orig Entered: 12/29/2020 14:03 EST McGuire, Cody NREMT-P




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               Case 1:19-mc-00145-TSC Bureau
                                      Document
                                             of380-4 Filed 12/31/20 Page 153 of 164
                                                Prisons                                       Johnson_0036
                                                       Health Services
                                                          Allergies
Reg #: 27832-054                                     Inmate Name: JOHNSON, CORY

Allergy                                                 Date Noted                 Reaction
No Known Allergies                                      03/27/2009
         Orig Entered:    03/27/2009 12:00 EST Julian, K. HSA/FNP-BC
Total: 1




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                                         Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 154 of 164
                                                                        Bureau of Prisons                                             Johnson_0037

                                                                         Health Services
                                                             Patient Education Assessments & Topics
Reg #: 27832-054                        Inmate Name: JOHNSON, CORY

                                                                                Assessments
    Assessment Date Learns Best By                   Primary Language    Years of Education      Barriers To Education             Provider
    Total: 0

                                                                                      Topics
    Date Initiated            Format                    Handout/Topic                                   Outcome                    Provider
    12/29/2020                Counseling                Access to Care                                  Verbalizes Understanding   McGuire, Cody
                  Orig Entered:    12/29/2020 14:09 EST McGuire, Cody
    12/27/2020             Counseling           Plan of Care                                            Verbalizes Understanding   Frank, Casey
             Plan of care including medical clearance from isolation status. Callback criteria.
                Orig Entered: 12/27/2020 08:53 EST Frank, Casey

    Total: 2




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                                          Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 155 of 164
                                                                         Bureau of Prisons                                              Johnson_0038
                                                                          Health Services
                                                                         Health Problems
Reg #: 27832-054                                     Inmate Name: JOHNSON, CORY

 Description                                                                              Axis Code Type    Code    Diag. Date Status            Status Date

                                                                           Current
 Elbow, Pain in joint, upper arm
  10/09/2014 10:47 EST Mata, Heather PA-C                                                     III ICD-9    719.42   10/09/2014 Current            10/09/2014

 Knee, Pain in joint, lower leg
  08/06/2012 13:51 EST Ndife, Z. MLP                                                          III ICD-9    719.46   08/17/2011 Current            08/06/2012
        Mild DJD
  10/24/2011 12:53 EST Jones, Roger MD                                                        III ICD-9    719.46   08/17/2011 Resolved           10/24/2011
  08/17/2011 11:36 EST Ndife, Z. MLP                                                          III ICD-9    719.46   08/17/2011 Current            08/17/2011
 Myopia
  06/15/2018 08:06 EST Alumbaugh, Kimberly O.D.                                                   ICD-10   H5210    06/15/2018 Current

 Presbyopia
  06/15/2018 08:06 EST Alumbaugh, Kimberly O.D.                                                   ICD-10    H524    06/15/2018 Current


                                                                           Resolved
 Unspecified inflammatory and toxic neuropathy
  02/23/2016 07:20 EST SYSTEM                                                                 III ICD-9     357.9   06/23/2009 Resolved           06/23/2009
  03/24/2011 10:36 EST Jones, Roger MD                                                        III ICD-9     357.9   06/23/2009 Resolved           06/23/2009
  06/23/2009 12:08 EST Tabor, Timothy PA-C                                                    III ICD-9     357.9   06/23/2009 Current            06/23/2009
 Unspecified hemorrhoids without mention of comp
  02/23/2016 07:20 EST SYSTEM                                                                 III ICD-9     455.6   08/17/2010 Resolved           08/17/2010
  03/24/2011 10:36 EST Jones, Roger MD                                                        III ICD-9     455.6   08/17/2010 Resolved           08/17/2010
  08/17/2010 17:42 EST Tabor, Timothy PA-C                                                    III ICD-9     455.6   08/17/2010 Current            08/17/2010
 Dental caries, unspecified
  02/23/2016 07:20 EST SYSTEM                                                                 III ICD-9    521.00   04/06/2012 Resolved           04/06/2012
         Fractured all provisional restoration patched to amalgam. Needs new restoration.
  04/06/2012 13:02 EST Cortes, Jesus DMD, FAGD                                                III ICD-9    521.00   04/06/2012 Resolved           04/06/2012
         Fractured all provisional restoration patched to amalgam. Needs new restoration.
 Chronic periodontitis, localized
  02/23/2016 07:20 EST SYSTEM                                                                 III ICD-9    523.41   11/23/2009 Resolved           11/23/2009
  03/24/2011 10:36 EST Jones, Roger MD                                                        III ICD-9    523.41   11/23/2009 Resolved           11/23/2009
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                                          Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 156 of 164
Reg #: 27832-054                                     Inmate Name: JOHNSON, CORY                                                      Johnson_0039

 Description                                                                              Axis Code Type    Code    Diag. Date Status         Status Date
  11/23/2009 09:49 EST Franco, Miguel DMD                                                   III ICD-9      523.41   11/23/2009 Current         11/23/2009

 Fractured restorative material w loss material
  02/23/2016 07:20 EST SYSTEM                                                                 III ICD-9    525.64   11/18/2015 Resolved        11/18/2015
  11/18/2015 09:53 EST Shepherd, Doug DMD                                                     III ICD-9    525.64   11/18/2015 Resolved        11/18/2015
 Constipation, unspecified
  02/23/2016 07:20 EST SYSTEM                                                                 III ICD-9    564.00   08/17/2010 Resolved        08/17/2010
  03/24/2011 10:36 EST Jones, Roger MD                                                        III ICD-9    564.00   08/17/2010 Resolved        08/17/2010
  08/17/2010 17:39 EST Tabor, Timothy PA-C                                                    III ICD-9    564.00   08/17/2010 Current         08/17/2010
 Hand, Pain in joint
  02/23/2016 07:20 EST SYSTEM                                                                 III ICD-9    719.44   07/23/2010 Resolved        07/23/2010
  03/24/2011 10:36 EST Jones, Roger MD                                                        III ICD-9    719.44   07/23/2010 Resolved        07/23/2010
  07/23/2010 14:57 EST Tabor, Timothy PA-C                                                    III ICD-9    719.44   07/23/2010 Current         07/23/2010
 Other and unspec disc disorder, lumbar region
  02/23/2016 07:20 EST SYSTEM                                                                 III ICD-9    722.93   01/20/2011 Resolved        05/15/2012
        s/p lumbar fusion & neuro stimulator
        X-ray L-spine 3/15/2011--fractured screw
  05/15/2012 11:46 EST Wilson, William E. MD/CD                                               III ICD-9    722.93   01/20/2011 Resolved        05/15/2012
        s/p lumbar fusion & neuro stimulator
        X-ray L-spine 3/15/2011--fractured screw
  03/24/2011 10:36 EST Jones, Roger MD                                                        III ICD-9    722.93   01/20/2011 Current         01/20/2011
        s/p lumbar fusion & neuro stimulator
        X-ray L-spine 3/15/2011--fractured screw
  01/20/2011 15:43 EST Ndife, Z. MLP                                                          III ICD-9    722.93   01/20/2011 Current         01/20/2011
        s/o lumbar fusion
 Backache, unspecified
  02/23/2016 07:20 EST SYSTEM                                                                 III ICD-9     724.5   09/25/2009 Resolved        09/25/2009
  03/24/2011 10:36 EST Jones, Roger MD                                                        III ICD-9     724.5   09/25/2009 Resolved        09/25/2009
  09/25/2009 10:04 EST Klink, Kimberly MS, FNP                                                III ICD-9     724.5   09/25/2009 Current         09/25/2009
 Nerve pain, neuralgia neuritis, radiculitis
  02/23/2016 07:20 EST SYSTEM                                                                 III ICD-9     729.2   03/24/2011 Resolved        05/15/2012
  05/15/2012 11:46 EST Wilson, William E. MD/CD                                               III ICD-9     729.2   03/24/2011 Resolved        05/15/2012
  03/24/2011 10:36 EST Jones, Roger MD                                                        III ICD-9     729.2   03/24/2011 Current         03/24/2011
 Dysuria
  02/23/2016 07:20 EST SYSTEM                                                                 III ICD-9     788.1   08/17/2010 Resolved        08/17/2010
  03/24/2011 10:36 EST Jones, Roger MD                                                        III ICD-9     788.1   08/17/2010 Resolved        08/17/2010
  08/17/2010 17:40 EST Tabor, Timothy PA-C                                                    III ICD-9     788.1   08/17/2010 Current         08/17/2010

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                                          Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 157 of 164
Reg #: 27832-054                                     Inmate Name: JOHNSON, CORY                                                        Johnson_0040

 Description                                                                              Axis Code Type   Code    Diag. Date Status            Status Date


 Disorder of teeth and supporting structures, unspecified
  08/28/2019 15:06 EST Van Wagoner, J. DMD                                                        ICD-10   K089    08/28/2019 Resolved           08/28/2019

 Confirmed case COVID-19
  12/27/2020 08:52 EST Frank, Casey FNP                                                           ICD-10   U07.1   12/16/2020 Resolved           12/27/2020
        Abbott positive Quest +12/18/20
  12/21/2020 09:50 EST Bowman, Hollie RN/IIPCC                                                    ICD-10   U07.1   12/16/2020 Current
        Abbott positive Quest +12/18/20
  12/16/2020 17:28 EST Scully, Karen RN, IDC                                                      ICD-10   U07.1   12/16/2020 Current
        Abbott positive
 Unspecified general medical examination
  02/23/2016 07:20 EST SYSTEM                                                                 III ICD-9    V70.9   03/27/2009 Resolved
  03/27/2009 11:58 EST Klink, Kimberly MS, FNP                                                III ICD-9    V70.9   03/27/2009


 Total: 18




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              Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 158 of 164
                                                     Bureau of Prisons                                     Johnson_0041
                                                      Health Services
                                                      Vision Screens
 Reg #: 27832-054                             Inmate Name: JOHNSON, CORY

Vision Screen on 06/15/2018 08:04
   Blindness:
   Distance Vision: OD: 20/25                                  OS: 20/50                          OU:
   Near Vision:          OD:                                   OS:                                OU:
   With Corrective
   Distance Vision: OD:                                        OS:                                OU:
   Near Vision:          OD:                                   OS:                                OU:
   Present Glasses - Distance                                           Refraction - Distance
        Sphere          Cylinder    Axis             Add                     Sphere    Cylinder     Axis      Add
   R:                                                                   R: 0.00                               +2
   L:                                                                   L: -1.00                              +2
   Color Test:
   Tonometry:      R: 18              L: 18
   Comments:
        Orig Entered:    06/15/2018 08:05 EST Alumbaugh, Kimberly O.D.




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                                                     Bureau of Prisons                             Johnson_0042
                                                      Health Services
                                                      COVID-19 RNA
Begin Date: 01/01/2020                                    End Date:    12/30/2020
Reg #:      27832-054                                     Inmate Name: JOHNSON, CORY
(Reference Range - Negative)
Effective Date           COVID-19 RNA                                            Provider
12/16/2020 17:35 THX     Positive                           Symptomatic          Edwards, Cristi Phlebotomist
     Symptomatic- SCU
       Orig Entered: 12/16/2020 17:36 EST Edwards, Cristi Phlebotomist

Total: 1




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                                          Case 1:19-mc-00145-TSC Document 380-4 Filed 12/31/20 Page 160 of 164
                                                                      Bureau of Prisons                                        Johnson_0043
                                                                       Health Services
                                                                       Immunizations
Begin Date: 01/01/2020                                      End Date:       12/30/2020
Reg #:         27832-054                                    Inmate Name: JOHNSON, CORY
Immunization                       Immunization Date   Administered     Location           Dosage Drug Mfg.   Lot #   Dose #   Exp Date
Influenza - Immunization           10/14/2020          Now              Right Deltoid      0.5mL Glaxo        B7473            06/30/2021
      FLUARIX QUADRIVALENT
             Orig Entered: 10/14/2020 13:55 EST Dean, J. RN
Influenza - Immunization        10/14/2020           Now                Right Deltoid      0.5mL   Glaxo      B7473            06/30/2021
     FLUARIX QUADRIVALENT--duplicate.
         Orig Entered: 10/14/2020 13:55 EST Dean, J. RN
         Last Updated: 10/14/2020 13:55 EST Dean, J. RN
Total: 2




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                                                                                       Report Status: Final
                                                                                                                                      Johnson_0044
                                                                                                                                          JOHNSON, CORY

Patient Information                                          Specimen Information                                     Client Information
                                                             Specimen: WX753947C                                      Client #: 10767072 4000000
JOHNSON, CORY
                                                             Requisition: 0004270                                     WILLIAM E WILSON
DOB: 11/05/1968       AGE: 52                                                                                         FCI TERRE HAUTE
Gender: M                                                                                                             Attn: HEALTH SERVICES UNIT
                                                             Collected:     12/18/2020
Phone:      812.244.4584                                                                                              4200 BUREAU RD N
                                                             Received:      12/19/2020 / 11:40 EST
Patient ID: 27832-054                                                                                                 TERRE HAUTE, IN 47802-8128
                                                             Reported:      12/20/2020 / 14:57 EST
Health ID: 8573026117434857


Ward:           X01
COMMENTS:                 SURVEILLANCE

      SARS CoV 2 (COVID-19) Tests

                         Test Name                                          Result               Reference Range                                            Lab
SARS CoV 2 RNA(COVID 19), QUALITATIVE NAAT                                                                                                                  CA
 SARS CoV 2 RNA                                                         DETECTED                 NOT DETECTED
 A Detected result is considered a positive test result for COVID-19. This indicates that RNA from SARS-CoV-2 (formerly 2019-nCoV) was
 detected, and the patient is infected with the virus and presumed to be contagious. If requested by public health authority, specimen will be sent
 for additional testing.
 Please review the "Fact Sheets" and FDA authorized labeling available for health care providers and patients using the following websites:
 https://www.questdiagnostics.com/home/Covid-19/HCP/NAAT/fact-sheet2 https://www.questdiagnostics.com/home/Covid-19/Patients/NAAT/
 fact-sheet2
 This test has been authorized by the FDA under an Emergency Use Authorization (EUA) for use by authorized laboratories.
 Due to the current public health emergency, Quest Diagnostics is receiving a high volume of samples from a wide variety of swabs and media
 for COVID-19 testing. In order to serve patients during this public health crisis, samples from appropriate clinical sources are being tested.
 Negative test results derived from specimens received in non-commercially manufactured viral collection and transport media, or in media and
 sample collection kits not yet authorized by FDA for COVID-19 testing should be cautiously evaluated and the patient potentially subjected to
 extra precautions such as additional clinical monitoring, including collection of an additional specimen.
 Methodology: Nucleic Acid Amplification Test (NAAT) includes RT-PCR or TMA
 Additional information about COVID-19 can be found at the Quest Diagnostics website: www.QuestDiagnostics.com/Covid19.
 Physician Comments:




PERFORMING SITE:
CA    QUEST DIAGNOSTICS - SCHAUMBURG, 506 EAST STATE PARKWAY, SCHAUMBURG, IL 60173-4538 Laboratory Director: ANTHONY V THOMAS,MD, CLIA: 14D0416537




CLIENT SERVICES: 866.697.8378                                       SPECIMEN: WX753947C                                                              PAGE 1 OF 1
Quest, Quest Diagnostics, the associated logo and all associated Quest Diagnostics marks are the trademarks of Quest Diagnostics.
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                                          Bureau of Prisons                                 Johnson_0045
                                           Health Services
                                           Cosign/Review
Inmate Name:    JOHNSON, CORY                                                   Reg #:      27832-054
Date of Birth:  11/05/1968                   Sex:          M                    Race:       BLACK
Encounter Date: 12/21/2020 07:37             Provider:     Lab Result Receive   Facility:   THP

Cosigned by Wilson, William E. MD/CD on 12/21/2020 10:47.




                                             Bureau of Prisons - THA
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                                                              Johnson_0046
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                                                               Johnson_0047
